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                              FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT

         GLORIA JOHNSON; JOHN LOGAN,                     Nos.     20-35752
         individuals, on behalf of themselves                     20-35881
         and all others similarly situated,
                                                          D.C. No. 1:18-
                          Plaintiffs-Appellees,            cv-01823-CL

           v.
                                                           ORDER AND
         CITY OF GRANTS PASS,                               AMENDED
                                                             OPINION
                          Defendant-Appellant.

                 Appeal from the United States District Court
                          for the District of Oregon
                 Mark D. Clarke, Magistrate Judge, Presiding

                   Argued and Submitted December 6, 2021
                          San Francisco, California

                            Filed September 28, 2022
                             Amended July 5, 2023

           Before: Ronald M. Gould and Daniel P. Collins, Circuit
                Judges, and Roslyn O. Silver, * District Judge.

         *
           The Honorable Roslyn O. Silver, United States District Judge for the
         District of Arizona, sitting by designation.
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                                     Order;
                            Opinion By Judge Silver;
                            Dissent by Judge Collins;
                     Statement by Judges Silver and Gould;
                        Statement by Judge O’Scannlain;
                           Statement by Judge Graber;
                           Dissent by Judge M. Smith;
                            Dissent by Judge Collins;
                             Dissent by Judge Bress


                                   SUMMARY **


                           Civil Rights / Homelessness

              The panel issued an order amending the opinion and
         dissent filed September 28, 2002, and reported at 50 F.4th
         787; filed an amended opinion and dissent concurrently with
         its order; and denied a petition for rehearing en banc after a
         request for a vote on whether to rehear the matter en banc,
         and the matter failed to receive a majority of the votes of the
         nonrecused active judges in favor of en banc consideration,
         in an action challenging City of Grants Pass ordinances
         which, among other things, preclude homeless persons from
         using a blanket, pillow, or cardboard box for protection from
         the elements while sleeping within City limits.
            In the amended opinion, the panel affirmed in part and
         vacated in part the district court’s summary judgment and


         **
            This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         permanent injunction in favor of plaintiffs; affirmed
         certification pursuant to Fed. R. Civ. P. 23(b)(2), of a class
         of “involuntary homeless” persons; and remanded.
             The five municipal ordinances, described as an “anti-
         sleeping” ordinance, two “anti-camping” ordinances, a
         “park exclusion” ordinance, and a “park exclusion appeals”
         ordinance, result in civil fines up to several hundred dollars
         per violation. Persons found to violate ordinances multiple
         times could be barred from all City property. If a homeless
         person is found on City property after receiving an exclusion
         order, they are subject to criminal prosecution for trespass.
              The panel stated that this court’s decision in Martin v.
         City of Boise, 902 F.3d 1031 (9th Cir. 2018), which held that
         “the Eighth Amendment prohibits the imposition of criminal
         penalties for sitting, sleeping, or lying outside on public
         property for homeless individuals who cannot obtain
         shelter” served as the backdrop for this entire
         litigation. Pursuant to Martin, it is an Eight Amendment
         violation to criminally punish involuntarily homeless
         persons for sleeping in public if there are no other public
         areas or appropriate shelters where those individuals can
         sleep.
             The panel first rejected the City’s argument that the
         district court lacked jurisdiction because plaintiffs’ claims
         were moot or because plaintiffs failed to identify any relief
         that was within a federal court’s power to redress. The panel
         held that there was abundant evidence in the record
         establishing that homeless persons were injured by the City’s
         enforcement actions in the past and it was undisputed that
         enforcements have continued. The panel further held that the
         relief sought by plaintiffs, enjoining enforcement of a few
         municipal ordinances aimed at involuntary homeless
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         persons, was redressable within the limits of Article III. The
         death of class representative Debra Blake while the matter
         was on appeal did not moot the class’s claims as to all
         challenged ordinances except possibly the anti-sleeping
         ordinance. The panel vacated the summary judgment as to
         that ordinance and remanded to allow the district court the
         opportunity to substitute a class representative in Blake’s
         stead. The remaining class representatives had standing to
         challenge the park exclusion, criminal trespass and anti-
         camping ordinances.
             The panel held that, based on the record in this case, the
         district court did not err by finding plaintiffs satisfied the
         requirements of Fed. R. Civ. P. 23(a) such that a class could
         be certified under Rule 23(b)(2). Although the City
         appeared to suggest that Martin’s need for an individualized
         inquiry of each alleged involuntary homeless person’s
         access to shelter defeated numerosity, commonality and
         typicality, the panel held that nothing in Martin precluded
         class actions. The panel held that the district court did not
         abuse its discretion in concluding the numerosity
         requirement was met; that plaintiffs’ claims presented at
         least one question and answer common to the class; and that
         the class representatives’ claims and defenses were typical
         of the class in that they were homeless persons who claimed
         that the City could not enforce the challenged ordinances
         against them when they have no shelter.
             Addressing the merits, the panel affirmed the district
         court’s ruling that the City of Grants Pass could not,
         consistent with the Eighth Amendment, enforce its anti-
         camping ordinances against homeless persons for the mere
         act of sleeping outside with rudimentary protection from the
         elements, or for sleeping in their car at night, when there was
         no other place in the City for them to go. The panel held that
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         Martin applied to civil citations where, as here, the civil and
         criminal punishments were closely intertwined.
             There was no need to resolve whether the fines imposed
         under the anti-sleeping and anti-camping ordinances
         violated the Eighth Amendment’s prohibition on excessive
         fines because the permanent injunction would result in no
         class member being fined for engaging in such protected
         activity. Finally, the panel held that it was unnecessary to
         decide whether plaintiffs properly pled their procedural due
         process challenge to the park exclusion appeals ordinance
         because subsequent to the district court’s order, the City
         amended the ordinance.
             The panel directed the district court on remand to narrow
         its injunction to enjoin only those portions of the anti-
         camping ordinances that prohibited conduct protected by
         Martin and this opinion. In particular, the district court
         should narrow its injunction to the anti-camping ordinances
         and enjoin enforcement of those ordinances only against
         involuntarily homeless persons for engaging in conduct
         necessary to protect themselves from the elements when
         there was no shelter space available.
             Dissenting, Judge Collins stated that Martin seriously
         misconstrued the Eighth Amendment and the Supreme
         Court’s caselaw construing it, but even assuming that Martin
         remains good law, today’s decision—which both misreads
         and greatly expands Martin’s holding—is egregiously
         wrong. Although the majority’s phrasing pays lip service to
         the fact that the persons at issue must be “involuntarily
         homeless,” the majority also explicitly rejects the City’s
         contention that the holding of Martin can only be applied
         after an individualized inquiry of each alleged involuntary
         homeless person’s access to shelter. The net result, for class
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         certification purposes, is that any issue of individualized
         involuntariness is set aside and Martin is thereby reduced to
         a simplistic formula to be resolved on a classwide basis—
         into whether the number of homeless persons in the
         jurisdiction exceeds the number of available shelter
         beds. The majority’s analysis fails because Martin does not
         allow the individualized inquiry into involuntariness to be
         set aside in this way. Further, the majority opinion combines
         its gross misreading of Martin, which requires an
         individualized inquiry, with a flagrant disregard of settled
         class-certification principles pertaining to commonality
         under Fed. R. Civ. P. 23(a) and the requirements of Fed. R.
         Civ. P. 23(b). The end result of this amalgamation of error
         is that the majority validates the core aspects of the district
         court’s injunction in this case, which effectively requires the
         City of Grants Pass to allow all but one of its public parks to
         be used as homeless encampments.
             In a joint statement regarding the denial of rehearing,
         District Judge Silver and Judge Gould wrote that Judge
         O’Scannlain’s statement regarding the denial of rehearing
         and the dissent from Judge M. Smith significantly
         exaggerate the holding in Johnson v. Grants Pass. Grants
         Pass, relying on Martin, holds only that governments cannot
         criminalize the act of sleeping with the use of rudimentary
         protections from the elements in some public places when a
         person has nowhere else to sleep. It does not establish an
         unrestrained right for involuntarily homeless persons to
         sleep anywhere they choose. Nor does it require
         jurisdictions to cede all public spaces to involuntarily
         homeless persons. Judges Silver and Gould also explained
         that class certification was proper, that the commonality
         requirement was met, that the majority applied existing
         Supreme Court and Ninth Circuit authority to the record
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         presented by the parties, and that Judge O’Scannlain greatly
         overstated the extent to which Martin and Grants Pass fall
         on one side of an existing circuit split.
             Respecting the denial of rehearing en banc, Judge
         O’Scannlain, joined by Judges Wallace, Callahan, Bea,
         Ikuta, Bennett, R. Nelson, Bade, Collins, Lee, Bress, Forrest,
         Bumatay, and VanDyke, and with whom Judge M. Smith
         joins as to all parts except Part II-A, states that with this
         decision, this Circuit’s jurisprudence now effectively
         guarantees a personal federal constitutional ‘right’ for
         individuals to camp or to sleep on sidewalks and in parks,
         playgrounds, and other public places in defiance of
         traditional health, safety, and welfare laws—a dubious
         holding premised on a fanciful interpretation of the Eighth
         Amendment. Judge O’Scannlain writes that the Boise panel
         made no effort to ground its decision in the text, history, or
         tradition of the Eighth Amendment. Unfortunately, the
         problems created by Boise have now been visited upon the
         City of Grants Pass by the panel majority here, which has
         expanded Boise’s faulty holding to affirm an injunction
         effectively requiring the City to resign all but one of its
         public parks to be used as homeless encampments. This
         Circuit is the first and only federal circuit to have divined
         such a strange and sweeping mandate from the Cruel and
         Unusual Punishments Clause. The jurisprudence in this case
         is egregiously flawed and deeply damaging—at war with
         constitutional text, history, tradition, and Supreme Court
         precedent. And it conflicts with other circuits on a question
         of exceptional importance—paralyzing local communities
         from addressing the pressing issue of homelessness, and
         seizing policymaking authority that the federal system of
         government leaves to the democratic process.
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             Respecting the denial of rehearing en banc, Judge Graber
         agreed with the basic legal premise that the Eighth
         Amendment protects against criminal prosecution of the
         involuntary act of sleeping but stated that the injunctive
         relief in this case goes too far. The extension of Martin to
         classwide relief, enjoining civil statutes that may eventually
         lead to criminal violations but have never resulted in
         criminal convictions for any named plaintiff, is a step too far
         from the individualized inquiries inherent both in the Eighth
         Amendment context and in the context of injunctive
         relief. Even assuming that classwide injunctive relief were
         available against a prosecution for criminal trespass, the
         Eighth Amendment does not prohibit all civil remedies that
         could, in theory, lead to such a prosecution. In this way,
         Johnson unjustifiably expands the reach of the Eighth
         Amendment.
             Dissenting from the denial of rehearing en banc, Judge
         M. Smith, joined by Judges Bennett, Bumatay, and
         VanDyke, and with whom Judges Ikuta, R. Nelson, Bade,
         Collins and Bress join as to Parts I and II, stated that Martin
         cannot be squared with the Supreme Court’s Eighth
         Amendment precedent; that the amendment to the original
         opinion is not accompanied by any downstream changes to
         the majority’s application of its rule to the facts or its
         ultimate conclusion; and that by wholly collapsing the merits
         into the class definition, the majority opinion certifies an
         impermissible “fail safe” class. Local governments are
         hard-pressed to find any way to regulate the adverse health
         and safety effects of homeless encampments without
         running afoul of this court’s case law—or, at a minimum,
         being saddled with litigation costs. Judge M. Smith states
         that Martin, particularly now that it has been supercharged
         by Grants Pass, has proven to be a runaway train that has
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         derailed and done substantial collateral damage to the
         governmental units in which it has been applied and those
         living therein. These cases use a misreading of Supreme
         Court precedent to require unelected federal judges—often
         on the basis of sloppy, mixed preliminary-injunction
         records—to act more like homelessness policy czars than as
         Article III judges applying a discernible rule of law.
             Dissenting from the denial of rehearing en banc, Judge
         Collins states that the panel majority’s joint statement
         regarding the denial of rehearing confirms and illustrates the
         layers of self-contradiction that underlie its opinion in this
         case, and that the panel majority is wrong to suggest that a
         newly enacted Oregon statute regulating the application of
         local ordinances to homeless individuals provides another
         reason to not rehear this case en banc.
             Dissenting from the denial of rehearing en banc, Judge
         Bress, joined by Judges Callahan, M. Smith, Ikuta, Bennett,
         R. Nelson, Miller, Bade, Lee, Forrest, Bumatay and
         VanDyke, states that with no mooring in the text of the
         Constitution, our history and traditions, or the precedent of
         the Supreme Court, the court has taken our national founding
         document and used it to enact judge-made rules governing
         who can sit and sleep where, rules whose ill effects are felt
         not merely by the States, and not merely by our cities, but
         block by block, building by building, doorway by
         doorway. Local leaders—and the people who elect them—
         must be allowed the latitude to address on the ground the
         distinctly local features of the present crisis of homelessness
         and lack of affordable housing. Not every challenge we face
         is constitutional in character. Not every problem in our
         country has a legal answer that judges can provide. This is
         one of those situations.
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          Angeles, and Hollywood Media District Property Owners
          Association.



                                    ORDER

              The Opinion filed September 28, 2022, and reported at
          50 F.4th 787, is hereby amended. The amended opinion will
          be filed concurrently with this order.
              The full court was advised of the petition for rehearing
          en banc. A judge requested a vote on whether to rehear the
          matter en banc, and the matter failed to receive a majority of
          the votes of the nonrecused active judges in favor of en banc
          consideration. Fed. R. App. P. 35. Judge Watford did not
          participate in the deliberations or vote in this case.
              Future petitions for rehearing or rehearing en banc will
          not be entertained in this case.
               The petition for rehearing en banc is DENIED.
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                                      OPINION

          SILVER, District Judge:

              The City of Grants Pass in southern Oregon has a
          population of approximately 38,000. At least fifty, and
          perhaps as many as 600, homeless persons live in the City.1
          And the number of homeless persons outnumber the
          available shelter beds. In other words, homeless persons
          have nowhere to shelter and sleep in the City other than on
          the streets or in parks. Nonetheless, City ordinances
          preclude homeless persons from using a blanket, a pillow, or
          a cardboard box for protection from the elements while
          sleeping within the City’s limits. The ordinances result in
          civil fines up to several hundred dollars per violation and
          persons found to violate ordinances multiple times can be
          barred from all City property. And if a homeless person is
          found on City property after receiving an exclusion order,
          they are subject to criminal prosecution for trespass.
               In September 2018, a three-judge panel issued Martin v.
          City of Boise, 902 F.3d 1031 (9th Cir. 2018), holding “the
          Eighth Amendment prohibits the imposition of criminal
          penalties for sitting, sleeping, or lying outside on public
          property for homeless individuals who cannot obtain
          shelter.” Id. at 1048. Approximately six weeks after the
          initial Martin panel opinion, three homeless individuals filed
          a putative class action complaint against the City arguing a
          number of City ordinances were unconstitutional. The
          district court certified a class of “involuntarily homeless”

          1
            During this litigation the parties have used different phrases when
          referring to this population. For simplicity, we use “homeless persons”
          throughout this opinion.
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          persons and later granted partial summary judgment in favor
          of the class. 2 After the plaintiffs voluntarily dismissed some
          claims not resolved at summary judgment, the district court
          issued a permanent injunction prohibiting enforcement
          against the class members of some City ordinances, at
          certain times, in certain places. The City now appeals,
          arguing this case is moot, the class should not have been
          certified, the claims fail on the merits, and Plaintiffs did not
          adequately plead one of their theories. On the material
          aspects of this case, the district court was right. 3

          2
            Persons are involuntarily homeless if they do not “have access to
          adequate temporary shelter, whether because they have the means to pay
          for it or because it is realistically available to them for free.” See Martin,
          920 F.3d at 617 n.8. However, someone who has the financial means to
          obtain shelter, or someone who is staying in an emergency shelter is not
          involuntarily homeless. See id. at 617 n.8. Contrary to the City’s
          argument, this definition of involuntary homelessness is not the same as
          the definition of “homeless” found in regulations for the Department of
          Housing and Urban Development, 24 C.F.R. § 582.5, or the McKinney-
          Vento Act, 42 U.S.C. § 11434a(2), the federal law regarding the right of
          homeless children to a public education. For example, the McKinney-
          Vento Act includes as “homeless children and youths” persons who may
          not qualify as involuntarily homeless under Martin, such as children and
          youths “living in emergency or transitional shelters.” 42 U.S.C. §
          11434a(2). Though the district court noted in part that Plaintiffs met the
          definition of homelessness set forth in 24 C.F.R. § 582.5, the district
          court also relied on the specific definition of unsheltered homeless
          persons set forth in the Department of Housing and Urban
          Development’s regulations regarding point-in-time counts: “persons
          who are living in a place not designed or ordinarily used as a regular
          sleeping accommodation for humans must be counted as unsheltered
          homeless persons.” 24 C.F.R. § 578.7(c)(2)(i).
          3
            Our dissenting colleague’s strong disagreement with the majority
          largely arises from his disapproval of Martin. See, e.g., Dissent 56
          (“Even assuming Martin remains good law . . .”); Dissent 90 (“. . . and
          the gravity of Martin’s errors.”); Dissent 92 (claiming, without evidence,
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                                             I.
              This case involves challenges to five provisions of the
          Grants Pass Municipal Code (“GPMC”). The provisions can
          be described as an “anti-sleeping” ordinance, two “anti-
          camping” ordinances, a “park exclusion” ordinance, and a
          “park exclusion appeals” ordinance. When the district court
          entered judgment, the various ordinances consisted of the
          following.
              First, the anti-sleeping ordinance stated, in full

                  Sleeping on Sidewalks, Streets, Alleys, or
                  Within Doorways Prohibited
                  A. No person may sleep on public sidewalks,
                  streets, or alleyways at any time as a matter
                  of individual and public safety.
                  B. No person may sleep in any pedestrian or
                  vehicular entrance to public or private
                  property abutting a public sidewalk.
                  C. In addition to any other remedy provided
                  by law, any person found in violation of this
                  section may be immediately removed from
                  the premises.

          GPMC 5.61.020. A violation of this ordinance resulted in a
          presumptive $75 fine. If unpaid, that fine escalated to $160.
          If a violator pled guilty, the fines could be reduced by a state


          that “it is hard to deny that Martin has ‘generate[d] dire practical
          consequences”) (modification in original and citation omitted). But
          Martin is controlling law in the Ninth Circuit, to which we are required
          to adhere.
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          circuit court judge to $35 for a first offense and $50 for a
          second offense. GPMC 1.36.010(K).
              Next, the general anti-camping ordinance prohibited
          persons from occupying a “campsite” on all public property,
          such as parks, benches, or rights of way. GPMC 5.61.030.
          The term “campsite” was defined as

                 any place where bedding, sleeping bag, or
                 other material used for bedding purposes, or
                 any stove or fire is placed, established, or
                 maintained for the purpose of maintaining a
                 temporary place to live, whether or not such
                 place incorporates the use of any tent, lean-
                 to, shack, or any other structure, or any
                 vehicle or part thereof.

          GPMC 5.61.010. A second overlapping anti-camping
          ordinance prohibited camping in public parks, including
          “[o]vernight parking” of any vehicle. GPMC 6.46.090. A
          homeless individual would violate this parking prohibition if
          she parked or left “a vehicle parked for two consecutive
          hours [in a City park] . . . between the hours of midnight and
          6:00 a.m.” Id. Violations of either anti-camping ordinance
          resulted in a fine of $295. If unpaid, the fine escalated to
          $537.60. However, if a violator pled guilty, the fine could
          be reduced to $180 for a first offense and $225 for a second
          offense. GPMC 1.36.010(J).
              Finally, the “park exclusion” ordinance allowed a police
          officer to bar an individual from all city parks for 30 days if,
          within one year, the individual was issued two or more
          citations for violating park regulations. GPMC 6.46.350(A).
          Pursuant to the “park exclusion appeals” ordinance,
          exclusion orders could be appealed to the City Council.
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          GPMC 6.46.355. If an individual received a “park
          exclusion” order, but subsequently was found in a city park,
          that individual would be prosecuted for criminal trespass.
              Since at least 2013, City leaders have viewed homeless
          persons as cause for substantial concern. That year the City
          Council convened a Community Roundtable (“Roundtable”)
          “to identify solutions to current vagrancy problems.”
          Participants discussed the possibility of “driving repeat
          offenders out of town and leaving them there.” The City’s
          Public Safety Director noted police officers had bought
          homeless persons bus tickets out of town, only to have the
          person returned to the City from the location where they
          were sent. A city councilor made clear the City’s goal
          should be “to make it uncomfortable enough for [homeless
          persons] in our city so they will want to move on down the
          road.” The planned actions resulting from the Roundtable
          included increased enforcement of City ordinances,
          including the anti-camping ordinances.
              The year following the Roundtable saw a significant
          increase in enforcement of the City’s anti-sleeping and anti-
          camping ordinances. From 2013 through 2018, the City
          issued a steady stream of tickets under the ordinances. 4 On
          September 4, 2018, a three-judge panel issued its opinion in


          4
           The City issued the following number of tickets under the anti-sleeping
          and anti-camping ordinances:
                  2013: 74 total tickets
                  2014: 228 total tickets
                  2015: 80 total tickets
                  2016: 47 total tickets
                  2017: 99 total tickets
                  2018: 46 total tickets
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          Martin v. City of Boise, 902 F.3d 1031 (9th Cir. 2018). 5 That
          case served as the backdrop for this entire litigation.
              In Martin, six homeless or recently homeless individuals
          sued the city of Boise, Idaho, seeking relief from criminal
          prosecution under two city ordinances related to public
          camping. Martin, 920 F.3d at 603-04. As relevant here,
          Martin held the Cruel and Unusual Punishment Clause of the
          “Eighth Amendment prohibits the imposition of criminal
          penalties for sitting, sleeping, or lying outside on public
          property for homeless individuals who cannot obtain
          shelter.” Id. at 616. Martin made clear, however, that a city
          is not required to “provide sufficient shelter for the
          homeless, or allow anyone who wishes to sit, lie, or sleep on
          the streets . . . at any time and at any place.” Id. at 617
          (quoting Jones v. City of Los Angeles, 444 F.3d 1118, 1138
          (9th Cir. 2006), vacated, 505 F.3d 1006 (9th Cir. 2007))
          (omission in original).



          5
            Following the opinion, the City of Boise petitioned for rehearing en
          banc. On April 1, 2019, an amended panel opinion was issued and the
          petition for rehearing was denied. Judge M. Smith, joined by five other
          judges, dissented from the denial of rehearing en banc. He argued the
          three-judge panel had, among other errors, misinterpreted the Supreme
          Court precedents regarding the criminalization of involuntary conduct.
          Martin, 920 F.3d at 591-92 (M. Smith, J., dissenting from denial of
          rehearing en banc). Judge Bennett, joined by four judges, also dissented
          from the denial of rehearing en banc. Judge Bennett argued the three-
          judge panel’s opinion was inconsistent with the original public meaning
          of the Cruel and Unusual Punishment Clause. Id. at 599 (Bennett, J.,
          dissenting from denial of rehearing en banc). The merits of those
          dissents do not alter the binding nature of the amended Martin panel
          opinion. Unless otherwise indicated, all citations to Martin throughout
          the remainder of this opinion are to the amended panel opinion.
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              Pursuant to Martin, it is an Eighth Amendment violation
          to criminally punish involuntarily homeless persons for
          sleeping in public if there are no other public areas or
          appropriate shelters where those individuals can sleep. Id.
          at 617 n.8 (“Naturally, our holding does not cover
          individuals who do have access to adequate temporary
          shelter, whether because they have the means to pay for it or
          because it is realistically available to them for free, but who
          choose not to use it.”). When assessing the number of shelter
          spaces, Martin held shelters with a “mandatory religious
          focus” could not be counted as available due to potential
          violations of the First Amendment’s Establishment Clause.
          Id. at 609-10 (citing Inouye v. Kemna, 504 F.3d 705, 712-13
          (9th Cir. 2007)).
              In October 2018, approximately six weeks after the
          Martin opinion, Debra Blake filed her putative class action
          complaint against the City.        The complaint alleged
          enforcement of the City’s anti-sleeping and anti-camping
          ordinances violated the Cruel and Unusual Punishment
          Clause of the Eighth Amendment, the Equal Protection
          Clause of the Fourteenth Amendment, and the Due Process
          Clause of the Fourteenth Amendment. The complaint was
          amended to include additional named plaintiffs and to allege
          a claim that the fines imposed under the ordinances violated
          the Excessive Fines Clause of the Eighth Amendment. On
          January 2, 2019, a few months after the initial complaint was
          filed, and before Plaintiffs filed their class certification
          motion, the City amended its anti-camping ordinance in an
          attempt to come into compliance with Martin. Prior to this
          change, the anti-camping ordinance was worded such that
          “‘sleeping’ in parks . . . automatically constitut[ed]
          ‘camping.’” According to the City, “in direct response to
          Martin v. Boise, the City amended [the anti-camping
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          ordinance] to make it clear that the act of ‘sleeping’ was to
          be distinguished from the prohibited conduct of ‘camping.’”
          The City meant to “make it clear that those without shelter
          could engage in the involuntary acts of sleeping or resting in
          the City’s parks.” Shortly after the City removed “sleeping”
          from the “camping” definition, Plaintiffs moved to certify a
          class. Plaintiffs requested certification of a class defined as

                   All involuntarily homeless individuals living
                   in Grants Pass, Oregon, including homeless
                   individuals who sometimes sleep outside city
                   limits to avoid harassment and punishment
                   by [the City] as addressed in this lawsuit.

          Plaintiffs’ class certification motion was accompanied by a
          declaration from the Chief Operating Officer and Director of
          Housing and Homeless Services for United Community
          Action Network (“UCAN”), a non-profit organization that
          serves homeless people in Josephine County, the county
          where the City is located. 6 UCAN had recently conducted a
          “point-in-time count of homeless individuals in Josephine
          County.” 7 Based on that count, the Chief Operating

          6
            The Department of Housing and Urban Development regulations
          impose obligations on the “continuum of care,” which is defined as “the
          group composed of representatives of relevant organizations . . . that are
          organized to plan for and provide, as necessary, a system of outreach,
          engagement, and assessment . . . to address the various needs of homeless
          persons and persons at risk of homelessness for a specific geographic
          area.” 24 C.F.R. § 576.2.
          7
           As the “continuum of care” in the City, UCAN was required to conduct
          point-in-time counts (“PIT counts”) of homeless persons within that
          geographic area. 24 C.F.R. § 578.7(c)(2). PIT counts measure the
          number of sheltered and unsheltered homeless individuals on a single
          night. 24 C.F.R. § 578.7(c)(2). The Martin court relied on PIT counts
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          Officer’s declaration stated “[h]undreds of [homeless]
          people live in Grants Pass,” and “almost all of the homeless
          people in Grants Pass are involuntarily homeless. There is
          simply no place in Grants Pass for them to find affordable
          housing or shelter. They are not choosing to live on the street
          or in the woods.”
              The City opposed class certification, arguing Plaintiffs
          had not provided sufficient evidence to meet any of the
          requirements for certifying a class. The district court
          disagreed and certified the class proposed by Plaintiffs. The
          parties proceeded with discovery and filed cross-motions for
          summary judgment.
              At the time the parties filed their summary judgment
          motions, there were only four locations in the City that
          temporarily housed homeless persons, which proved
          inadequate. One location was run by the Gospel Rescue
          Mission, an explicitly religious organization devoted to
          helping the poor. The Gospel Rescue Mission operated a
          facility for single men without children, and another facility
          for women, including women with children. These two
          facilities required residents to work at the mission six hours
          a day, six days a week in exchange for a bunk for 30 days.
          Residents were required to attend an approved place of
          worship each Sunday and that place of worship had to
          espouse “traditional Christian teachings such as the Apostles
          Creed.” Disabled persons with chronic medical or mental


          conducted by local non-profits to determine the number of homeless
          people in the jurisdiction. See Martin, 920 F.3d at 604. Courts and
          experts note that PIT counts routinely undercount homeless persons, but
          they appear to be the best available source of data on homelessness. See,
          e.g., id.
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          health issues that prevented them from complying with the
          Mission’s rules were prohibited. 8
              In addition to the Gospel Rescue Mission, the City itself
          operated a “sobering center” where law enforcement could
          transport intoxicated or impaired persons. That facility
          consisted of twelve locked rooms with toilets where
          intoxicated individuals could sober up. The rooms did not
          have beds. The City also provided financial support to the
          Hearts with a Mission Youth Shelter, an 18-bed facility
          where unaccompanied minors aged 10 to 17 could stay for
          up to 72 hours, and could stay even longer if they had
          parental consent.
              Finally, on nights when the temperature was below 30
          degrees (or below 32 degrees with snow), UCAN operated a
          “warming center” capable of holding up to 40 individuals.
          That center did not provide beds. The center reached
          capacity on every night it operated except the first night it
          opened, February 3, 2020. Between February 3 and March
          19, 2020, the warming center was open for 16 nights. The
          center did not open at all during the winter of 2020-2021.
              Presented with evidence of the number of homeless
          persons and the shelter spaces available, the district court
          concluded “[t]he record is undisputed that Grants Pass has
          far more homeless individuals than it has practically
          available shelter beds.” The court then held that, based on
          the unavailability of shelter beds, the City’s enforcement of
          its anti-camping and anti-sleeping ordinances violated the

          8
            Multiple class members submitted uncontested declarations to the
          district court stating they did not stay at the Gospel Rescue Mission
          because they suffer from disqualifying disabilities and/or were unwilling
          to attend church.
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          Cruel and Unusual Punishment Clause. The fact that Martin
          involved criminal violations while the present case involved
          initial civil violations that matured into criminal violations
          made “no difference for Eight Amendment purposes.” Next,
          the court held the system of fines violated the Eighth
          Amendment’s Excessive Fines Clause. 9 Finally, the court
          held the appeals process for park exclusions violated
          procedural due process under the Due Process Clause of the
          Fourteenth Amendment.
              In reaching its decision the district court was careful to
          point out that, consistent with Martin, the scope of its
          decision was limited. The court’s order made clear that the
          City was not required to provide shelter for homeless
          persons and the City could still limit camping or sleeping at
          certain times and in certain places. The district court also
          noted the City may still “ban the use of tents in public parks,”
          “limi[t] the amount of bedding type materials allowed per
          individual,” and pursue other options “to prevent the




          9
            Part of the City’s argument on this issue was that the fines are not
          mandatory because state court judges retain discretion not to impose
          fines. This is inconsistent with the text of the ordinances and not
          supported by the record. The provision of the municipal code defining
          penalties for ordinance violations clarifies that the fines are mandatory.
          It provides, the fines “shall be $295” and “shall be $75.” GPMC
          1.36.010(J)-(K) (emphasis added). Conversely, it is only discretionary
          to reduce fines because the relevant ordinance provides that, “[u]pon a
          plea of guilty . . . the penalty may be reduced” to the amount listed for a
          first or second offense. Id. (emphasis added). After a second citation,
          there is no authority within the municipal code that permits judges to
          reduce fines, and there is no evidence in the record demonstrating circuit
          court judges have reduced fines except pursuant to GPMC 1.36.010.
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          erection of encampments that cause public health and safety
          concerns.” 10
              Approximately one month after the summary judgment
          order, the district court issued a judgment which included a
          permanent injunction that provided a complicated mix of
          relief. First, the district court declared the ordinance
          regarding the appeals of park exclusions failed to provide
          “adequate procedural due process,” but that ordinance was
          not permanently enjoined. Instead, the district court
          enjoined only the enforcement of the underlying park
          exclusion ordinance. Next, the district court declared
          enforcement of the anti-sleeping and anti-camping
          ordinances against class members “violates the Eighth
          Amendment prohibition against cruel and unusual
          punishment” and “violates the Eighth Amendment
          prohibition against excessive fines.” Without explanation,
          however, the district court did not enjoin those ordinances in
          their entirety. Rather, the district court entered no injunctive
          relief regarding the anti-sleeping ordinance. But the district
          court permanently enjoined enforcement of the anti-camping
          ordinances, as well as an ordinance regarding “criminal
          trespassing on city property related to parks,” in all City
          parks at night except for one park where the parties agreed
          the injunction need not apply. 11 The district court also
          permanently enjoined enforcement of the anti-camping
          ordinances during daytime hours unless an initial warning
          was given “at least 24 hours before enforcement.”

          10
             The district court denied summary judgment on other claims brought
          by Plaintiffs. Those claims were subsequently voluntarily dismissed.
          11
            The City ordinance regarding “criminal trespass” was never at issue in
          the litigation until the permanent injunction. Plaintiffs explain it was
          included in the injunction “[b]y agreement of the parties.”
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          Accordingly, under the permanent injunction, the anti-
          camping ordinances may be enforced under some
          circumstances during the day, but never at night.
              The City appealed and sought initial en banc review to
          clarify the scope of Martin. The petition for initial hearing
          en banc was denied.
                                          II.
              The core issue involving enforcement of the anti-
          camping ordinances is governed in large part by Martin.
          While there are some differences between Martin and the
          present case, the City has not identified a persuasive way to
          differentiate its anti-camping ordinances from the
          questioned ordinances in Martin. Therefore, the district
          court’s ruling that the Cruel and Unusual Punishment Clause
          bars enforcement of the anti-camping ordinances will be
          mostly affirmed. We need not address the potential
          excessiveness of the fines issue or whether Plaintiffs
          adequately pled their due process challenge.
              Our analysis proceeds in five parts. First, we reject the
          City’s argument that the district court lacked jurisdiction.12
          Second, we find no abuse of discretion in the district court’s
          certification of a class of involuntarily homeless persons.
          Third, we agree with the district court that at least portions
          of the anti-camping ordinance violate the Cruel and Unusual
          Punishment clause under Martin. Fourth, we conclude there
          is no need to resolve whether the fines violate the Excessive


          12
             However, we vacate summary judgment and remand as to the anti-
          sleeping ordinance to afford the district court the opportunity to
          substitute a class representative in place of Debra Blake, who passed
          away while this matter was on appeal.
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          Fines clause. Fifth, we hold it is unnecessary to decide
          Plaintiffs’ procedural due process claim.
                                       A.
              Standing and mootness are questions of law that we
          review de novo. Hartman v. Summers, 120 F.3d 157, 159
          (9th Cir. 1997); Foster v. Carson, 347 F.3d 742, 745 (9th
          Cir. 2003). “Federal courts must determine that they have
          jurisdiction before proceeding to the merits,” and plaintiffs
          must demonstrate standing as a necessary component of
          jurisdiction. Lance v. Coffman, 549 U.S. 437, 439 (2007).
          To have Article III standing, a plaintiff must show (1) a
          concrete and particularized injury, (2) caused by the
          challenged conduct, (3) that is likely redressable by a
          favorable judicial decision. Friends of the Earth, Inc. v.
          Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 180-81
          (2000). For purposes of injunctive relief, “[a]bstract injury
          is not enough”—the plaintiff must have sustained or be in
          immediate danger “of sustaining some direct injury as the
          result of the challenged” law. O’Shea v. Littleton, 414 U.S.
          488, 494 (1974) (quotation marks and citation omitted).
              The City’s appellate briefing makes two standing
          arguments. First, the City argues Plaintiffs’ claims are now
          moot because Plaintiffs no longer face a risk of injury based
          on the City’s changed behavior after Martin. Second, the
          City argues Plaintiffs have not identified any relief that is
          within a federal court’s power to redress. Both arguments
          are without merit.
              A claim becomes moot, and no longer justiciable in
          federal court, if it has been remedied independent of the
          court. See Genesis Healthcare Corp. v. Symczyk, 569 U.S.
          66, 72 (2013). There is abundant evidence in the record
          establishing homeless persons were injured by the City’s
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          enforcement actions in the past. The City argues, however,
          that it made changes after Martin such that there is no longer
          a threat of future injury. The problem for the City is that
          voluntary cessation of challenged practices rarely suffices to
          moot a case and, in any event, there is evidence the
          challenged practices have continued after Martin.
               “It is well settled that ‘a defendant’s voluntary cessation
          of a challenged practice does not deprive a federal court of
          its power to determine the legality of the practice.’” Friends
          of the Earth, 528 U.S. at 189 (quoting City of Mesquite v.
          Aladdin’s Castle, Inc., 455 U.S. 283, 289 (1982)). This is so
          “because a dismissal for mootness would permit a
          resumption of the challenged conduct as soon as the case is
          dismissed.” Knox v. Serv. Emps. Int’l Union, Local 1000,
          567 U.S. 298, 307 (2012). Thus, the City “bears the
          formidable burden of showing that it is absolutely clear the
          allegedly wrongful behavior could not reasonably be
          expected to recur.” Friends of the Earth, 528 U.S. at 190.
          Instead of the City making it “absolutely clear” it has
          stopped enforcement activities, the record shows ongoing
          enforcement.
              The parties diverge substantially on how to characterize
          the degree of enforcement after Martin was issued in
          September 2018. The City argued in its briefing and at oral
          argument that it has largely complied with Martin, noting the
          2019 amendment to an anti-camping ordinance, that
          citations were issued “sparingly” in 2019, and in particular
          it says it issued only two citations during the late evening
          and early morning since Martin. The City supports its
          petition with a declaration from a City police officer stating
          “[i]t is the regular practice of every officer I know of on this
          department to enforce these Ordinances sparingly and in
          recognition of the different circumstances we encounter.”
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          As for Plaintiffs, they offered evidence showing
          enforcement continued after Martin such that class members
          received citations and exclusion orders for camping or
          sleeping and were prosecuted for criminal trespass between
          the point the lawsuit was filed and the close of discovery.
              Although the record does show the rate of enforcement
          of the various ordinances decreased since Martin, even
          accepting the City’s position the evidence is undisputed that
          enforcement continued. 13 It is plainly inaccurate for the City
          to claim all enforcement ceased. The ongoing enforcement
          activities establish the City did not meet its “formidable
          burden” of showing the challenged activities will not recur.
          Friends of the Earth, 528 U.S. at 190. The City’s mootness
          argument fails. 14


          13
            The City also argues “there was no evidence that anyone was ever cited
          for the simple act of sleeping in a City park” after Martin. But the
          citation issued to Dolores Nevin in late December 2019 pursuant to the
          City’s “criminal trespass” ordinance included a narrative explaining,
          “[d]uring an area check of Riverside Park, Dolores Nevin was found
          sleeping during closed hours. Nevin, who has been warned in the past,
          was issued a citation for Trespass on City Property.” (emphasis added).
          And on September 11, 2019, Grants Pass Police Officer Jason McGinnis
          issued citations to Debra Blake and Carla Thomas for being in Riverside
          Park at approximately 7:30 a.m. with sleeping bags and belongings
          spread around themselves. The citation given to Debra Blake, a named
          plaintiff, identified the offense as “Criminal Trespass on City Property.”
          Debra Blake was later convicted of that offense and fined. Other
          individuals cited for camping in a city park in 2019 include class
          members: Gail Laine, William Stroh, Dawn Schmidt, Cristina Trejo,
          Kellie Parker, Colleen Bannon, Amanda Sirnio, and Michael and Louana
          Ellis.
          14
             Mootness was also considered during the Martin litigation. See Bell
          v. City of Boise, 709 F.3d 890, 898, 900-01 (9th Cir. 2013). The City of
          Boise argued that a combination of an amended definition of “camping”
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               The City’s other jurisdictional argument is that
          Plaintiffs’ claims are not redressable. According to the City,
          any possible relief intrudes inappropriately upon matters of
          policy best left to executive and legislative discretion. We
          disagree. Consistent with Martin, the district court granted
          limited relief enjoining enforcement of a few municipal
          ordinances at certain times, in certain places, against certain
          persons. None of the cases cited by the City credibly support
          its argument that the district court injunction overstepped the
          judiciary’s limited authority under the Constitution.
          Contrary to the City’s position, enjoining enforcement of a
          few municipal ordinances aimed at involuntarily homeless
          persons cannot credibly be compared to an injunction
          seeking to require the federal government to “phase out
          fossil fuel emissions and draw down excess atmospheric
          CO2.” Juliana v. United States, 947 F.3d 1159, 1164-65
          (9th Cir. 2020). The relief sought by Plaintiffs was
          redressable within the limits of Article III. See Renee v.
          Duncan, 686 F.3d 1002, 1013 (9th Cir. 2012) (holding a
          plaintiff’s burden to demonstrate redressability is “relatively
          modest”) (citation omitted).



          in the ordinance and a “Special Order,” prohibiting police officers from
          enforcing the ordinances when a person is on public property and there
          is no available overnight shelter, mooted the case. Id. at 894-95. We
          rejected the argument that the change to the definition of “camping”
          rendered the case moot because “[m]ere clarification of the Camping
          Ordinance does not address the central concerns of the Plaintiffs’ Eighth
          Amendment claims”—that the ordinance “effectively criminalized their
          status as homeless individuals.” Id. at 898 n.12. And we held the
          adoption of a “Special Order” did not moot the case because the Special
          Order was not a legislative enactment, and as such it “could be easily
          abandoned or altered in the future.” Id. at 901.
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              Finally, we raise sua sponte the possibility that the death
          of class representative Debra Blake while this matter was on
          the appeal has jurisdictional significance. Cf. Fort Bend Cty.
          v. Davis, 139 S.Ct. 1843, 1849 (2019) (holding courts must
          raise issues of subject matter jurisdiction sua sponte). We
          hold Blake’s death does not moot the class’s claims as to all
          challenged ordinances except possibly the anti-sleeping
          ordinance. As to that ordinance, we remand to allow the
          district court the opportunity to substitute a class
          representative in Blake’s stead.
              With respect to the park exclusion, criminal trespass, and
          anti-camping ordinances, the surviving class representatives,
          Gloria Johnson 15 and John Logan, 16 have standing in their

          15
             The dissent suggests Gloria Johnson does not have standing to
          challenge the park exclusion and criminal trespass ordinances. Dissent
          71-72. The dissent concedes, however, Johnson has standing to
          challenge the anti-camping ordinances, GPMC 5.61.030, 6.46.090. But
          the dissent does not provide a meaningful explanation why it draws this
          distinction between the ordinances that work in concert. It is true
          Johnson has not received a park exclusion order and has not been charged
          with criminal trespass in the second degree. However, there is little doubt
          that her continued camping in parks would lead to a park exclusion order
          and, eventually, criminal trespass charges. Johnson is positioned to bring
          a pre-enforcement challenge against the park exclusion and criminal
          trespass ordinances, because they will be used against her given the
          undisputed fact that she remains involuntarily homeless in Grants Pass.
          She established a credible threat of future enforcement under the anti-
          camping ordinances which creates a credible threat of future
          enforcement under the park exclusion and criminal trespass ordinances.
          16
             The dissent claims John Logan has not established standing. Dissent
          69-71. During the course of this case, Logan submitted two declarations.
          At the class certification stage, his declaration stated he “lived out of
          [his] truck on the streets in Grants Pass for about 4 years.” During that
          time, he was “awakened by City of Grants Pass police officer and told
          that I cannot sleep in my truck anywhere in the city and ordered to move
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          own right. Although they live in their cars, they risk
          enforcement under all the same ordinances as Blake and the
          class (with the exception of the anti-sleeping ordinance,
          GPMC 5.61.020, which cannot be violated by sleeping in a
          car) and have standing in their own right as to all ordinances
          except GPMC 5.61.020.

          on.” To avoid those encounters, Logan “usually sleep[s] in [his] truck
          just outside the Grants Pass city limits.” However, Logan stated “[i]f
          there was some place in the city where [he] could legally sleep in [his]
          truck, [he] would because it would save valuable gas money and avoid .
          . . having to constantly move.” Logan also explained he has “met dozens,
          if not hundreds, of homeless people in Grants Pass” over the years who
          had been ticketed, fined, arrested, and criminally prosecuted “for living
          outside.” At summary judgment, Logan submitted a declaration stating
          he is “currently involuntarily homeless in Grants Pass and sleeping in
          [his] truck at night at a rest stop North of Grants Pass.” He stated he
          “cannot sleep in the City of Grants Pass for fear that [he] will be
          awakened, ticketed, fined, moved along, trespassed and charged with
          Criminal Trespass.” The dissent reads this evidence as indicating Logan
          failed to “provide[] any facts to establish” that he is likely to be issued a
          citation under the challenged ordinances. Dissent 70. We do not agree.
          The undisputed facts establish Logan is involuntarily homeless. When
          he slept in Grants Pass, he was awoken by police officers and ordered to
          move. His personal knowledge was that involuntarily homeless
          individuals in Grants Pass often are cited under the challenged
          ordinances and Grants Pass continues to enforce the challenged
          ordinances. And, but for the challenged ordinances, Logan would sleep
          in the city. Therefore, as the district court found, it is sufficiently likely
          Logan would be issued a citation that Logan’s standing is established.
          That is especially true given the Supreme Court's instruction that a
          plaintiff need not wait for “an actual arrest, prosecution, or other
          enforcement action” before “challenging [a] law.” Susan B. Anthony List
          v. Driehaus, 573 U.S. 149, 158 (2014). Finally, even if Logan had not
          demonstrated standing, the dissent’s analysis regarding Logan is
          irrelevant because this case could proceed solely based on the standing
          established by Gloria Johnson and the class. See Bates v. United Parcel
          Serv., Inc., 511 F.3d at 985 (9th Cir. 2007) (en banc).
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              With respect to the anti-sleeping ordinance, the law is
          less clear. Debra Blake is the only class representative who
          had standing in her own right to challenge the anti-sleeping
          ordinance. Under cases such as Sosna v. Iowa, 419 U.S. 393,
          401 (1975), and Franks v. Bowman Transportation Co., Inc.,
          424 U.S. 747 (1976), a class representative may pursue the
          live claims of a properly certified class—without the need to
          remand for substitution of a new representative 17—even
          after his own claims become moot, provided that several
          requirements are met. 18 See Bates v. United Parcel Serv.,
          Inc., 511 F.3d 974, 987-88 (9th Cir. 2007) (en banc). If
          Debra Blake’s challenge to the anti-sleeping ordinance
          became moot before she passed away, she could have
          continued to pursue the challenge on behalf of the class
          under the doctrine of Sosna. But we have not found any case
          applying Sosna and Franks to a situation such as this, in


          17
             See Sosna, 419 U.S. at 403 (“[W]e believe that the test of Rule 23(a)
          is met.”); id. at 416-17 (White, J., dissenting) (“It is claimed that the
          certified class supplies the necessary adverse parties for a continuing
          case or controversy . . . The Court cites no authority for this retrospective
          decision as to the adequacy of representation which seems to focus on
          the competence of counsel rather than a party plaintiff who is a
          representative member of the class. At the very least, the case should be
          remanded to the District Court.”).
          18
             The class must be properly certified, see Franks, 424 U.S. at 755-56,
          or the representative must be appealing denial of class certification. See
          United States Parole Comm’n v. Geraghty, 445 U.S. 388, 404 (1980).
          The class representative must be a member of the class with standing to
          sue at the time certification is granted or denied. See Sosna, 419 U.S. at
          403. The unnamed class members must still have a live interest in the
          matter throughout the duration of the litigation. See Franks, 424 U.S. at
          755. And the court must be satisfied that the named representative will
          adequately pursue the interests of the class even though their own interest
          has expired. See Sosna, 419 U.S. at 403.
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          which the death of a representative causes a class to be
          unrepresented as to part (but not all) of a claim. The parties
          did not brief this issue and no precedent indicates whether
          this raises a jurisdictional question, which would deprive us
          of authority to review the merits of the anti-sleeping
          ordinance challenge, or a matter of Federal Rule of Civil
          Procedure 23, which might not.
              Because Plaintiffs have not moved to substitute a class
          representative pursuant to Federal Rule of Appellate
          Procedure 43(a) or identified a representative who could be
          substituted, because no party has addressed this question in
          briefing, and because we are not certain of our jurisdiction
          to consider the challenge to the anti-sleeping ordinance, we
          think it appropriate to vacate summary judgment as to the
          anti-sleeping ordinance and remand to determine whether a
          substitute representative is available as to that challenge
          alone. See Cobell v. Jewell, 802 F.3d 12, 23-24 (D.C. Cir.
          2015) (discussing substitution of a party during appeal).
          Substitution of a class representative may significantly aid
          in the resolution of the issues in this case. Remand will not
          cause significant delay because, as we explain below,
          remand is otherwise required so that the injunction can be
          modified. In the absence of briefing or precedent regarding
          this question, we do not decide whether this limitation is
          jurisdictional or whether it arises from operation of Rule 23.
              We therefore hold the surviving class representatives at
          a minimum have standing to challenge every ordinance
          except the anti-sleeping ordinance. As to the anti-sleeping
          ordinance, we vacate summary judgment and remand for the
          district court to consider in the first instance whether an
          adequate class representative, such as class member Dolores
          Nevin, exists who may be substituted.
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                                       B.
              The City’s next argument is the district court erred in
          certifying the class. We “review a district court’s order
          granting class certification for abuse of discretion, but give
          the district court ‘noticeably more deference when reviewing
          a grant of class certification than when reviewing a denial.’”
          Patel v. Facebook, Inc., 932 F.3d 1264, 1275 (9th Cir. 2019)
          (internal citation omitted) (quoting Just Film, Inc. v. Buono,
          847 F.3d 1108, 1115 (9th Cir. 2017)). Factual findings
          underlying class certification are reviewed for clear error.
          Parsons v. Ryan, 754 F.3d 657, 673 (9th Cir. 2014).
              A member of a class may sue as a representative party if
          the member satisfies Federal Rule of Civil Procedure 23(a)’s
          four prerequisites: numerosity, commonality, typicality, and
          adequacy of representation. Fed. R. Civ. P. 23(a); Mazza v.
          Am. Honda Motor Co., Inc., 666 F.3d 581, 588 (9th Cir.
          2012). Assessing these requirements involves “rigorous
          analysis” of the evidence. Wal-Mart Stores, Inc. v. Dukes,
          564 U.S. 338, 351 (2011) (quoting Gen. Tel. Co. of the Sw.
          v. Falcon, 457 U.S. 147, 161 (1982)).
              If the initial requirements of Rule 23(a) are met, a
          putative class representative must also show the class falls
          into one of three categories under Rule 23(b). Plaintiffs
          brought this suit under Rule 23(b)(2), seeking injunctive or
          declaratory relief based on the City having “acted or refused
          to act on grounds that apply generally to the class, so that
          final injunctive relief or corresponding declaratory relief is
          appropriate respecting the class as a whole.” Fed. R. Civ. P.
          23(b)(2).
              The district court found the Rule 23(a) requirements
          satisfied and certified a class under Rule 23(b)(2). The
          City’s arguments against this class certification are obscure.
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          It appears the City’s argument is that class certification was
          an abuse of discretion because the holding of Martin can
          only be applied after an individualized inquiry of each
          alleged involuntarily homeless person’s access to shelter. 19
          The City appears to suggest the need for individualized
          inquiry defeats numerosity, commonality, and typicality.
          While we acknowledge the Martin litigation was not a class
          action, nothing in that decision precluded class actions.20
          And based on the record in this case, the district court did
          not err by finding Plaintiffs satisfied the requirements of
          Rule 23 such that a class could be certified.
              To satisfy the numerosity requirement a proposed class
          must be “so numerous that joinder of all members is
          impracticable.” Fed. R. Civ. P. 23(a)(1). For purposes of
          this requirement, “‘impracticability’ does not mean
          ‘impossibility,’ but only the difficulty or inconvenience of
          joining all members of the class.” Harris v. Palm Springs
          Alpine Ests., Inc., 329 F.2d 909, 913–14 (9th Cir. 1964)
          (quotation omitted). There is no specific number of class
          members required. See Gen. Tel. Co. of the Nw., Inc. v.
          EEOC, 446 U.S. 318, 330 (1980). However, proposed

          19
             There is no reason to believe the putative class members are
          voluntarily homeless. To the contrary, at least 13 class members
          submitted declarations to the district court indicating that they are
          involuntarily homeless.
          20
             Other courts have certified similar classes. See e.g., Lehr v. City of
          Sacramento, 259 F.R.D. 479 (E.D. Cal. 2009) (addressing numerosity,
          commonality, and typicality for homeless persons in Sacramento); Joyce
          v. City & Cty. of S.F., 1994 WL 443464 (N.D. Cal. Aug. 4, 1994),
          dismissed as moot, 87 F.3d 1320 (9th Cir. 1996) (finding typicality
          despite some differences among homeless class members); Pottinger v.
          City of Miami, 720 F.Supp. 955, 960 (S.D. Fla. 1989) (certifying a class
          of homeless persons).
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          classes of less than fifteen are too small while classes of
          more than sixty are sufficiently large. Harik v. Cal.
          Teachers Ass’n, 326 F.3d 1042, 1051-52 (9th Cir. 2003).
              When the district court certified the class on August 7,
          2019, it found there were at least 600 homeless persons in
          the City based on the 2018 and 2019 PIT counts conducted
          by UCAN. The City does not identify how this finding was
          clearly erroneous. In fact, the City affirmatively indicated to
          Plaintiffs prior to the class certification order that the number
          of homeless persons residing in Grants Pass for the past 7
          years was “unknown.” Further, the only guidance offered
          by the City regarding a specific number of class members
          came long after the class was certified. A City police officer
          claimed in a declaration that he was “aware of less than fifty
          individuals total who do not have access to any shelter” in
          the City. The officer admitted, however, it “would be
          extremely difficult to accurately estimate the population of
          people who are homeless in Grants Pass regardless of the
          definition used.”
               The officer’s guess of “less than fifty” homeless persons
          is inconsistent with the general understanding that PIT
          counts routinely undercount homeless persons. See Martin,
          920 F.3d at 604 (“It is widely recognized that a one-night
          point in time count will undercount the homeless
          population.”) (internal quotation marks omitted). But even
          accepting the officer’s assessment that there were
          approximately fifty homeless persons in the City, the
          numerosity requirement is satisfied. Joining approximately
          fifty persons might be impracticable and especially so under
          the facts here because homeless persons obviously lack a
          fixed address and likely have no reliable means of
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          communications. 21 At the very least, the district court did
          not abuse its discretion in concluding the numerosity
          requirement was met.
              A class satisfies Rule 23’s commonality requirement if
          there is at least one question of fact or law common to the
          class. Wang v. Chinese Daily News, Inc., 737 F.3d 538, 544
          (9th Cir. 2013). The Supreme Court has said the word
          “question” in Rule 23(a)(2) is a misnomer: “What matters to
          class certification . . . is not the raising of common
          ‘questions’—even in droves—but rather, the capacity of a
          class-wide proceeding to generate common answers apt to

          21
             Moreover, there is a well-documented correlation between physical
          and mental illness and homelessness. See, e.g., Sara K. Rankin,
          Punishing Homelessness, 22 N. CRIM. L. REV. 99, 105 (2019)
          (“Psychiatric disorders affect at least 30 to 40 percent of all people
          experiencing homelessness.”); Stefan Gutwinski et al., The prevalence
          of mental disorders among homeless people in high-income countries:
          An updated systematic review and meta-regression analysis, 18(8) PLOS
          MED. 1, 14 (Aug. 23, 2021), (“Our third main finding was high
          prevalence rates for treatable mental illnesses, with 1 in 8 homeless
          individuals having either major depression (12.6%) or schizophrenia
          spectrum disorders (12.4%). This represents a high rate of schizophrenia
          spectrum disorders among homeless people, and a very large excess
          compared to the 12-month prevalence in the general population, which
          for schizophrenia is estimated around 0.7% in high-income countries.”);
          Greg A. Greenberg & Robert A. Rosenheck, Jail Incarceration,
          Homelessness, and Mental Health: A National Study, 59 PSYCHIATRIC
          SERVS. 170, 170 (2008) (“Homeless individuals may also be more likely
          to have health conditions . . . Severe mental illness is also more prevalent
          among homeless people than in the general population.”); CTR. FOR
          DISEASE CONTROL & PREVENTION, HOMELESSNESS AS A PUBLIC
          HEALTH LAW ISSUE: SELECTED RESOURCES (Mar. 2, 2017)
          (“Homelessness is closely connected to declines in physical and mental
          health; homeless persons experience high rates of health problems such
          as HIV infection, alcohol and drug abuse, mental illness, tuberculosis,
          and other conditions.”).
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          drive the resolution of the litigation.” Wal-Mart, 564 U.S. at
          350 (quoting Richard A. Nagareda, Class Certification in the
          Age of Aggregate Proof, 84 N.Y.U. L. Rev. 97, 132 (2009))
          (emphasis and omission in original)). “[C]lass members’
          claims [must] ‘depend upon a common contention’ such that
          ‘determination of its truth or falsity will resolve an issue that
          is central to the validity of each [claim] in one stroke.’”
          Mazza, 666 F.3d at 588 (quoting Wal-Mart, 564 U.S. at 350).
              As correctly identified by the district court, Plaintiffs’
          claims present at least one question and answer common to
          the class: “whether [the City’s] custom, pattern, and practice
          of enforcing anti-camping ordinances, anti-sleeping
          ordinances, and criminal trespass laws . . . against
          involuntarily homeless individuals violates the Eighth
          Amendment of the Constitution.” An answer on this
          question resolved a crucial aspect of the claims shared by all
          class members.
              The City argues the commonality requirement was not
          met because some class members might have alternative
          options for housing, or might have the means to acquire their
          own shelter. 22 But this argument misunderstands the class

          22
             The dissent adapts the City’s argument that enforcement of the anti-
          camping ordinances depends on individual circumstances and is
          therefore not capable of resolution on a common basis. Dissent 77-79.
          That misunderstands how the present class was structured. The dissent
          attempts to reframe the common question as a very general inquiry. It
          appears the dissent interprets the question whether an Eighth
          Amendment violation must be determined by an individualized inquiry
          as whether each individual is “involuntarily homeless.” To assess that,
          a court would have to conduct an individualized inquiry and determine
          if an individual was “involuntarily homeless.” But that is not the
          common question in this case. Rather, the question is whether the City's
          enforcement of the anti-camping ordinances against all involuntarily
          homeless individuals violates the Eighth Amendment. This question is
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          definition. Pursuant to the class definition, the class includes
          only involuntarily homeless persons. 23 Individuals who
          have shelter or the means to acquire their own shelter simply

          capable of common resolution on a prospective class-wide basis, as the
          record establishes.
          23
             The dissent argues this created a prohibited “fail safe” class. That is
          erroneous. As noted in a recent en banc decision, “a ‘fail safe’ class . . .
          is defined to include only those individuals who were injured by the
          allegedly unlawful conduct.” Olean Wholesale Grocery Coop., Inc. v.
          Bumble Bee Foods LLC, 31 F.4th 651, 669 n.14 (9th Cir. 2022) (en
          banc). Such classes are prohibited “because a class member either wins
          or, by virtue of losing, is defined out of the class and is therefore not
          bound by the judgment.” Id. See also Ruiz Torres v. Mercer Canyons
          Inc., 835 F.3d 1125, 1138 (9th Cir. 2016) (noting a fail safe class “is one
          that is defined so narrowly as to preclude[ ] membership unless the
          liability of the defendant is established”). No such class is present here.
          The class was defined, in relevant part, as “[a]ll involuntarily homeless
          individuals living in Grants Pass.” Membership in that class has no
          connection to the success of the underlying claims. Put differently, the
          class would have consisted of exactly the same population whether
          Grants Pass won or lost on the merits. The obvious illustration of this is
          the class population would not change if a court determined the anti-
          camping ordinance violated the Eighth Amendment while the anti-
          sleeping ordinance did not. In that situation, class members would not be
          “defined out of the class.” Olean, 31 F.4th at 669 n.14 (citation omitted).
          Rather, class members would be “bound by the judgment” regarding the
          anti-sleeping ordinance. Id. In any event, the dissent’s concerns
          regarding individualized determinations are best made when the City
          attempts to enforce its ordinances. Cf. McArdle v. City of Ocala, 519
          F.Supp.3d 1045, 1052 (M.D. Fla. 2021) (requiring that officers inquire
          into the availability of shelter space before an arrest could be made for
          violation of the City’s “open lodging” ordinance). If it is determined at
          the enforcement stage that a homeless individual has access to shelter,
          then they do not benefit from the injunction and may be cited or
          prosecuted under the anti-camping ordinances. Moreover, as we noted
          above, several classes of homeless individuals have been certified in the
          past. See supra note 20.
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          are never class members. 24 Because we find there existed at
          least one question of law or fact common to the class, the
          district court did not abuse its discretion in concluding
          commonality was satisfied.
              Typicality asks whether “the claims or defenses of the
          representative parties are typical” of the class. Fed. R. Civ.
          P. 23(a)(3). Typicality is a “permissive standard[].” Staton
          v. Boeing Co., 327 F.3d 938, 957 (9th Cir. 2003) (citation
          omitted). It “refers to the nature of the claim or defense of
          the class representative, and not to the specific facts from
          which it arose or the relief sought.” Parsons, 754 F.3d at
          685 (citation omitted).
              The class representatives’ claims and defenses are
          typical of the class in that they are homeless persons who
          claim that the City cannot enforce the challenged ordinances
          against them when they have no shelter. The defenses that
          apply to class representatives and class members are
          identical. The claims of class representatives and class
          members are similar, except that some class representatives
          live in vehicles while other class members may live on
          streets or in parks, not vehicles. This does not defeat
          typicality. The class representatives with vehicles may
          violate the challenged ordinances in a different manner than
          some class members—i.e., by sleeping in their vehicle,
          rather than on the ground. But they challenge the same
          ordinances under the same constitutional provisions as other

          24
            We do not, as the dissent contends, “suggest[ ] that the class definition
          requires only an involuntary lack of access to regular or permanent
          shelter to qualify as ‘involuntarily homeless.’” Dissent 84. It is unclear
          where the dissent finds this in the opinion. To be clear: A person with
          access to temporary shelter is not involuntarily homeless unless and until
          they no longer have access to shelter.
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          class members.         Cf. Staton, 327 F.3d at 957
          (“[R]epresentative claims are ‘typical’ if they are reasonably
          coextensive with those of absent class members; they need
          not be substantially identical.”) (citation omitted). The
          district court did not abuse its discretion in finding the
          typicality requirement met.
              The City does not present any other arguments regarding
          class certification, such as the propriety of certifying the
          class as an injunctive class under Rule 23(b)(2). We do not
          make arguments for parties and the arguments raised by the
          City regarding class certification fail.
                                        C.
              Having rejected the City’s jurisdictional arguments, as
          well as its arguments regarding class certification, the merits
          can be addressed. The City’s merits arguments regarding the
          Cruel and Unusual Punishment Clause take two forms. First,
          the City argues its system of imposing civil fines cannot be
          challenged as violating the Cruel and Unusual Clause
          because that clause provides protection only in criminal
          proceedings, after an individual has been convicted. That is
          incorrect. Second, the City argues Martin does not protect
          homeless persons from being cited under the City’s amended
          anti-camping ordinance which prohibits use of any bedding
          or similar protection from the elements. The City appears to
          have conceded it cannot cite homeless persons merely for
          sleeping in public but the City maintains it is entitled to cite
          individuals for the use of rudimentary bedding supplies, such
          as a blanket, pillow, or sleeping bag “for bedding purposes.”
          See GPMC 5.61.010(B). Again, the City is incorrect. Here,
          we focus exclusively on the anti-camping ordinances.
             According to the City, citing individuals under the anti-
          camping ordinances cannot violate the Cruel and Unusual
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          Punishment Clause because citations under the ordinances
          are civil and civil citations are “categorically not
          ‘punishment’ under the Eight Amendment.” 25 The City
          explains “the simple act of issuing a civil citation with a
          court date [has never] been found to be unconstitutional
          ‘punishment’ under the Eighth Amendment.” While not
          entirely clear, the City appears to be arguing the Cruel and
          Unusual Punishment Clause provides no protection from
          citations categorized as “civil” by a governmental
          authority. 26

          25
             This position is in significant tension with the City’s actions taken
          immediately after Martin was issued. As noted earlier, the City amended
          its anti-camping ordinance “in direct response to Martin v. Boise” to
          allow for “the act of ‘sleeping’” in City parks. If the City believed
          Martin has no impact on civil ordinances, it is unclear why the City
          believed a curative “response” to Martin was necessary.
          26
             The primary support for this contention is Ingraham v. Wright, 430
          U.S. 651 (1977). In Ingraham, the Supreme Court addressed whether
          the Cruel and Unusual Punishment Clause was implicated by corporal
          punishment in public schools. The Court stated the Cruel and Unusual
          Punishment Clause limits “the criminal process in three ways: First, it
          limits the kinds of punishment that can be imposed on those convicted
          of crimes; second, it proscribes punishment grossly disproportionate to
          the severity of the crime; and third, it imposes substantive limits on what
          can be made criminal and punished as such.” Id. at 667. The Court
          interpreted the challenge to corporal punishment as, in effect, asserting
          arguments under only the first or second limitation. That is, the
          challenge was whether “the paddling of schoolchildren” was a
          permissible amount or type of punishment. Id. at 668. The Ingraham
          decision involved no analysis or discussion of the third limitation, i.e.
          the “substantive limits on what can be made criminal.” Id. at 667. Thus,
          it was in the context of evaluating the amount or type of punishment that
          Ingraham stated “Eighth Amendment scrutiny is appropriate only after
          the State has complied with the constitutional guarantees traditionally
          associated with criminal prosecutions.” Id. at 671 n.40. When, as here,
          plaintiffs are raising challenges to the “substantive limits on what can be
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              Plaintiffs’ focus on civil citations does involve an extra
          step from the normal Cruel and Unusual Clause analysis and
          the analysis of Martin. Usually, claims under the Cruel and
          Unusual Clause involve straightforward criminal charges.
          For example, the situation in Martin involved homeless
          persons allegedly violating criminal ordinances and the
          opinion identified its analysis as focusing on the “criminal”
          nature of the charges over ten times. 920 F.3d at 617. Here,
          the City has adopted a slightly more circuitous approach than
          simply establishing violation of its ordinances as criminal
          offenses. Instead, the City issues civil citations under the
          ordinances. If an individual violates the ordinances twice,
          she can be issued a park exclusion order. And if the
          individual is found in a park after issuance of the park
          exclusion order, she is cited for criminal trespass. See
          O.R.S. 164.245 (criminal trespass in the second degree).
          Multiple City police officers explained in their depositions
          this sequence was the standard protocol. The holding in
          Martin cannot be so easily evaded.
              Martin held the Cruel and Unusual Punishment clause
          “prohibits the imposition of criminal penalties for sitting,
          sleeping, or lying outside on public property for homeless
          individuals who cannot obtain shelter.” 920 F.3d at 616. A
          local government cannot avoid this ruling by issuing civil
          citations that, later, become criminal offenses. A recent
          decision by the en banc Fourth Circuit illustrates how the



          made criminal,” Ingraham does not prohibit a challenge before a
          criminal conviction. See Martin, 920 F.3d at 614 (“Ingraham did not
          hold that a plaintiff challenging the state’s power to criminalize a
          particular status or conduct in the first instance, as the plaintiffs in this
          case do, must first be convicted.”).
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          Cruel and Unusual Punishment Clause looks to the eventual
          criminal penalty, even if there are preliminary civil steps.
              The disputes in Manning v. Caldwell for City of
          Roanoke, 930 F.3d 264 (4th Cir. 2019) (en banc) arose from
          a Virginia law which allowed a state court to issue a civil
          order identifying an individual as a “habitual drunkard.” Id.
          at 268. Once labeled a “habitual drunkard,” the individual
          was “subject to incarceration for the mere possession of or
          attempt to possess alcohol, or for being drunk in public.” Id.
          at 269. A group of homeless alcoholics filed suit claiming,
          among other theories, the “habitual drunkard” scheme
          violated the Cruel and Unusual Punishment Clause. In the
          plaintiffs’ view, the scheme resulted in criminal prosecutions
          based on their “status,” i.e. alcoholism. See id. at 281.
              Using reasoning very similar to that in Martin, the Fourth
          Circuit found the statutory scheme unconstitutional because
          it provided punishment based on the plaintiffs’ status. Of
          particular relevance here, the Fourth Circuit reasoned the
          fact that Virginia’s “scheme operate[d] in two steps” did not
          change the analysis. Id. 283. Issuing a civil order first,
          followed by a criminal charge, was a “two-pronged statutory
          scheme” potentially “less direct” than straightforwardly
          criminalizing the status of alcohol addiction. Id. But the
          scheme remained unconstitutional because it “effectively
          criminalize[d] an illness.” Id. The fact that Virginia “civilly
          brands alcoholics as ‘habitual drunkards’ before prosecuting
          them for involuntary manifestations of their illness does
          nothing to cure the unconstitutionality of this statutory
          scheme.” Id.
              The same reasoning applies here. The anti-camping
          ordinances prohibit Plaintiffs from engaging in activity they
          cannot avoid. The civil citations issued for behavior
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          Plaintiffs cannot avoid are then followed by a civil park
          exclusion order and, eventually, prosecutions for criminal
          trespass. Imposing a few extra steps before criminalizing the
          very acts Martin explicitly says cannot be criminalized does
          not cure the anti-camping ordinances’ Eighth Amendment
          infirmity.
              The City offers a second way to evade the holding in
          Martin. According to the City, it revised its anti-camping
          ordinances to allow homeless persons to sleep in City parks.
          However, the City’s argument regarding the revised anti-
          camping ordinance is an illusion. The amended ordinance
          continues to prohibit homeless persons from using “bedding,
          sleeping bag, or other material used for bedding purposes,”
          or using stoves, lighting fires, or erecting structures of any
          kind. GPMC 5.61.010. The City claims homeless persons
          are free to sleep in City parks, but only without items
          necessary to facilitate sleeping outdoors. 27
              The discrepancy between sleeping without bedding
          materials, which is permitted under the anti-camping
          ordinances, and sleeping with bedding, which is not, is
          intended to distinguish the anti-camping ordinances from
          Martin and the two Supreme Court precedents underlying
          Martin, Robinson v. California, 370 U.S. 660 (1962) and

          27
             The Grants Pass ordinance does not specifically define “bedding” but
          courts give the words of a statute or ordinance their “ordinary,
          contemporary, common meaning” absent an indication to the contrary
          from the legislature. See Williams v. Taylor, 529 U.S. 420, 431 (2000)
          (citation omitted). The Oxford English Dictionary defines “bedding” as
          “[a] collective term for the articles which compose a bed.” OXFORD
          ENGLISH DICTIONARY. And “bed” is defined as “a place for sleeping.”
          MERRIAM-WEBSTER COLLEGIATE DICTIONARY 108 (11th ed.). The
          City’s effort to dissociate the use of bedding from the act of sleeping or
          protection from the elements is nonsensical.
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          Powell v. Texas, 392 U.S. 514 (1968). Under those cases, a
          person may not be prosecuted for conduct that is involuntary
          or the product of a “status.” See Martin, 920 F.3d at 617
          (citation omitted). The City accordingly argues that sleeping
          is involuntary conduct for a homeless person, but that
          homeless persons can choose to sleep without bedding
          materials and therefore can be prosecuted for sleeping with
          bedding.
               In its order granting summary judgment, the district
          court correctly concluded the anti-camping ordinances
          violated the Cruel and Unusual Punishment Clause to the
          extent they prohibited homeless persons from “taking
          necessary minimal measures to keep themselves warm and
          dry while sleeping when there are no alternative forms of
          shelter available.” The only plausible reading of Martin is
          that it applies to the act of “sleeping” in public, including
          articles necessary to facilitate sleep. In fact, Martin
          expressed concern regarding a citation given to a woman
          who had been found sleeping on the ground, wrapped in
          blankets. 920 F.3d at 618. Martin noted that citation as an
          example of the anti-camping ordinance being “enforced
          against homeless individuals who take even the most
          rudimentary precautions to protect themselves from the
          elements.”      Id.    Martin deemed such enforcement
          unconstitutional. Id. It follows that the City cannot enforce
          its anti-camping ordinances to the extent they prohibit “the
          most rudimentary precautions” a homeless person might
          take against the elements. 28 The City’s position that it is


          28
             Grants Pass is cold in the winter. The evidence in the record
          establishes that homeless persons in Grants Pass have struggled against
          frostbite. Faced with spending every minute of the day and night
          outdoors, the choice to use rudimentary protection of bedding to protect
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          entitled to enforce a complete prohibition on “bedding,
          sleeping bag, or other material used for bedding purposes” is
          incorrect.
              The dissent claims we have misread Martin by
          “completely disregard[ing] the Powell opinions on which
          Martin relied, which make unmistakably clear that an
          individualized showing of involuntariness is required.”
          Dissent 82. The dissent concedes that pursuant to Martin,
          the City cannot impose criminal penalties on involuntarily
          homeless individuals for sitting, sleeping, or lying outside on
          public property. Dissent 62. Thus, our purported “complete
          disregard[ ]” for Martin is not regarding the central holding
          that local governments may not criminalize involuntary
          conduct. Rather, the dissent believes, based on its
          interpretation of the Supreme Court opinions underlying
          Martin, that the Eighth Amendment provides only “a case-
          specific affirmative defense” that can never be litigated on a
          class basis. Dissent 59. To reach this counterintuitive
          conclusion, the dissent reads limitations into Robinson,
          Powell, and Martin that are nonexistent.
              In Robinson, the Supreme Court struck down, under the
          Eighth Amendment, a California law that made “it a criminal
          offense for a person to ‘be addicted to the use of narcotics.’”
          Robinson, 370 U.S. at 666. The law was unconstitutional,
          the Court explained, because it rendered the defendant
          “continuously guilty of this offense, whether or not he has
          ever used or possessed any narcotics within the State.” Id.
             Six years later, in Powell, the Court divided 4-1-4 over
          whether Texas violated the Eighth Amendment under

          against snow, frost, or rain is not volitional; it is a life-preserving
          imperative.
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          Robinson by prosecuting an alcoholic for public
          drunkenness. In a plurality opinion, Justice Marshall upheld
          the conviction of Leroy Powell on the ground that he was not
          punished on the basis of his status as an alcoholic, but rather
          for the actus reus of being drunk in public. Powell, 392 U.S.
          at 535. Four justices dissented, in an opinion by Justice
          Fortas, on the ground that the findings made by the trial
          judge—that Powell was a chronic alcoholic who could not
          resist the impulse to drink—compelled the conclusion that
          Powell’s prosecution violated the Eighth Amendment
          because Powell could not avoid breaking the law. Id. at 569-
          70 (Fortas, J., dissenting). Justice White concurred in the
          judgment. He stressed, “[i]f it cannot be a crime to have an
          irresistible compulsion to use narcotics, I do not see how it
          can constitutionally be a crime to yield to such a
          compulsion.” Id. at 549 (White, J., concurring). However,
          the reason for Justice White’s concurrence was that he felt
          Powell failed to prove his status as an alcoholic compelled
          him to violate the law by appearing in public. Id. at 553
          (White, J., concurring).
              Pursuant to Marks v. United States, 430 U.S. 188 (1977),
          the narrowest position which gained the support of five
          justices is treated as the holding of the Court. In identifying
          that position, Martin held: “five Justices [in Powell] gleaned
          from Robinson the principle that ‘that the Eighth
          Amendment prohibits the state from punishing an
          involuntary act or condition if it is the unavoidable
          consequence of one’s status or being.’” Martin, 920 F.3d at
          616 (quoting Jones, 443 F.3d at 1135). Martin did not—as
          the dissent alleges—hold that Powell’s “controlling opinion
          was Justice White’s concurrence.” Dissent 60. See id., 920
          F.3d at 616-17. It would have violated the rule of Marks to
          adopt portions of Justice White’s concurrence that did not
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          receive the support of five justices. The dissent claims
          Justice White’s concurrence requires that the individual
          claiming a status must prove the status compels the
          individual to violate the law—here, that each homeless
          individual must prove their status as an involuntarily
          homeless person to avoid prosecution. 29 Dissent 59-63. The

          29
             The dissent’s attempt to create a governing holding out of Justice
          White’s concurrence is erroneous. By citing a word or two out of context
          in the Powell dissenting opinion (e.g., “constitutional defense”) our
          dissenting colleague argues both Justice White and the dissenting
          justices in Powell agreed any person subject to prosecution has, at most,
          “a case-specific affirmative ‘defense.’” Dissent 59-60, 77. We disagree.
          Though status was litigated as a defense in the context of Leroy Powell’s
          prosecution, no opinion in Powell held status may be raised only as a
          defense. The Powell plurality noted trial court evidence that Leroy
          Powell was an alcoholic, but that opinion contains no indication “status”
          may only be invoked as “a case-specific affirmative ‘defense.’” As for
          Justice White, the opening paragraph of his concurrence indicates he was
          primarily concerned not with how a status must be invoked but with the
          fact that certain statuses should be beyond the reach of the criminal law:

                   If it cannot be a crime to have an irresistible
                   compulsion to use narcotics, I do not see how it can
                   constitutionally be a crime to yield to such a
                   compulsion. Punishing an addict for using drugs
                   convicts for addiction under a different name.
                   Distinguishing between the two crimes is like
                   forbidding criminal conviction for being sick with flu
                   or epilepsy but permitting punishment for running a
                   fever or having a convulsion. Unless Robinson is to be
                   abandoned, the use of narcotics by an addict must be
                   beyond the reach of the criminal law. Similarly, the
                   chronic alcoholic with an irresistible urge to consume
                   alcohol should not be punishable for drinking or for
                   being drunk.

          Powell, 392 U.S. at 548-49 (White, J., concurring) (internal citation
          omitted). Finally, neither the remainder of Justice White’s concurrence
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          dissent claims this renders class action litigation
          inappropriate. But no opinion in either Powell or Martin
          discussed the propriety of litigating the constitutionality of
          such criminal statutes by way of a class action. 30
               The law that the dissent purports to unearth in Justice
          White’s concurrence is not the “narrowest ground” which
          received the support of five justices. No opinion in Powell
          or Martin supports the dissent’s assertion that Powell offers
          exclusively an “affirmative ‘defense’” that cannot be
          litigated in a class action. 31 Dissent 59, 77. Although the

          nor the dissenting opinion explicitly indicates one’s status may only be
          invoked as a defense. Rather, Justice White and the dissenters simply
          agreed that, if Powell’s status made his public intoxication involuntary,
          he could not be prosecuted. There is no conceivable way to interpret
          Martin as adopting our dissenting colleague’s position that one’s status
          must be invoked as a defense. But even assuming the burden must be
          placed on the party wishing to invoke a status, the class representatives
          established there is no genuine dispute of material fact they have the
          relevant status of being involuntarily homeless.
          30
            Federal courts have certified classes of homeless plaintiffs in the past,
          see supra note 20, which counsels against the City’s and the dissent’s
          position that such classes are impermissible under Rule 23.
          31
            As noted above, Martin did not hold homeless persons bear the burden
          of demonstrating they are involuntarily homeless. See supra note 29.
          Because the record plainly demonstrates Plaintiffs are involuntarily
          homeless, there similarly is no reason for us to determine what showing
          would be required. We note, however, that some district courts have
          addressed circumstances in which the question of burden was somewhat
          relevant. See, e.g., McArdle, 519 F.Supp.3d at 1052 (requiring, based in
          part on Martin, that officers inquire into the availability of shelter space
          before making an arrest for violation of the City’s “open lodging”
          ordinance); Butcher v. City of Marysville, 2019 WL 918203, at *7 (E.D.
          Cal. Feb. 25, 2019) (holding plaintiffs failed to make the “threshold
          showing” of pleading that there was no shelter capacity and that they had
          no other housing at the time of enforcement).
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          dissent might prefer that these principles find support in the
          controlling law, they do not. We thus do not misread Martin
          by failing to apply the principles found solely in Justice
          White’s concurrence. Rather, we adhere to the narrow
          holding of Martin adopting the narrowest ground shared by
          five justices in Powell: a person cannot be prosecuted for
          involuntary conduct if it is an unavoidable consequence of
          one’s status.
              In addition to erecting an absolute bar to class litigation
          of this sort, the dissent would also impose artificial
          limitations on claims brought pursuant to Martin. The
          dissent concedes Gloria Johnson has standing to bring
          individual challenges to most of the City’s ordinances. But
          the dissent then speculates that Gloria Johnson may, in fact,
          not be involuntarily homeless in the City. The dissent would
          insist that Gloria Johnson, for example, leave the City to
          camp illegally on federal or state lands, provide the court an
          accounting of her finances and employment history, and
          indicate with specificity where she lived before she lost her
          job and her home. Dissent 85-88. There, of course, exists
          no law or rule requiring a homeless person to do any of these
          things. Gloria Johnson has adequately demonstrated that
          there is no available shelter in Grants Pass and that she is
          involuntarily homeless.
              The undisputed evidence establishes Gloria Johnson is
          involuntarily homeless and there is undisputed evidence
          showing many other individuals in similar situations. It is
          undisputed that there are at least around 50 involuntarily
          homeless persons in Grants Pass, and PIT counts, which
          Martin relied on to establish the number of homeless persons
          in Boise, revealed more than 600. See Martin, 920 F.3d at
          604. It is undisputed that there is no secular shelter space
          available to adults. Many class members, including the class
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          representatives, have sworn they are homeless and the City
          has not contested those declarations. The dissent claims this
          showing is not enough, implying that Plaintiffs must meet an
          extremely high standard to show they are involuntarily
          homeless. Even viewed in the light most favorable to the
          City, there is no dispute of material fact that the City is home
          to many involuntarily homeless individuals, including the
          class representatives. In fact, neither the City nor the dissent
          has demonstrated there is even one voluntarily homeless
          individual living in the City. 32 In light of the undisputed
          facts in the record underlying the district court’s summary
          judgment ruling that show Plaintiffs are involuntarily
          homeless, and the complete absence of evidence that
          Plaintiffs are voluntarily homeless, we agree with the district
          court that Plaintiffs such as Gloria Johnson are not
          voluntarily homeless and that the anti-camping ordinances
          are unconstitutional as applied to them unless there is some
          place, such as shelter, they can lawfully sleep. 33


          32
            The dissent claims we have “shifted the burden to the City to establish
          the voluntariness of the behavior targeted by the ordinances.” Dissent
          87 n.13 (emphasis omitted). To the contrary, as we have explained, we
          do not decide who would bear such a burden because undisputed
          evidence demonstrates Plaintiffs are involuntarily homeless. Rather,
          without deciding who would bear such a burden if involuntariness were
          subject to serious dispute, we note Plaintiffs have demonstrated
          involuntariness and there is no evidence in the record showing any class
          member has adequate alternative shelter.
          33
              Following Martin, several district courts have held that the
          government may evict or punish sleeping in public in some locations,
          provided there are other lawful places within the jurisdiction for
          involuntarily homeless individuals to sleep. See, e.g., Shipp v. Schaaf,
          379 F.Supp.3d 1033, 1037 (N.D. Cal. 2019) (“However, even assuming
          (as Plaintiffs do) that [eviction from a homeless encampment by citation
          or arrest] might occur, remaining at a particular encampment on public
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              Our holding that the City’s interpretation of the anti-
          camping ordinances is counter to Martin is not to be
          interpreted to hold that the anti-camping ordinances were
          properly enjoined in their entirety. Beyond prohibiting
          bedding, the ordinances also prohibit the use of stoves or
          fires, as well as the erection of any structures. The record
          has not established the fire, stove, and structure prohibitions
          deprive homeless persons of sleep or “the most rudimentary
          precautions” against the elements. 34 Moreover, the record
          does not explain the City’s interest in these prohibitions.35

          property is not conduct protected by Martin, especially where the closure
          is temporary in nature.”); Aitken v. City of Aberdeen, 393 F.Supp.3d
          1075, 1082 (W.D. Wash. 2019) (“Martin does not limit the City’s ability
          to evict homeless individuals from particular public places.”); Gomes v.
          Cty. of Kauai, 481 F.Supp.3d 1104, 1109 (D. Haw. 2020) (holding the
          County of Kauai could prohibit sleeping in a public park because it had
          not prohibited sleeping on other public lands); Miralle v. City of
          Oakland, 2018 WL 6199929, at *2 (N.D. Cal. Nov. 28, 2018) (holding
          the City could clear out a specific homeless encampment because
          “Martin does not establish a constitutional right to occupy public
          property indefinitely at Plaintiffs’ option”); Le Van Hung v. Schaaf, 2019
          WL 1779584, at *5 (N.D. Cal. Apr. 23, 2019) (holding Martin does not
          “create a right for homeless residents to occupy indefinitely any public
          space of their choosing”). Because the City has not established any
          realistically available place within the jurisdiction for involuntarily
          homeless individuals to sleep we need not decide whether alternate
          outdoor space would be sufficient under Martin. The district court may
          consider this issue on remand, if it is germane to do so.
          34
            The dissent claims we establish “the right to use (at least) a tent.”
          Dissent 89 n.15. This assertion is obviously false. The district court’s
          holding that the City may still “ban the use of tents in public parks”
          remains undisturbed by our opinion.
          35
            The dissent asserts, “it is hard to deny that Martin has ‘generate[d] dire
          practical consequences for the hundreds of local governments within our
          jurisdiction, and for the millions of people that reside therein.’” Dissent
          92 (quoting Martin, 920 F.3d at 594 (M. Smith, J., dissenting from denial
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          Consistent with Martin, these prohibitions may or may not
          be permissible. On remand, the district court will be
          required to craft a narrower injunction recognizing
          Plaintiffs’ limited right to protection against the elements, as
          well as limitations when a shelter bed is available. 36
                                             D.
              The district court concluded the fines imposed under the
          anti-sleeping and anti-camping ordinances violated the
          Eighth Amendment’s prohibition on excessive fines. A
          central portion of the district court’s analysis regarding these
          fines was that they were based on conduct “beyond what the
          City may constitutionally punish.” With this in mind, the
          district court noted “[a]ny fine [would be] excessive” for the
          conduct at issue.
              The City presents no meaningful argument on appeal
          regarding the excessive fines issue. As for Plaintiffs, they
          argue the fines at issue were properly deemed excessive
          because they were imposed for “engaging in involuntary,
          unavoidable life sustaining acts.” The permanent injunction
          will result in no class member being fined for engaging in
          such protected activity. Because no fines will be imposed


          of rehearing en banc)) (modification in original). There are no facts in
          the record to establish that Martin has generated “dire” consequences for
          the City. Our review of this case is governed only by the evidence
          contained in the record.
          36
            The district court enjoined the park exclusion ordinance in its entirety.
          The parties do not address this in their appellate briefing but, on remand,
          the district court should consider narrowing this portion as well because
          the park exclusion ordinance presumably may be enforced against
          Plaintiffs who engage in prohibited activity unrelated to their status as
          homeless persons.
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          for protected activity, there is no need for us to address
          whether hypothetical fines would be excessive.
                                        E.
              The final issue is whether Plaintiffs properly pled their
          challenge to the park exclusion appeals ordinance. GPMC
          6.46.355. That ordinance provided a mechanism whereby
          an individual who received an exclusion order could appeal
          to the City Council. Subsequent to the district court’s order,
          the City amended its park exclusion appeals ordinance.
          Therefore, the district court’s determination the previous
          ordinance violated Plaintiffs’ procedural due process rights
          has no prospective relevance. Because of this, we need not
          decide if Plaintiffs adequately pled their challenge to the
          previous ordinance.
                                        III.
              We affirm the district court’s ruling that the City of
          Grants Pass cannot, consistent with the Eighth Amendment,
          enforce its anti-camping ordinances against homeless
          persons for the mere act of sleeping outside with
          rudimentary protection from the elements, or for sleeping in
          their car at night, when there is no other place in the City for
          them to go. On remand, however, the district court must
          narrow its injunction to enjoin only those portions of the
          anti-camping ordinances that prohibit conduct protected by
          Martin and this opinion. In particular, the district court
          should narrow its injunction to the anti-camping ordinances
          and enjoin enforcement of those ordinances only against
          involuntarily homeless person for engaging in conduct
          necessary to protect themselves from the elements when
          there is no shelter space available. Finally, the district court
          on remand should consider whether there is an adequate
          representative who may be substituted for Debra Blake.
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              We are careful to note that, as in Martin, our decision is
          narrow.     As in Martin, we hold simply that it is
          “unconstitutional to [punish] simply sleeping somewhere in
          public if one has nowhere else to do so.” Martin, 920 F.3d
          at 590 (Berzon, J., concurring in denial of rehearing en
          banc). Our decision reaches beyond Martin slightly. We
          hold, where Martin did not, that class certification is not
          categorically impermissible in cases such as this, that
          “sleeping” in the context of Martin includes sleeping with
          rudimentary forms of protection from the elements, and that
          Martin applies to civil citations where, as here, the civil and
          criminal punishments are closely intertwined. Our decision
          does not address a regime of purely civil infractions, nor
          does it prohibit the City from attempting other solutions to
          the homelessness issue.
            AFFIRMED IN PART, VACATED IN PART, AND
          REMANDED.




          COLLINS, Circuit Judge, dissenting:

              In Martin v. City of Boise, 920 F.3d 584 (9th Cir. 2019),
          we held that “the Eighth Amendment’s prohibition on cruel
          and unusual punishment bars a city from prosecuting people
          criminally for sleeping outside on public property when
          those people have no home or other shelter to go to.” Id. at
          603. Even assuming that Martin remains good law, today’s
          decision—which both misreads and greatly expands
          Martin’s holding—is egregiously wrong. To make things
          worse, the majority opinion then combines its gross
          misreading of Martin with a flagrant disregard of settled
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          class-certification principles. The end result of this
          amalgamation of error is that the majority validates the core
          aspects of the district court’s extraordinary injunction in this
          case, which effectively requires the City of Grants Pass to
          allow all but one of its public parks to be used as homeless
          encampments. 1 I respectfully dissent.
                                              I
              Because our opinion in Martin frames the issues here, I
          begin with a detailed overview of that decision before
          turning to the facts of the case before us.
                                             A
              In Martin, six individuals sued the City of Boise, Idaho,
          under 42 U.S.C. § 1983, alleging that the City had violated
          their Eighth Amendment rights in enforcing two ordinances
          that respectively barred, inter alia, (1) camping in public
          spaces and (2) sleeping in public places without permission.
          920 F.3d at 603–04, 606. All six plaintiffs had been
          convicted of violating at least one of the ordinances, id. at
          606, but we held that claims for retrospective relief based on
          those convictions were barred by the doctrine of Heck v.
          Humphrey, 512 U.S. 477 (1994). See Martin, 920 F.3d at
          611–12 (noting that, under Heck, a § 1983 action may not be
          maintained if success in the suit would necessarily show the
          invalidity of the plaintiff’s criminal conviction, unless that
          conviction has already been set aside or invalidated). What
          remained, after application of the Heck bar, were the claims

          1
            The majority’s decision is all the more troubling because, in truth, the
          foundation on which it is built is deeply flawed: Martin seriously
          misconstrued the Eighth Amendment and the Supreme Court’s caselaw
          construing it. See infra at 90–92. But I am bound by Martin, and—
          unlike the majority—I faithfully apply it here.
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          for retrospective relief asserted by two plaintiffs (Robert
          Martin and Pamela Hawkes) in connection with citations
          they had received that did not result in convictions, and the
          claims for prospective injunctive and declaratory relief
          asserted by Martin and one additional plaintiff (Robert
          Anderson). Id. at 604, 610, 613–15; see also id. at 618–20
          (Owens, J., dissenting in part) (dissenting from the
          majority’s holding that the prospective relief claims survived
          Heck). On the merits of those three plaintiffs’ Eighth
          Amendment claims, the Martin panel held that the district
          court had erred in granting summary judgment for the City.
          Id. at 615–18.
              Although the text of the Eighth Amendment’s Cruel and
          Unusual Punishments Clause states only that “cruel and
          unusual punishments” shall not be “inflicted,” U.S. CONST.,
          amend. VIII (emphasis added), the Martin panel nonetheless
          held that the Clause “places substantive limits” on the
          government’s ability to criminalize “sitting, sleeping, or
          lying outside on public property,” 920 F.3d at 615–16. In
          reaching this conclusion, the Martin panel placed dispositive
          reliance on the Supreme Court’s decisions in Robinson v.
          California, 370 U.S. 660 (1962), and Powell v. Texas, 392
          U.S. 514 (1968). I therefore briefly review those two
          decisions before returning to Martin.
              Robinson held that a California law that made “it a
          criminal offense for a person to ‘be addicted to the use of
          narcotics,’” 370 U.S. at 660 (quoting CAL. HEALTH &
          SAFETY CODE § 11721 (1957 ed.)), and that did so “even
          though [the person] has never touched any narcotic drug
          within the State or been guilty of any irregular behavior
          there, inflicts a cruel and unusual punishment in violation of
          the Fourteenth Amendment,” id. at 667. The California
          statute, the Court emphasized, made the “‘status’ of narcotic
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          addiction a criminal offense,” regardless of whether the
          defendant had “ever used or possessed any narcotics within
          the State” or had “been guilty of any antisocial behavior
          there.” Id. at 666 (emphasis added).
              In Powell, a fractured Supreme Court rejected Powell’s
          challenge to his conviction, under a Texas statute, for being
          “found in a state of intoxication in any public place.” 392
          U.S. at 517 (quoting TEX. PENAL CODE art. 477 (1952)). A
          four-Justice plurality distinguished Robinson on the ground
          that, because Powell “was convicted, not for being a chronic
          alcoholic, but for being in public while drunk on a particular
          occasion,” Texas had “not sought to punish a mere status, as
          California did in Robinson.” Id. at 532 (plurality). The
          plurality held that Robinson did not address, much less
          establish, that “certain conduct cannot constitutionally be
          punished because it is, in some sense, ‘involuntary’ or
          ‘occasioned by a compulsion.’” Id. at 533 (emphasis added).
              Justice White concurred in the judgment on the narrower
          ground that Powell had failed to establish the “prerequisites
          to the possible invocation of the Eighth Amendment,” which
          would have required him to “satisfactorily show[] that it was
          not feasible for him to have made arrangements to prevent
          his being in public when drunk and that his extreme
          drunkenness sufficiently deprived him of his faculties on the
          occasion in issue.” Id. at 552 (White, J., concurring). And
          because, in Justice White’s view, the Eighth Amendment at
          most provided a case-specific affirmative “defense” to
          application of the statute, id. at 552 n.4, he agreed that the
          Texas statute was “constitutional insofar as it authorizes a
          police officer to arrest any seriously intoxicated person
          when he is encountered in a public place,” id. at 554 n.5
          (emphasis added). Emphasizing that Powell himself “did
          not show that his conviction offended the Constitution” and
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          that Powell had “made no showing that he was unable to stay
          off the streets on the night in question,” Justice White
          concurred in the majority’s affirmance of Powell’s
          conviction. Id. at 554 (emphasis added).
               The four dissenting Justices in Powell agreed that the
          Texas statute “differ[ed] from that in Robinson” inasmuch as
          it “covers more than a mere status.” 392 U.S. at 567 (Fortas,
          J., dissenting). There was, as the dissenters noted, “no
          challenge here to the validity of public intoxication statutes
          in general or to the Texas public intoxication statute in
          particular.” Id. at 558. Indeed, the dissenters agreed that, in
          the ordinary case “when the State proves such [public]
          presence in a state of intoxication, this will be sufficient for
          conviction, and the punishment prescribed by the State may,
          of course, be validly imposed.” Id. at 569. Instead, the
          dissenters concluded that the application of the statute to
          Powell was unconstitutional “on the occasion in question”
          in light of the Texas trial court’s findings about Powell’s
          inability to control his condition. Id. at 568 n.31 (emphasis
          added). Those findings concerning Powell’s “constitutional
          defense,” the dissenters concluded, established that Powell
          “was powerless to avoid drinking” and “that, once
          intoxicated, he could not prevent himself from appearing in
          public places.” Id. at 558, 568; see also id. at 525 (plurality)
          (describing the elements of the “constitutional defense” that
          Powell sought to have the Court recognize).
              While acknowledging that the plurality in Powell had
          “interpret[ed] Robinson as precluding only the
          criminalization of ‘status,’ not of ‘involuntary’ conduct,” the
          Martin panel held that the controlling opinion was Justice
          White’s concurrence. 920 F.3d at 616. As I have noted,
          Justice White concluded that the Texas statute against public
          drunkenness could constitutionally be applied, even to an
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          alcoholic, if the defendant failed to “satisfactorily show[]
          that it was not feasible for him to have made arrangements
          to prevent his being in public when drunk and that his
          extreme drunkenness sufficiently deprived him of his
          faculties on the occasion in issue.” Powell, 392 U.S. at 552
          (White, J., concurring). 2 Under Marks v. United States, 430
          U.S. 188 (1977), this narrower reasoning given by Justice
          White for joining the Powell majority’s judgment upholding
          the conviction constitutes the Court’s holding in that case.
          See id. at 193 (“When a fragmented Court decides a case and
          no single rationale explaining the result enjoys the assent of
          five Justices, ‘the holding of the Court may be viewed as that
          position taken by those Members who concurred in the
          judgments on the narrowest grounds.’” (citation omitted));
          see also United States v. Moore, 486 F.2d 1139, 1151 (D.C.
          Cir. 1973) (en banc) (Wilkey, J., concurring) (concluding
          that the judgment in Powell rested on the overlap in the
          views of “four members of the Court” who held that
          Powell’s acts of public drunkenness “were punishable
          without question” and the view of Justice White that
          Powell’s acts “were punishable so long as the acts had not
          been proved to be the product of an established irresistible
          compulsion”).
             The Martin panel quoted dicta in Justice White’s
          concurrence suggesting that, if the defendant could make the
          requisite “showing” that “resisting drunkenness is


          2
            Justice White, however, did not resolve the further question of whether,
          if such a showing had been made, the Eighth Amendment would have
          been violated. He stated that the Eighth Amendment “might bar
          conviction” in such circumstances, but he found it “unnecessary” to
          decide whether that “novel construction of that Amendment” was
          ultimately correct. 392 U.S. at 552–53 & n.4 (emphasis added).
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          impossible and that avoiding public places when intoxicated
          is also impossible,” then the Texas statute “[a]s applied” to
          such persons might violate “the Eighth Amendment.” 920
          F.3d at 616 (quoting Powell, 392 U.S. at 551 (White, J.,
          concurring)). These dicta, Martin noted, overlapped with
          similar statements in the dissenting opinion in Powell, and
          from those two opinions, the Martin panel derived the
          proposition that “five Justices” had endorsed the view that
          “the Eighth Amendment prohibits the state from punishing
          an involuntary act or condition if it is the unavoidable
          consequence of one’s status or being.” Id. (citation omitted).
          Applying that principle, Martin held that “the Eighth
          Amendment prohibits the imposition of criminal penalties
          for sitting, sleeping, or lying outside on public property for
          homeless individuals who cannot obtain shelter.” Id.
          Because “human beings are biologically compelled to rest,
          whether by sitting, lying, or sleeping,” Martin held that
          prohibitions on such activities in public cannot be applied to
          those who simply have “no option of sleeping indoors.” Id.
          at 617.
              The Martin panel emphasized that its “holding is a
          narrow one.” Id. Martin recognized that, if there are
          sufficient available shelter beds for all homeless persons
          within a jurisdiction, then of course there can be no Eighth
          Amendment impediment to enforcing laws against sleeping
          and camping in public, because those persons engaging in
          such activities cannot be said to have “no option of sleeping
          indoors.” Id. But “so long as there is a greater number of
          homeless individuals in a jurisdiction than the number of
          available beds in shelters, the jurisdiction cannot prosecute
          homeless individuals for involuntarily sitting, lying, and
          sleeping in public.” Id. (simplified) (emphasis added).
          Consistent with Justice White’s concurrence, the Martin
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          panel emphasized that, in determining whether the defendant
          was being punished for conduct that was “involuntary and
          inseparable from status,” id. (citation omitted), the specific
          individual circumstances of the defendant must be
          considered. Thus, Martin explained, the panel’s “holding
          does not cover individuals who do have access to adequate
          temporary shelter, whether because they have the means to
          pay for it or because it is realistically available to them for
          free, but who choose not to use it.” Id. at 617 n.8. But
          Martin held that, where it is shown that homeless persons
          “do not have a single place where they can lawfully be,” an
          ordinance against sleeping or camping in public, “as applied
          to them, effectively punish[es] them for something for which
          they may not be convicted under the Eighth Amendment.”
          Id. at 617 (simplified). Concluding that the remaining
          plaintiffs had “demonstrated a genuine issue of material
          fact” as to their lack of any access to indoor shelter, Martin
          reversed the district court’s grant of summary judgment to
          the City. Id. at 617 n.9; see also id. at 617–18.
                                         B
              With that backdrop in place, I turn to the specific facts of
          this case.
              In the operative Third Amended Complaint, named
          Plaintiffs Debra Blake, Gloria Johnson, and John Logan
          sought to represent a putative class of “all involuntarily
          homeless people living in Grants Pass, Oregon” in pursuing
          a variety of claims under 42 U.S.C. § 1983 against the City
          of Grants Pass. In particular, they asserted that the following
          three sections of the Grants Pass Municipal Code
          (“GPMC”), which generally prohibited sleeping and
          camping in public, violated the Eighth Amendment’s Cruel
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          and Unusual Punishments Clause and its Excessive Fines
          Clause:

                5.61.020 Sleeping on Sidewalks, Streets, Alleys,
                or Within Doorways Prohibited
                  A. No person may sleep on public sidewalks,
                  streets, or alleyways at any time as a matter
                  of individual and public safety.
                  B. No person may sleep in any pedestrian or
                  vehicular entrance to public or private
                  property abutting a public sidewalk.
                  C. In addition to any other remedy provided
                  by law, any person found in violation of this
                  section may be immediately removed from
                  the premises.
                5.61.030 Camping Prohibited
                  No person may occupy a campsite in or upon
                  any sidewalk, street, alley, lane, public right
                  of way, park, bench, or any other publicly-
                  owned property or under any bridge or
                  viaduct, [subject to specified exceptions]. 3
                6.46.090 Camping in Parks
                  A. It is unlawful for any person to camp, as
                  defined in GPMC Title 5, within the
                  boundaries of the City parks.
                  B. Overnight parking of vehicles shall be
                  unlawful. For the purposes of this section,

          3
           The definition of “campsite” for purposes of GPMC 5.61.030 includes
          using a “vehicle” as a temporary place to live. See GPMC 5.61.010(B).
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                  anyone who parks or leaves a vehicle parked
                  for two consecutive hours or who remains
                  within one of the parks as herein defined for
                  purposes of camping as defined in this
                  section for two consecutive hours, without
                  permission from the City Council, between
                  the hours of midnight and 6:00 a.m. shall be
                  considered in violation of this Chapter.

             Plaintiffs’ complaint also challenged the following “park
          exclusion” ordinance as a violation of their “Eighth and
          Fourteenth Amendment rights”:

                6.46.350 Temporary Exclusion from City Park
                Properties
                An individual may be issued a written exclusion
                order by a police officer of the Public Safety
                Department barring said individual from all City
                Park properties for a period of 30 days, if within a
                one-year period the individual:
                  A. Is issued 2 or more citations for violating
                  regulations related to City park properties, or
                  B. Is issued one or more citations for
                  violating any state law(s) while on City park
                  property. 4




          4
            This latter ordinance was amended in September 2020 to read as
          follows:
              An individual may be issued a written exclusion order by a
              police officer of the Public Safety Department barring said
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              In an August 2019 order, the district court certified a
          class seeking declaratory and injunctive relief with respect
          to Plaintiffs’ Eighth Amendment claims, pursuant to Federal
          Rule of Civil Procedure 23(b)(2). 5 As defined in the court’s
          order, the class consists of “[a]ll involuntarily homeless
          individuals living in Grants Pass, Oregon, including
          homeless individuals who sometimes sleep outside city
          limits to avoid harassment and punishment by Defendant as
          addressed in this lawsuit.”
              After the parties filed cross-motions for summary
          judgment, the district court in July 2020 granted Plaintiffs’
          motion in relevant part and denied the City’s motion. The
          district court held that, under Martin, the City’s enforcement
          of the above-described ordinances violated the Cruel and
          Unusual Punishments Clause. The court further held that,
          for similar reasons, the ordinances imposed excessive fines



               individual from a City park for a period of 30 days, if within a
               one-year period the individual:
                   A. Is issued two or more citations in the same City park
                   for violating regulations related to City park
                   properties, or
                   B. Is issued one or more citations for violating any
                   state law(s) while on City park property.
               The foregoing exclusion order shall only apply to the particular
               City park in which the offending conduct under 6.46.350(A) or
               6.46.350(B) occurred.
          5
            At the time that the district court certified the class, the operative
          complaint was the Second Amended Complaint. That complaint was
          materially comparable to the Third Amended Complaint, with the
          exception that it did not mention the park-exclusion ordinance or seek
          injunctive relief with respect to it.
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          in violation of the Eighth Amendment’s Excessive Fines
          Clause.
              After Plaintiffs voluntarily dismissed those claims as to
          which summary judgment had been denied to both sides, the
          district court entered final judgment declaring that the City’s
          enforcement of the anti-camping and anti-sleeping
          ordinances (GPMC §§ 5.61.020, 5.61.030, 6.46.090)
          violates “the Eighth Amendment prohibition against cruel
          and unusual punishment” and its “prohibition against
          excessive fines.” Nonetheless, the court’s final injunctive
          relief did not prohibit all enforcement of these provisions.
          Enforcement of § 5.61.020 (the anti-sleeping ordinance) was
          not enjoined at all. The City was enjoined from enforcing
          the anti-camping ordinances (GPMC §§ 5.61.030 and
          6.46.090) “without first giving a person a warning of at least
          24 hours before enforcement.” It was further enjoined from
          enforcing those ordinances, and a related ordinance against
          criminal trespass on city property, in all but one City park
          during specified evening and overnight hours, which varied
          depending upon the time of year. Finally, the City was
          enjoined from enforcing the park-exclusion ordinance. 6



          6
            The district court’s summary judgment order and judgment also
          declared that a separate ordinance (GPMC § 6.46.355), which addressed
          the procedures for appealing park-exclusion orders under § 6.46.350,
          failed to provide sufficient procedural due process. The parties dispute
          whether this claim was adequately raised and reached below, but as the
          majority notes, this claim for purely prospective relief has been mooted
          by the City’s subsequent amendment of § 6.46.355 in a way that removes
          the features that had led to its invalidation. See Opin. at 55. Accordingly,
          this aspect of the district court’s judgment should be vacated and
          remanded with instructions to dismiss as moot Plaintiffs’ challenge to
          § 6.46.355.
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              The City timely appealed from that judgment and from
          the district court’s subsequent award of attorneys’ fees.
                                        II
              Before turning to the merits, I first address the question
          of our jurisdiction under Article III of the Constitution.
          Plains Com. Bank v. Long Family Land & Cattle Co., 554
          U.S. 316, 324 (2008) (holding that courts “bear an
          independent obligation to assure [them]selves that
          jurisdiction is proper before proceeding to the merits”).
              “In limiting the judicial power to ‘Cases’ and
          ‘Controversies,’ Article III of the Constitution restricts it to
          the traditional role of Anglo-American courts, which is to
          redress or prevent actual or imminently threatened injury to
          persons caused by private or official violation of law.”
          Summers v. Earth Island Inst., 555 U.S. 488, 492 (2009).
          “The doctrine of standing is one of several doctrines that
          reflect this fundamental limitation,” and in the context of a
          request for prospective injunctive or declaratory relief, that
          doctrine requires a plaintiff to “show that he is under threat
          of suffering ‘injury in fact’ that is concrete and
          particularized; the threat must be actual and imminent, not
          conjectural or hypothetical; it must be fairly traceable to the
          challenged action of the defendant; and it must be likely that
          a favorable judicial decision will prevent or redress the
          injury.” Id. at 493. The requirement to show an actual threat
          of imminent injury-in-fact in order to obtain prospective
          relief is a demanding one: the Supreme Court has
          “repeatedly reiterated that threatened injury must be
          certainly impending to constitute injury in fact, and that
          allegations of possible future injury are not sufficient.”
          Clapper v. Amnesty Int’l USA, 568 U.S 398, 409 (2013)
          (simplified).
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              As “an indispensable part of the plaintiff’s case,” each of
          these elements of Article III standing “must be supported in
          the same way as any other matter on which the plaintiff bears
          the burden of proof, i.e., with the manner and degree of
          evidence required at the successive stages of the litigation.”
          Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992).
          Because, as in Lujan, this case arises from a grant of
          summary judgment, the question is whether, in seeking
          summary judgment, Plaintiffs “‘set forth’ by affidavit or
          other evidence ‘specific facts’” in support of each element
          of standing. Id. (citation omitted). Moreover, “standing is
          not dispensed in gross,” and therefore “a plaintiff must
          demonstrate standing for each claim he seeks to press.”
          DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352–53
          (2006) (emphasis added) (citation omitted).
              Plaintiffs’ operative complaint named three individual
          plaintiffs as class representatives (John Logan, Gloria
          Johnson, and Debra Blake), and we have jurisdiction to
          address the merits of a particular claim if any one of them
          sufficiently established Article III standing as to that claim.
          See Secretary of the Interior v. California, 464 U.S. 312, 319
          n.3 (1984) (“Since the State of California clearly does have
          standing, we need not address the standing of the other
          [plaintiffs], whose position here is identical to the State’s.”);
          see also Bates v. United Parcel Service, Inc., 511 F.3d 974,
          985 (9th Cir. 2007) (en banc) (“In a class action, standing is
          satisfied if at least one named plaintiff meets the
          requirements.”). Accordingly, I address the showing made
          by each named Plaintiff in support of summary judgment.
             In my view, Plaintiff John Logan failed to establish that
          he has standing to challenge any of the ordinances in
          question. In support of his motion for summary judgment,
          Logan submitted a half-page declaration stating, in
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          conclusory fashion, that he is “involuntarily homeless in
          Grants Pass,” but that he is “sleeping in [his] truck at night
          at a rest stop North of Grants Pass.” He asserted that he
          “cannot sleep in the City of Grants Pass for fear that [he] will
          be awakened, ticketed, fined, moved along, trespassed[,] and
          charged with Criminal Trespass.” Logan also previously
          submitted two declarations in support of his class
          certification motion. In them, Logan stated that he has been
          homeless in Grants Pass for nearly seven of the last 10 years;
          that there have been occasions in the past in which police in
          Grants Pass have awakened him in his car and instructed him
          to move on; and that he now generally sleeps in his truck
          outside of Grants Pass. Logan has made no showing that,
          over the seven years that he has been homeless, he has ever
          been issued a citation for violating the challenged
          ordinances, nor has he provided any facts to establish either
          that the threat of such a citation is “certainly impending” or
          that “there is a substantial risk” that he may be issued a
          citation. Susan B. Anthony List v. Driehaus, 573 U.S. 149,
          158 (2014) (citation and internal quotation marks omitted).
          At best, his declarations suggest that he would prefer to sleep
          in his truck within the City limits rather than outside them,
          and that he is subjectively deterred from doing so due to the
          City’s ordinances. But such “[a]llegations of a subjective
          ‘chill’ are not an adequate substitute for a claim of specific
          present objective harm or a threat of specific future harm.”
          Laird v. Tatum, 408 U.S. 1, 13–14 (1972). Nor has Logan
          provided any facts that would show that he has any actual
          intention or plans to stay overnight in the City. See Lopez v.
          Candaele, 630 F.3d 775, 787 (9th Cir. 2010) (“[W]e have
          concluded that pre-enforcement plaintiffs who failed to
          allege a concrete intent to violate the challenged law could
          not establish a credible threat of enforcement.”). Even if his
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          declarations could be generously construed as asserting an
          intention to stay in the City at some future point, “[s]uch
          ‘some day’ intentions—without any description of concrete
          plans, or indeed even any specification of when the some day
          will be—do not support a finding of the ‘actual or imminent’
          injury that [the Court’s] cases require.” Lujan, 504 U.S. at
          564; cf. Driehaus, 573 U.S. at 161 (permitting pre-
          enforcement challenge against ordinance regulating
          election-related speech where plaintiffs’ allegations
          identified “specific statements they intend[ed] to make in
          future election cycles”). And, contrary to what the majority
          suggests, see Opin. at 30–31 n.16, Logan’s vaguely
          described knowledge about what has happened to other
          people cannot establish his standing. Accordingly, Logan
          failed to carry his burden to establish standing for the
          prospective relief he seeks.
              By contrast, Plaintiff Gloria Johnson made a sufficient
          showing that she has standing to challenge the general anti-
          camping ordinance, GPMC § 5.61.030, and the parks anti-
          camping ordinance, GPMC § 6.46.090. Although Johnson’s
          earlier declaration in support of class certification stated that
          she “often” sleeps in her van outside the City limits, she also
          stated that she “continue[s] to live without shelter in Grants
          Pass” and that, consequently, “[a]t any time, I could be
          arrested, ticketed, fined, and prosecuted for sleeping outside
          in my van or for covering myself with a blanket to stay
          warm” (emphasis added). Her declaration also recounts
          “dozens of occasions” in which the anti-camping ordinances
          have been enforced against her, either by instructions to
          “move along” or, in one instance, by issuance of a citation
          for violating the parks anti-camping ordinance, GPMC
          § 6.46.090. Because Johnson presented facts showing that
          she continues to violate the anti-camping ordinances and
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          that, in light of past enforcement, she faces a credible threat
          of future enforcement, she has standing to challenge those
          ordinances. Lujan, 504 U.S. at 564. Johnson, however,
          presented no facts that would establish standing to challenge
          either the anti-sleeping ordinance (which, unlike the anti-
          camping ordinances, does not apply to sleeping in a vehicle),
          the park-exclusion ordinance, or the criminal trespass
          ordinance. 7
              Debra Blake sufficiently established her standing, both
          in connection with the class certification motion and the
          summary judgment motion. Although she was actually


          7
            The majority concludes that Johnson’s standing to challenge the anti-
          camping ordinances necessarily establishes her standing to challenge the
          park-exclusion and criminal-trespass ordinances. See Opin. at 30 n.15.
          But as the district court explained, the undisputed evidence concerning
          Grants Pass’s enforcement policies established that “Grants Pass first
          issues fines for violations and then either issues a trespass order or
          excludes persons from all parks before a person is charged with
          misdemeanor criminal trespass” (emphasis added). Although Johnson’s
          continued intention to sleep in her vehicle in Grants Pass gives her
          standing to challenge the anti-camping ordinances, Johnson has wholly
          failed to plead any facts to show, inter alia, that she intends to engage in
          the further conduct that might expose her to a “credible threat” of
          prosecution under the park-exclusion or criminal trespass ordinances.
          Driehaus, 573 U.S. at 159 (citation omitted). Johnson’s declaration
          states that she has been homeless in Grants Pass for three years, but it
          does not contend that she has ever been issued, or threatened with
          issuance of, a trespass order, a park-exclusion order, or a criminal
          trespass charge or that she has “an intention to engage in a course of
          conduct” that would lead to such an order or charge. Id. (citation
          omitted).     Because “standing is not dispensed in gross,” see
          DaimlerChrysler, 547 U.S. at 353 (citation omitted), Johnson must
          separately establish her standing with respect to each ordinance, and she
          has failed to do so with respect to the park-exclusion and criminal-
          trespass ordinances.
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          living in temporary housing at the time she submitted her
          declarations in support of class certification in March and
          June 2019, she explained that that temporary housing would
          soon expire; that she would become homeless in Grants Pass
          again; and that she would therefore again be subject to being
          “arrested, ticketed and prosecuted for sleeping outside or for
          covering myself with a blanket to stay warm.” And, as her
          declaration at summary judgment showed, that is exactly
          what happened: in September 2019, she was cited for
          sleeping in the park in violation of GPMC § 6.46.090,
          convicted, and fined. Her declarations also confirmed that
          Blake’s persistence in sleeping and camping in a variety of
          places in Grants Pass had also resulted in a park-exclusion
          order (which she successfully appealed), and in citations for
          violation of the anti-sleeping ordinance, GPMC § 5.61.020
          (for sleeping in an alley), and for criminal trespass on City
          property. Based on this showing, I conclude that Blake
          established standing to challenge each of the ordinances at
          issue in the district court’s judgment.
               However, Blake subsequently passed away during this
          litigation, as her counsel noted in a letter to this court
          submitted under Federal Rule of Appellate Procedure 43(a).
          Because the only relief she sought was prospective
          declaratory and injunctive relief, Blake’s death moots her
          claims. King v. County of Los Angeles, 885 F.3d 548, 553,
          559 (9th Cir. 2018). And because, as explained earlier,
          Blake was the only named Plaintiff who established standing
          with respect to the anti-sleeping, park-exclusion, and
          criminal trespass ordinances that are the subject of the
          district court’s classwide judgment, her death raises the
          question whether we consequently lack jurisdiction over
          those additional claims. Under Sosna v. Iowa, 419 U.S. 393
          (1975), the answer to that question would appear to be no.
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          Blake established her standing at the time that the class was
          certified and, as a result, “[w]hen the District Court certified
          the propriety of the class action, the class of unnamed
          persons described in the certification acquired a legal status
          separate from the interest asserted by [Blake].” Id. at 399.
          “Although the controversy is no longer alive as to [Blake], it
          remains very much alive for the class of persons she [had]
          been certified to represent.” Id. at 401; see also Nielsen v.
          Preap, 139 S. Ct. 954, 963 (2019) (finding no mootness
          where “there was at least one named plaintiff with a live
          claim when the class was certified”); Bates v. United Parcel
          Service, Inc., 511 F.3d 974, 987–88 (9th Cir. 2007) (en
          banc).
              There is, however, presently no class representative who
          meets the requirements for representing the certified class
          with respect to the anti-sleeping, park-exclusion, and
          criminal trespass ordinances. 8      Although that would



          8
            Because—in contrast to the named representative in Sosna, who had
          Article III standing at the time of certification—Johnson and Logan
          never had standing to represent the class with respect to the anti-sleeping
          ordinance, they may not represent the class as to such claims. See Sosna,
          419 U.S. at 403 (holding that a previously proper class representative
          whose claims had become moot on appeal could continue to represent
          the class for purposes of that appeal); see also Bates, 511 F.3d at 987
          (emphasizing that the named plaintiff “had standing at the time of
          certification”); B.K. ex rel. Tinsley v. Snyder, 922 F.3d 957, 966 (9th Cir.
          2019) (stating that “class representatives must have Article III
          standing”); cf. NEI Contracting & Eng’g, Inc. v. Hanson Aggregates
          Pac. SW., Inc., 926 F.3d 528, 533 (9th Cir. 2019) (holding that, where
          the named plaintiffs never had standing, the class “must be decertified”).
          The majority correctly concedes this point. See Opin. at 32–33.
          Nonetheless, the majority wrongly allows Johnson and Logan to
          represent the class as to the park-exclusion and criminal-trespass
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          normally require a remand to permit the possible substitution
          of a new class member, see Kuahulu v. Employers Ins. of
          Wausau, 557 F.2d 1334, 1336–37 (9th Cir. 1977), I see no
          need to do so here, and that remains true even if one assumes
          that the failure to substitute a new class representative might
          otherwise present a potential jurisdictional defect. As noted
          earlier, we have jurisdiction to address all claims concerning
          the two anti-camping ordinances, as to which Johnson has
          sufficient standing to represent the certified class. And, as I
          shall explain, the class as to those claims should be
          decertified, and the reasons for that decertification rest on
          cross-cutting grounds that apply equally to all claims. As a
          result, I conclude that we have jurisdiction to order the
          complete decertification of the class as to all claims, without
          the need for a remand to substitute a new class representative
          as to the anti-sleeping, park-exclusion, and criminal trespass
          ordinances. Cf. Steel Co. v. Citizens for a Better Env’t, 523
          U.S. 83, 98 (1998) (holding that, where “a merits issue [is]
          dispositively resolved in a companion case,” that merits
          ruling could be applied to the other companion case without
          the need for a remand to resolve a potential jurisdictional
          issue).
                                         III
               I therefore turn to whether the district court properly
          certified the class under Rule 23 of the Federal Rules of Civil
          Procedure. In my view, the district court relied on erroneous
          legal premises in certifying the class, and it therefore abused
          its discretion in doing so. B.K., 922 F.3d at 965.



          ordinances, based on its erroneous conclusion that they established
          standing to challenge those ordinances. See supra at 69–72 & n.7.
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                                         A
              “To obtain certification of a plaintiff class under Federal
          Rule of Civil Procedure 23, a plaintiff must satisfy both the
          four     requirements       of    Rule    23(a)—‘numerosity,
          commonality, typicality, and adequate representation’—and
          ‘one of the three requirements listed in Rule 23(b).’” A.B. v.
          Hawaii State Dep’t of Educ., 30 F.4th 828, 834 (9th Cir.
          2022) (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S.
          338, 345, 349 (2011)). Commonality, which is contested
          here, requires a showing that the class members’ claims
          “depend upon a common contention” that is “of such a
          nature that it is capable of classwide resolution—which
          means that determination of its truth or falsity will resolve
          an issue that is central to the validity of each one of the
          claims in one stroke.” Wal-Mart, 564 U.S. at 350. In finding
          that commonality was satisfied with respect to the Eighth
          Amendment claims, the district court relied solely on the
          premise that whether the City’s conduct “violates the Eighth
          Amendment” was a common question that could be resolved
          on a classwide basis. And in finding that Rule 23(b) was
          satisfied here, the district court relied solely on Rule
          23(b)(2), which provides that a “class action may be
          maintained” if “the party opposing the class has acted or
          refused to act on grounds that apply generally to the class, so
          that final injunctive relief or corresponding declaratory relief
          is appropriate respecting the class as a whole.” FED. R. CIV.
          P. 23(b)(2). That requirement was satisfied, the district court
          concluded, because (for reasons similar to those that
          underlay its commonality analysis) the City’s challenged
          enforcement of the ordinances “applies equally to all class
          members.” The district court’s commonality and Rule
          23(b)(2) analyses are both flawed because they are based on
          an incorrect understanding of our decision in Martin.
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               As the earlier discussion of Martin makes clear, the
          Eighth Amendment theory adopted in that case requires an
          individualized inquiry in order to assess whether any
          individuals to whom the challenged ordinances are being
          applied “do have access to adequate temporary shelter,
          whether because they have the means to pay for it or because
          it is realistically available to them for free, but who choose
          not to use it.” 920 F.3d at 617 n.8. See supra at 61–63. Only
          when persons “do not have a single place where they can
          lawfully be,” can it be said that an ordinance against sleeping
          or camping in public, “as applied to them, effectively
          punish[es] them for something for which they may not be
          convicted under the Eighth Amendment.” Id. at 617
          (simplified) (emphasis added).
              Of course, such an individualized inquiry is not
          required—and no Eighth Amendment violation occurs under
          Martin—when the defendant can show that there is adequate
          shelter space to house all homeless persons in the
          jurisdiction. Id. But the converse is not true—the mere fact
          that a city’s shelters are full does not by itself establish,
          without more, that any particular person who is sleeping in
          public does “not have a single place where [he or she] can
          lawfully be.” Id. The logic of Martin, and of the opinions
          in Powell on which it is based, requires an assessment of a
          person’s individual situation before it can be said that the
          Eighth Amendment would be violated by applying a
          particular provision against that person. Indeed, the opinions
          in Powell on which Martin relied—Justice White’s
          concurring opinion and the opinion of the dissenting
          Justices—all agreed that, at most, the Eighth Amendment
          provided a case-specific affirmative defense that would
          require the defendant to provide a “satisfactor[y] showing
          that it was not feasible for him to have made arrangements”
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          to avoid the conduct at issue. Powell, 392 U.S. at 552
          (White, J., concurring); id. at 568 n.31 (Fortas, J., dissenting)
          (agreeing with Justice White that the issue is whether the
          defendant “on the occasion in question” had shown that
          avoiding the conduct was “impossible”); see also supra at
          59–60. 9
              In light of this understanding of Martin, the district court
          clearly erred in finding that the requirement of commonality
          was met here. “What matters to class certification is not the
          raising of common ‘questions’—even in droves—but rather,
          the capacity of a class-wide proceeding to generate common
          answers apt to drive the resolution of the litigation.
          Dissimilarities within the proposed class are what have the
          potential to impede the generation of common answers.”

          9
            The majority incorrectly contends that the dissenters in Powell did not
          endorse Justice White’s conclusion that the defendant bears the burden
          to establish that his or her conduct was involuntary. See Opin. at 48–51.
          On the contrary, the Powell dissenters’ entire argument rested on the
          affirmative “constitutional defense” presented at the trial in that case and
          on the findings made by the trial court in connection with that defense.
          See 392 U.S. at 558 (Fortas, J., dissenting). The majority’s suggestion
          that I have taken that explicit reference to Powell’s defense “out of
          context,” see Opin. at 49 n.29, is demonstrably wrong—the context of
          the case was precisely the extensive affirmative defense that Powell
          presented at trial, including the testimony of an expert. See 392 U.S. at
          517–26 (plurality) (summarizing the testimony). And, of course, in
          Martin, the issue was raised in the context of a § 1983 action in which
          the plaintiffs challenging the laws bore the burden to prove the
          involuntariness of their relevant conduct. The majority points to nothing
          that would plausibly support the view that Powell and Martin might
          require the government to carry the burden to establish voluntariness.
          See Opin. at 50 n.31 (leaving this issue open). The majority claims that
          it can sidestep this issue here, but that is also wrong: the burden issue is
          critical both to the class-certification analysis and to the issue of
          summary judgment on the merits. See infra at 78–89.
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          Wal-Mart, 564 U.S. at 350 (simplified). Under Martin, the
          answer to the question whether the City’s enforcement of
          each of the anti-camping ordinances violates the Eighth
          Amendment turns on the individual circumstances of each
          person to whom the ordinance is being applied on a given
          occasion. That question is simply not one that can be
          resolved, on a common basis, “in one stroke.” Id. That
          requires decertification.
              For similar reasons, the district court also erred in
          concluding that the requirements of Rule 23(b)(2) were met.
          By its terms, Rule 23(b)(2) is satisfied only if (1) the
          defendant has acted (or refused to act) on grounds that are
          generally applicable to the class as whole and (2) as a result,
          final classwide or injunctive relief is appropriate. As the
          Supreme Court has observed, “[t]he key to the (b)(2) class is
          ‘the indivisible nature of the injunctive or declaratory
          remedy warranted—the notion that the conduct is such that
          it can be enjoined or declared unlawful only as to all of the
          class members or as to none of them.’” Wal-Mart, 564 U.S.
          at 360. It follows that, when the wrongfulness of the
          challenged conduct with respect to any particular class
          member depends critically upon the individual
          circumstances of that class member, a class action under
          Rule 23(b)(2) is not appropriate. In such a case, in which
          (for example) the challenged enforcement of a particular law
          may be lawful as to some persons and not as to others,
          depending upon their individual circumstances, the all-or-
          nothing determination of wrongfulness that is the foundation
          of a (b)(2) class is absent: in such a case, it is simply not true
          that the defendant’s “conduct is such that it can be enjoined
          or declared unlawful only as to all of the class members or
          as to none of them.’” Id. (emphasis added).
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              Because Martin requires an assessment of each person’s
          individual circumstances in order to determine whether
          application of the challenged ordinances violates the Eighth
          Amendment, these standards for the application of Rule
          23(b)(2) were plainly not met in this case. That is, because
          the applicable law governing Plaintiffs’ claims would entail
          “a process through which highly individualized
          determinations of liability and remedy are made,”
          certification of a class under Rule 23(b)(2) is improper.
          Jamie S. v. Milwaukee Pub. Sch., 668 F.3d 481, 499 (7th Cir.
          2012). Moreover, the mere fact that the district court’s final
          judgment imposes sweeping across-the-board injunctive
          relief that disregards individual differences in determining
          the defendant’s liability does not mean that Rule 23(b)(2)
          has been satisfied. The rule requires that any such classwide
          relief be rooted in a determination of classwide liability—
          the defendant must have acted, or be acting, unlawfully “on
          grounds that apply generally to the class, so that final
          injunctive or corresponding declaratory relief is appropriate
          respecting the class as a whole.” FED. R. CIV. P. 23(b)(2)
          (emphasis added). That requirement was not established
          here, and the class must be decertified. 10



          10
             The majority wrongly concludes that the City has forfeited any
          argument concerning Rule 23(b)(2) because it did not specifically
          mention that subdivision of the rule in its opening brief. Opin. at 41.
          This “Simon Says” approach to reading briefs is wrong. The substance
          of the argument is contained in the opening brief, in which the City
          explicitly contended that Martin requires “a more individualized
          analysis” than the district court applied and that, as a result, “neither FED.
          R. CIV. P. 23 nor Martin provide plaintiffs the ability to establish the type
          of sweeping class-wide claims advanced in this case.” Indeed, Plaintiffs
          themselves responded to this argument, in their answering brief, by
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                                            B
             The majority provides two responses to this analysis, but
          both of them are wrong.
              First, the majority contends that Martin established a
          bright-line rule that the government cannot prosecute
          “involuntarily homeless persons for sleeping in public”—or,
          presumably, for camping—“if there are no other public areas
          or appropriate shelters where those individuals can sleep.”
          See Opin. at 19. As the majority makes clear, that latter
          inquiry into available shelter space turns on whether “the
          number of homeless persons outnumber the available shelter
          beds,” except that, “[w]hen assessing the number of shelter
          spaces,” shelters that have a “mandatory religious focus” are
          not to be counted. See Opin. at 13, 19 (citation omitted).
          Moreover, although the majority’s phrasing pays lip service
          to the fact that the persons at issue must be “involuntarily
          homeless,” the majority also explicitly rejects the City’s
          contention that “the holding of Martin can only be applied
          after an individualized inquiry of each alleged involuntarily
          homeless person’s access to shelter.” See Opin. at 35. The
          net result, for class certification purposes, is that any issue of
          individualized involuntariness is set aside and Martin is
          thereby reduced to a simplistic formula—to be resolved on a
          classwide basis—into whether the number of homeless
          persons in the jurisdiction exceeds the number of available
          shelter beds. See Opin. at 34–35, 38.
              The majority’s analysis fails, because Martin does not
          allow the individualized inquiry into involuntariness to be
          set aside in this way. Martin states that, if there are

          explaining why they believe that the requirements of Rule 23(b)(2) were
          met.
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          insufficient available beds at shelters, then a jurisdiction
          “cannot prosecute homeless individuals for ‘involuntarily
          sitting, lying, and sleeping in public.’” 920 F.3d at 617
          (emphasis added). The lack of adequate shelter beds thus
          merely eliminates a safe-harbor that might otherwise have
          allowed a jurisdiction to prosecute violations of such
          ordinances without regard to individual circumstances, with
          the result that the jurisdiction’s enforcement power will
          instead depend upon whether the conduct of the individual
          on a particular occasion was “involuntar[y].” Id. Martin
          confirms that the resulting inquiry turns on whether the
          persons in question have access to “a single place where they
          can lawfully be,” id. at 617 (emphasis added) (citation
          omitted), and not just on whether they have access to
          “appropriate shelters” or “other public areas.” And the
          majority’s misreading of Martin completely disregards the
          Powell opinions on which Martin relied, which make
          unmistakably clear that an individualized showing of
          involuntariness is required.
               Second, and relatedly, the majority states that, to the
          extent that Martin requires such an individualized showing
          to establish an Eighth Amendment violation, any such
          individualized issue here has been eliminated by the fact that
          “[p]ursuant to the class definition, the class includes only
          involuntarily homeless persons.” See Opin. at 38–40 (first
          emphasis added). As the majority acknowledges, “[p]ersons
          are involuntarily homeless” under Martin only “if they do
          not ‘have access to adequate temporary shelter,’” such as,
          for example, when they lack “‘the means to pay for it’” and
          it is otherwise not “‘realistically available to them for free.’”
          Opin. at 14 n.2 (quoting Martin, 920 F.3d at 617 n.8).
          Because that individualized issue has been shifted into the
          class definition, the majority holds, the City’s enforcement
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          of the challenged ordinances against that class can in that
          sense be understood to present a “common question” that
          can be resolved in one stroke. According to the majority,
          because the class definition requires that, at the time the
          ordinances are applied against them, the class members must
          be “involuntarily homeless” in the sense that Martin
          requires, there is a common question as to whether “the
          City’s enforcement of the anti-camping ordinances against
          all involuntarily homeless individuals violates the Eighth
          Amendment.” See Opin. at 38–39 & n.22.
              The majority cites no authority for this audacious
          bootstrap argument. If a person’s individual circumstances
          are such that he or she has no “access to adequate temporary
          shelter”—which necessarily subsumes (among other things)
          the determination that there are no shelter beds available—
          then the entire (highly individualized) question of the City’s
          liability to that person under Martin’s standards has been
          shifted into the class definition. That is wholly improper.
          See Olean Wholesale Grocery Coop. v. Bumble Bee Foods,
          31 F.4th 651, 670 n.14 (9th Cir. 2022) (en banc) (“A court
          may not . . . create a ‘fail safe’ class that is defined to include
          only those individuals who were injured by the allegedly
          unlawful conduct.”); see also Ruiz Torres v. Mercer
          Canyons Inc., 835 F.3d 1125, 1138 n.7 (9th Cir. 2016)
          (stating that it would be improper to define a class in such a
          way “as to preclude membership unless the liability of the
          defendant is established” (simplified)).
              The majority nonetheless insists that “[m]embership in
          [the] class” here “has no connection to the success of the
          underlying claims.” See Opin. at 39 n.23. That is obviously
          false. As I have explained, Martin’s understanding of when
          a person “involuntarily” lacks “access to adequate temporary
          shelter” or to “a single place where [he or she] can lawfully
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          be,” see 920 F.3d at 617 & n.8 (citations omitted), requires
          an individualized inquiry into a given person’s
          circumstances at a particular moment. By insisting that a
          common question exists here because Martin’s
          involuntariness standard has been folded into the class
          definition, the majority is unavoidably relying on a fail-safe
          class definition that improperly subsumes this crucial
          individualized merits issue into the class definition. The
          majority’s artifice renders the limitations of Rule 23 largely
          illusory. 11
              To the extent that the majority instead suggests that the
          class definition requires only an involuntary lack of access
          to regular or permanent shelter to qualify as “involuntarily
          homeless,” its argument collapses for a different reason.
          Because Martin’s Eighth Amendment holding applies only
          to those who involuntarily lack “access to adequate
          temporary shelter” on a given occasion, see 920 F.3d at 617
          n.8, such an understanding of the class definition would not

          11
              The majority contends that, despite the presence of a liability-
          determining individualized issue in the class definition, there is no fail-
          safe class here because one or more of the claims might still conceivably
          fail on the merits for other reasons. See Opin. at 39 n.23. But the
          majority does not identify any such other reasons and, of course, under
          the majority’s view of the substantive law, there are none. But more
          importantly, the majority is simply wrong in positing that the only type
          of class that would qualify as an impermissible fail-safe class is one in
          which every conceivable merits issue in the litigation has been folded
          into the class definition. What matters is whether the class definition
          folds within it any bootstrapping merits issue (such as the “injur[y]” issue
          mentioned in Olean) as to which “a class member either wins or, by
          virtue of losing, is defined out of the class and is therefore not bound by
          the judgment.” Olean, 31 F.4th at 670 n.14 (citation omitted). To the
          extent that the central individualized merits issue in this case has been
          folded into the class definition, that defect is present here.
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          be sufficient to eliminate the highly individualized inquiry
          into whether a particular person lacked such access at a given
          moment, and the class would then have to be decertified for
          the reasons I have discussed earlier. See supra at 75–80. Put
          simply, the majority cannot have it both ways: either the
          class definition is co-extensive with Martin’s
          involuntariness concept (in which case the class is an
          improper fail-safe class) or the class definition differs from
          the Martin standard (in which case Martin’s individualized
          inquiry requires decertification).
                                       IV
              Given these conclusions as to standing and class
          certification, all that remains are the individual claims of
          Johnson for prospective relief against enforcement of the
          two anti-camping ordinances. In my view, these claims fail
          as a matter of law.
              Johnson’s sole basis for challenging these ordinances is
          that they prohibit her from sleeping in her van within the
          City. In her declaration in support of class certification,
          however, Johnson specifically stated that she has “often”
          been able to sleep in her van by parking outside the City
          limits. In a supplemental declaration in support of summary
          judgment, she affirmed that these facts “remain true,” but
          she added that there had also been occasions in which,
          outside the City limits, county officers had told her to “move
          on” when she “was parked on county roads” and that, when
          she parked “on BLM land”—i.e., land managed by the
          federal Bureau of Land Management—she was told that she
          “could only stay on BLM for a few days.”
             As an initial matter, Johnson’s declaration provides no
          non-conclusory basis for finding that she lacks any option
          other than sleeping in her van. Although her declaration
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          notes that she worked as a nurse “for decades” and that she
          now collects social security benefits, the declaration simply
          states, without saying anything further about her present
          economic situation, that she “cannot afford housing.” Her
          declaration also says nothing about where she lived before
          she began living “on the street” a few years ago, and it says
          nothing about whether she has any friends or family, in
          Grants Pass or elsewhere, who might be able to provide
          assistance. 12 And even assuming that this factual showing
          would be sufficient to permit a trier of fact to find that
          Johnson lacks any realistic option other than sleeping in her
          van, we cannot affirm the district court’s summary judgment
          in Johnson’s favor without holding that her showing was so
          overwhelming that she should prevail as a matter of law.
          Because a reasonable trier of fact could find, in light of these
          evidentiary gaps, that Johnson failed to carry her burden of
          proof on this preliminary point, summary judgment in her
          favor was improper. 13


          12
             The majority dismisses these questions about the sufficiency of
          Johnson’s evidentiary showing as “artificial limitations” on claims under
          Martin, see Opin. at 51, but the standard for establishing an Eighth
          Amendment violation under Martin and the Powell opinions on which it
          relies is a demanding and individualized one, and we are obligated to
          follow it. Indeed, in upholding Powell’s conviction for public
          drunkenness, the controlling opinion of Justice White probed the details
          of the record as to whether, in light of the fact that Powell “had a home
          and wife,” he could have “made plans while sober to prevent ending up
          in a public place,” and whether, despite his chronic alcoholism, he
          “retained the power to stay off or leave the streets, and simply preferred
          to be there rather than elsewhere.” 392 U.S. at 553.
          13
            The majority errs by instead counting all gaps in the evidentiary record
          against the City, faulting it for what the majority thinks the City has
          failed to “demonstrate[],” See Opin. at 52 & n.32. That is contrary to
          well-settled law. See Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)
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               But even assuming that Johnson had established that she
          truly has no option other than sleeping in her van, her
          showing is still insufficient to establish an Eighth
          Amendment violation. As noted, Johnson’s sole complaint
          in this case is that, by enforcing the anti-camping ordinances,
          the City will not let her sleep in her van. But the sparse facts
          she has presented fail to establish that she lacks any
          alternative place where she could park her van and sleep in
          it. On the contrary, her factual showing establishes that the
          BLM will let her do so on BLM land for a “few days” at a
          time and that she also has “often” been able to do so on
          county land. Given that Johnson has failed to present
          sufficient evidence to show that she lacks alternatives that
          would allow her to avoid violating the City’s anti-camping
          ordinances, she has not established that the conduct for
          which the City would punish her is involuntary such that,
          under Martin and the Powell opinions on which Martin
          relies, it would violate the Eighth Amendment to enforce that
          prohibition against her.
              In nonetheless finding that the anti-camping ordinances’
          prohibition on sleeping in vehicles violates the Eighth
          Amendment, the majority apparently relies on the premise
          that the question of whether an individual has options for
          avoiding violations of the challenged law must be limited to
          alternatives that are within the City limits. Under this view,
          if a large homeless shelter with 1,000 vacant beds were

          (holding that a movant’s summary judgment motion should be granted
          “against a [nonmovant] who fails to make a showing sufficient to
          establish the existence of an element essential to that party’s case, and
          on which that party will bear the burden of proof at trial”). The
          majority’s analysis also belies its implausible claim that it has not shifted
          the burden to the City to establish the voluntariness of the behavior
          targeted by the ordinances. See supra at 78 n.9.
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          opened a block outside the City’s limits, the City would still
          be required by the Eighth Amendment to allow hundreds of
          people to sleep in their vans in the City and, presumably, in
          the City’s public parks as well. Nothing in law or logic
          supports such a conclusion. Martin says that anti-sleeping
          ordinances may be enforced, consistent with the Eighth
          Amendment, so long as there is a “single place where [the
          person] can lawfully be,” 920 F.2d at 617 (emphasis added)
          (citation omitted), and Justice White’s concurrence in
          Powell confirms that the Eighth Amendment does not bar
          enforcement of a law when the defendant has failed to show
          that avoiding the violative conduct is “impossible,” 392 U.S.
          at 551 (emphasis added). 14 Nothing in the rationale of this
          Eighth Amendment theory suggests that the inquiry into
          whether it is “impossible” for the defendant to avoid
          violating the law must be artificially constrained to only
          those particular options that suit the defendant’s geographic
          or other preferences. To be sure, Johnson states that having
          to drive outside the City limits costs her money for gas, but
          that does not provide any basis for concluding that the option
          is infeasible or that she has thereby suffered “cruel and
          unusual punishment.”
              Finally, because the district court’s reliance on the
          Excessive Fines Clause was predicated on the comparable
          view that the challenged ordinances punish “status and not
          conduct” in violation of Robinson, that ruling was flawed for
          the same reasons. And because Johnson provides no other



          14
            The majority complains that this standard is too high, see Opin. at 52,
          but it is the standard applied in Martin and in the Powell opinions on
          which Martin relied.
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          basis for finding an Excessive Fines violation here, her
          claims under that clause also fail as a matter of law.
                                              V
              Accordingly, I would remand this case with instructions
          (1) to dismiss as moot the claims of Debra Blake as well as
          Plaintiffs’ claims with respect to GPMC § 6.46.355; (2) to
          dismiss the claims of John Logan for lack of Article III
          standing; (3) to dismiss the remaining claims of Gloria
          Johnson for lack of Article III standing, except to the extent
          that she challenges the two anti-camping ordinances (GPMC
          §§ 5.61.030, 6.46.090); (4) to decertify the class; and (5) to
          grant summary judgment to the City, and against Johnson,
          with respect to her challenges to the City’s anti-camping
          ordinances under the Eighth Amendment’s Cruel and
          Unusual Punishments Clause and Excessive Fines Clause.
          That disposes of all claims at issue, and I therefore need not
          reach any of the many additional issues discussed and
          decided by the majority’s opinion or raised by the parties. 15

          15
             Two of the majority’s expansions of Martin nonetheless warrant
          special mention. First, the majority’s decision goes well beyond Martin
          by holding that the Eighth Amendment precludes enforcement of anti-
          camping ordinances against those who involuntarily lack access to
          temporary shelter, if those ordinances deny such persons the use of
          whatever materials they need “to keep themselves warm and dry.” See
          Opin. at 46. It seems unavoidable that this newly declared right to the
          necessary “materials to keep warm and dry” while sleeping in public
          parks must include the right to use (at least) a tent; it is hard to see how
          else one would keep “warm and dry” in a downpour. And the majority
          also raises, and leaves open, the possibility that the City’s prohibition on
          the use of other “items necessary to facilitate sleeping outdoors”—such
          as “stoves,” “fires,” and makeshift “structures”—“may or may not be
          permissible.” See Opin. at 45–46, 53–54. Second, the majority
          indirectly extends Martin’s holding from the strictly criminal context at
          issue in that case to civil citations and fines. See Opin. at 41–45. As the
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                                             VI
              Up to this point, I have faithfully adhered to Martin and
          its understanding of Powell, as I am obligated to do. See
          Miller v. Gammie, 335 F.3d 889, 899–900 (9th Cir. 2003)
          (en banc). But given the importance of the issues at stake,
          and the gravity of Martin’s errors, I think it appropriate to
          conclude by noting my general agreement with many of the
          points made by my colleagues who dissented from our
          failure to rehear Martin en banc.
              In particular, I agree that, by combining dicta in a
          concurring opinion with a dissent, the panel in Martin
          plainly misapplied Marks’ rule that “[w]hen a fragmented
          Court decides a case and no single rationale explaining the
          result enjoys the assent of five Justices, ‘the holding of the
          Court may be viewed as that position taken by those
          Members who concurred in the judgments on the narrowest
          grounds.’” 430 U.S. at 193 (emphasis added) (citation
          omitted). Under a correct application of Marks, the holding
          of Powell is that there is no constitutional obstacle to
          punishing conduct that has not been shown to be involuntary,
          and the converse question of what rule applies when the

          district court noted below, the parties vigorously debated the extent to
          which a “violation” qualifies as a crime under Oregon law. The majority,
          however, sidesteps that issue by instead treating it as irrelevant. The
          majority’s theory is that, even assuming arguendo that violations of the
          anti-camping ordinances are only civil in nature, they are covered by
          Martin because such violations later could lead (after more conduct by
          the defendant) to criminal fines, see Opin. at 44–45. But the majority
          does not follow the logic of its own theory, because it has not limited its
          holding or remedy to the enforcement of the ultimate criminal
          provisions; on the contrary, the majority has enjoined any relevant
          enforcement of the underlying ordinances that contravenes the
          majority’s understanding of Martin. See Opin. at 55.
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          conduct has been shown to be involuntary was left open. See
          Martin, 920 F.3d at 590–93 (M. Smith, J., dissenting from
          denial of rehearing en banc) (explaining that, under a proper
          application of Marks, “‘there is definitely no Supreme Court
          holding’ prohibiting the criminalization of involuntary
          conduct” (citation omitted)).
              Moreover, the correct answer to the question left open in
          Powell was the one provided in Justice Marshall’s plurality
          opinion in that case: there is no federal “constitutional
          doctrine of criminal responsibility.” 392 U.S. at 534. In
          light of the “centuries-long evolution of the collection of
          interlocking and overlapping concepts which the common
          law has utilized to assess the moral accountability of an
          individual for his antisocial deeds,” including the “doctrines
          of actus reus, mens rea, insanity, mistake, justification, and
          duress,” the “process of adjustment” of “the tension between
          the evolving aims of the criminal law and changing religious,
          moral, philosophical, and medical views of the nature of
          man” is a matter that the Constitution leaves within “the
          province of the States” or of Congress. Id. at 535–36.
          “There is simply no indication in the history of the Eighth
          Amendment that the Cruel and Unusual Punishments Clause
          was intended to reach the substantive authority of Congress
          to criminalize acts or status, and certainly not before
          conviction,” and the later incorporation of that clause’s
          protections vis-à-vis the States in the Fourteenth
          Amendment “worked no change in its meaning.” Martin,
          920 F.3d at 602 (Bennett, J., dissenting from denial of
          rehearing en banc); see also id. at 599 (explaining that
          Martin’s novel holding was inconsistent with the “text,
          tradition, and original public meaning[] [of] the Cruel and
          Unusual Punishments Clause of the Eighth Amendment”).
          Consequently, so long as “the accused has committed some
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          act, has engaged in some behavior, which society has an
          interest in preventing, or perhaps in historical common law
          terms, has committed some actus reus,” the Eighth
          Amendment principles applied in Robinson have been
          satisfied. Powell, 392 U.S. at 533 (plurality). The Eighth
          Amendment does not preclude punishing such an act merely
          “because it is, in some sense, ‘involuntary’ or ‘occasioned
          by a compulsion.’” Id.; see also Martin, 920 F.3d at 592 n.3
          (M. Smith, J., dissenting from denial of rehearing en banc)
          (“Powell does not prohibit the criminalization of involuntary
          conduct.”).
              Further, it is hard to deny that Martin has “generate[d]
          dire practical consequences for the hundreds of local
          governments within our jurisdiction, and for the millions of
          people that reside therein.” Id. at 594 (M. Smith, J.,
          dissenting from denial of rehearing en banc). Those harms,
          of course, will be greatly magnified by the egregiously
          flawed reconceptualization and extension of Martin’s
          holding in today’s decision, and by the majority’s equally
          troubling reworking of settled class-action principles. With
          no sense of irony, the majority declares that no such harms
          are demonstrated by the record in this case, even as the
          majority largely endorses an injunction effectively requiring
          Grants Pass to allow the use of its public parks as homeless
          encampments. Other cities in this circuit can be expected to
          suffer a similar fate.
             In view of all of the foregoing, both Martin and today’s
          decision should be overturned or overruled at the earliest
          opportunity, either by this court sitting en banc or by the U.S.
          Supreme Court.
                                 *       *       *
               I respectfully but emphatically dissent.
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          Silver, District Judge, and Gould, Circuit Judge, joint
          statement regarding denial of rehearing:

              The differences of opinion in this case are hard and there
          is basis for good-faith disagreements which are reflected in
          the filings from a variety of judges. The robust defense of
          the panel majority opinion we offer here should not be read
          as any comment on the sincerity of our colleagues’ quarrels
          with our position.
              The statement regarding the denial of rehearing from
          Judge O’Scannlain and the dissent from Judge M. Smith
          significantly exaggerate the holding in Johnson v. Grants
          Pass, 50 F.4th 787 (9th Cir. 2022). Grants Pass, relying on
          Martin v. City of Boise, 920 F.3d 584 (9th Cir. 2019), holds
          only that governments cannot criminalize the act of sleeping
          with the use of rudimentary protections, such as bedding,
          from the elements in some public places when a person has
          nowhere else to sleep. It does not establish an unrestrained
          right for involuntarily homeless persons to sleep anywhere
          they choose. Nor does it require jurisdictions to cede all
          public spaces to involuntarily homeless persons. The argued
          notion that Martin and Grants Pass work together to
          guarantee a “federal constitutional ‘right’ . . . to camp or to
          sleep on sidewalks and in parks, playgrounds, and other
          public places” is completely absent from the opinion. The
          denial of en banc rehearing should not be criticized based on
          rhetorical exaggerations.
              Beyond misdescribing the holding of Grants Pass, Judge
          O’Scannlain extrapolates and proposes that the Ninth Circuit
          ignore 65 years of Supreme Court precedent in favor of his
          preferred approach of looking exclusively to what he
          declares is the “text, history, and tradition” of the Eighth
          Amendment. But inferior courts are not free to embark on
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          such freewheeling adventures when the Supreme Court has
          provided the applicable guidance. Judge M. Smith does not
          join the portion of Judge O’Scannlain’s statement discussing
          this point, but Judge M. Smith engages in a puzzling error
          by attributing in part the homelessness problem throughout
          the Ninth Circuit to Martin and now Grants Pass. The
          homelessness problem predates Martin, and cities outside
          the Ninth Circuit, and outside the United States, are
          experiencing crisis-levels of homelessness. It is implausible
          to argue the crisis would abate if jurisdictions in the Ninth
          Circuit regained the authority to punish involuntarily
          homeless persons for sleeping in public with blankets.
           I. Limited Holding of Grants Pass
              Judge O’Scannlain and Judge M. Smith aim most of their
          fire at the portion of Grants Pass addressing the two
          overlapping “anti-camping” ordinances. Grants Pass holds
          the anti-camping ordinances enacted by the City of Grants
          Pass violate the Eighth Amendment but only to the extent
          they criminalize sleeping with rudimentary forms of
          protection from the elements (i.e., bedding or sleeping bags)
          by those persons without access to any other shelter (i.e.,
          persons who are “involuntarily homeless”). Grants Pass
          does not expressly preface every reference to “homeless
          persons” with the adjective “involuntarily.” However, in
          clear reliance on Martin, the opinion is strictly limited to
          enforcement of the ordinances against “involuntarily”
          homeless persons. Like Martin, Grants Pass holds only that
          “it is ‘unconstitutional to [punish] simply sleeping
          somewhere in public if one has nowhere else to do so.’” Id.
          (quoting Martin, 920 F.3d at 590 (Berzon, J., concurring in
          denial of rehearing en banc)).
               The holding in Grants Pass is not that involuntarily
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          homeless persons in the City of Grants Pass and elsewhere
          in the Ninth Circuit are allowed to sleep wherever and
          whenever they wish. When there is space available in
          shelters, jurisdictions are free to enforce prohibitions on
          sleeping anywhere in public. And emphatically, when an
          involuntarily homeless person refuses a specific offer of
          shelter elsewhere, that individual may be punished for
          sleeping in public. When there is no shelter space,
          jurisdictions may still enforce limitations on sleeping at
          certain locations. The assertion that jurisdictions must now
          allow involuntarily homeless persons to camp or sleep on
          every sidewalk and in every playground is plainly wrong.
          Jurisdictions remain free to address the complex policy
          issues regarding homelessness in the way those jurisdictions
          deem fit, subject to the single restriction that involuntarily
          homeless persons must have “somewhere” to sleep and take
          rudimentary precautions (bedding) against the elements. Id.
          (quoting Martin, 920 F.3d at 590 (Berzon, J., concurring in
          denial of rehearing en banc)).
              Judge M. Smith misinterpreted a statement in the
          original majority opinion that he believed mandated “a crude
          jurisdiction-wide inquiry” dictating a local “government
          cannot prosecute homeless people for sleeping in public if
          there is a greater number of homeless individuals in a
          jurisdiction than the number of available shelter spaces.”
          Judge M. Smith’s understanding of the original statement
          was incorrect. To avoid any possibility of confusion, the
          majority has now removed the statement Judge M. Smith
          found confounding. But Judge M. Smith is still not satisfied.
          He complains the change did not result in any “downstream
          changes” to the majority’s analysis. But Judge M. Smith
          fails to acknowledge the undisputed facts established that in
          the City of Grants Pass, there were zero shelter beds
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          available on almost every night of the year. Given that, there
          was no need to change the remaining analysis.
              As clearly explained in the majority opinion, the only
          secular shelter beds in the City of Grants Pass (other than
          beds for intoxicated adults) were located at a “warming
          center” that operated on especially cold nights. The
          warming center could hold 40 individuals and was open 16
          nights during the winter of 2020 and zero nights during the
          winter of 2021. Thus, on 95% of the nights in 2020 and
          100% of the nights in 2021, the City of Grants Pass had zero
          secular shelter beds for non-intoxicated adults. Given that
          reality, there was no need to make “downstream changes” to
          the analysis based on the availability of shelter beds in the
          City of Grants Pass. When a jurisdiction has zero shelter
          beds even theoretically available, it does not require
          significant analysis to conclude the jurisdiction is barred
          from prosecuting the involuntarily homeless persons in that
          jurisdiction.
              Judge M. Smith’s refusal to acknowledge the lack of
          shelter space in the City of Grants Pass reveals his actual
          complaint in this area is the perceived failure to strictly
          police who will qualify as involuntarily homeless.
          According to Judge M. Smith, it was inappropriate to find
          that zero shelter beds, combined with “conclusory
          allegations of involuntariness,” were enough to conclude
          there were involuntarily homeless persons in the
          jurisdiction. The “conclusory allegations” Judge M. Smith
          faults are expressly found in a declaration submitted by
          Gloria Johnson where she stated, in relevant part, “I have no
          choice but to live outside and have no place else to go,” and
          “I continue to live without shelter in Grants Pass.” It bears
          repeating this case was resolved on summary judgment. The
          City of Grants Pass did not present any evidence to the
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          district court, nor did it argue on appeal, that Gloria
          Johnson’s declaration was inaccurate. In fact, it is
          undisputed there are at least fifty involuntarily homeless
          persons in the City of Grants Pass, as stated in the testimony
          of a City of Grants Pass police officer. Describing
          unequivocal and undisputed statements submitted at the
          summary judgment stage as mere “conclusory allegations”
          is incorrect.
              Judge M. Smith worries the amended opinion might still
          prohibit any enforcement actions against individuals with
          access to shelter. But the opinion repeatedly notes it only
          addresses enforcement attempts against “involuntarily
          homeless persons.” Grants Pass goes to great lengths to
          make this clear. Grants Pass states individuals qualify as
          “involuntarily homeless” only if they “do not have access to
          adequate temporary shelter, whether because they have the
          means to pay for it or because it is realistically available to
          them for free.” Id. at 793 n.2 (internal quotation marks and
          citation omitted). To remove any doubt, Grants Pass
          stresses “[i]ndividuals who have shelter or the means to
          acquire their own shelter simply are never class members,”
          meaning such individuals are not “involuntarily homeless.”
          Id. at 805. And to further illuminate the point, Grants Pass
          states “To be clear: A person with access to temporary
          shelter is not involuntarily homeless unless and until they no
          longer have access to shelter.” Id. at 805 n.24. Judge M.
          Smith’s assertion that Grants Pass might prohibit
          enforcement against persons “no matter their personal
          situations” is wrong.
              When an individual has access to a shelter, such as
          through a “city’s offer of temporary housing,” that person is
          not “involuntarily homeless” and anti-camping ordinances
          may be enforced against that person. Similarly, if a
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          jurisdiction always has shelter beds or other locations
          available, that jurisdiction is free to enforce its anti-camping
          ordinances on all other public areas.
              Judge M. Smith also claims that after Grants Pass local
          authorities are “powerless to cite” individuals “even for
          public defecation.” 1 Neither Martin nor Grants Pass
          involved particular ordinances precluding public urination
          and defecation and the assertion that Martin and Grants Pass
          resolved the constitutionality of ordinances addressing
          public urination and defecation is mistaken. 2


          1
            Judge M. Smith’s sole support for this interpretation is an unpublished
          decision by the Eastern District of California. Mahoney v. City of
          Sacramento, No. 2:20-cv-00258-KJM, 2020 WL 616302 (E.D. Cal. Feb.
          10, 2020). That case involved the removal of portable toilets from public
          property that had been placed there by private citizens for homeless
          individuals to use. The plaintiffs alleged many different constitutional
          claims, including that the removal of the toilets would violate their
          Eighth Amendment rights. On that point, the City of Sacramento stated
          “neither the benefactors of the toilets nor the users of the toilets have, or
          will be, criminally prosecuted.” In denying a request for a temporary
          restraining order, the court stated “Extending Martin to these facts, the
          City may not prosecute or otherwise penalize the plaintiffs . . . for
          eliminating in public if there is no alternative to doing so.” Id. The court
          continued, arguably based on the city’s representations regarding non-
          prosecution, that “no irreparable injury to plaintiffs’ Eighth Amendment
          rights is likely.” Id. Because the plaintiffs voluntarily dismissed their
          claim nine days after the court’s order, the court did not provide a more
          complete Eighth Amendment analysis based on Martin. A brief
          statement made in the context of resolving an emergency motion is not
          a solid foundation for Judge M. Smith’s assertion that after Grants Pass
          local authorities are now “powerless to cite” individuals for public
          defecation.
          2
            The focus of Martin and Grants Pass was sleep. Sleep is not a
          voluntary act but an “identifiable human need[].” Rico v. Ducart, 980
          F.3d 1292, 1298 (9th Cir. 2020). “[S]leep is critical to human existence.”
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              As another panel recently noted, it is unwise “to
          adjudicate slippery-slope hypotheticals.” Mayes v. Biden,
          No. 22-15518, 2023 WL 2997037, at *17 (9th Cir. Apr. 19,
          2023). And Judge O’Scannlain noted almost twenty years
          ago, “[i]n our system of government, courts base decisions
          not on dramatic Hollywood fantasies . . . but on concretely
          particularized facts developed in the cauldron of the
          adversary process and reduced to an assessable record.”
          United States v. Kincade, 379 F.3d 813, 838 (9th Cir. 2004)
          (en banc). Because there was no challenge to any public
          urination or defecation ordinances in Grants Pass, the
          parties did not develop a record regarding those issues such
          that neither the district court nor Ninth Circuit had a basis to
          address them. Judge M. Smith’s assertion that Grants Pass
          prohibits citations “even for public defecation” is wrong.
            II. Class Certification was Proper
              Connected to the purported “jurisdiction-wide analysis,”
          Judge M. Smith argues, as did the dissent by Judge Collins,
          that Grants Pass erred in affirming certification of the class.


          Walker v. Schult, 717 F.3d 119, 126 (2d Cir. 2013). See also Wilkins
          Kaplan & Sadock’s Comprehensive Textbook of Psychiatry, 10th Ed.
          CH23 (“Sleep is a process required for proper brain function. Failure to
          sleep impairs thought processes, mood regulation, and a host of normal
          physiological functions.”). The lack of sleep may play a role in the
          development of dementia. See Nedergaard and Goldman, Glymphatic
          failure as a final common pathway to dementia, available at
          https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8186542/. And long-
          term sleep deprivation has been shown to be lethal in some animals. See
          Why Severe Sleep Deprivation Can be Lethal, available at
          https://brain.harvard.edu/hbi_news/why-severe-sleep-deprivation-can-
          be-
          lethal/#:~:text=We%20found%20high%20levels%20of,can%20eventua
          lly%20trigger%20cell%20death.
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          According to Judge M. Smith, the opinion “wholly
          collaps[es] the merits into the class definition” which
          resulted in an “impermissible fail safe class.” The Grants
          Pass opinion explains why that conclusion is wrong. 50
          F.4th at 805 n.23. In brief, the population of the class of
          “involuntarily homeless” individuals does not change based
          on whether the class wins or loses. There has never been a
          possibility that a “class member either wins or, by virtue of
          losing, is defined out of the class.” Olean Wholesale
          Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th
          651, 669 n.14 (9th Cir. 2022) (quotation marks and citation
          omitted).
              Judge M. Smith, as did Judge Collins, also believes the
          class should not have been certified due to a “lack of
          commonality.”       Judge M. Smith’s view is that
          “commonality” was lacking because determining class
          membership requires an individualized assessment of each
          potential class member’s access to shelter. This is an
          incorrect understanding of Federal Rule of Civil Procedure
          23’s “commonality” requirement.
               To satisfy Rule 23’s “commonality” requirement there
          must be a “common contention” such “that determination of
          its truth or falsity will resolve an issue that is central to the
          validity of each one of the claims in one stroke.” Wal-Mart
          Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). In Grants
          Pass, the “common contention” was the assertion that the
          City’s anti-camping ordinances violated the Eighth
          Amendment as applied to the class. That contention could
          be resolved in “one stroke,” meaning the “commonality”
          requirement was met. Dukes, 564 U.S. at 350.
             While not entirely clear, Judge M. Smith might be
          arguing “commonality” does not exist when a court is unable
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          to immediately and easily identify each and every class
          member. But there has never been such a requirement. See
          In re Google Inc. St. View Elec. Commc’ns Litig., 21 F.4th
          1102, 1115 (9th Cir. 2021) (affirming class settlement
          despite it being “not feasible” to identify class members).
          Alternatively, Judge M. Smith might be arguing
          “commonality” does not exist when some effort will be
          required to identify class members. But it is entirely routine
          for class actions to require individualized determinations to
          identify class members.
              For example, a recent Ninth Circuit opinion involved a
          class defined as “All individuals who have worked as
          California-based flight attendants of Virgin America, Inc.
          while residing in California at any time during the Class
          Period.” Bernstein v. Virgin Am., Inc., 3 F.4th 1127, 1134
          (9th Cir. 2021). Identifying members of that class
          necessarily required individualized determinations to
          identify whether an individual had worked as a flight
          attendant for Virgin America and where the individual had
          lived throughout the multi-year class period. Judge M.
          Smith’s view that “commonality” is not present whenever
          class members can only be identified after an individualized
          inquiry would preclude certification of most classes.
            III. Eighth Amendment Doctrine
              Judge O’Scannlain laments “Grants Pass never
          meaningfully engaged the text, history, and tradition of the
          Constitution.” For the most part, that criticism is misplaced
          as the Grants Pass majority was bound to follow Martin.
          More importantly, however, the present record does not
          contain sufficient facts to conduct the analysis Judge
          O’Scannlain wishes to perform, presumably because the
          parties were aware Judge O’Scannlain’s preferred method of
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          analysis is foreclosed by long established precedent.
              The historical inquiry regarding the meaning of
          constitutional terms may require looking as far back as the
          13th Century. See Dobbs v. Jackson Women’s Health Org.,
          142 S. Ct. 2228, 2249 (2022) (discussing cases from 13th
          century). The parties in Grants Pass did not gather and
          present evidence regarding centuries of history to illuminate
          the complete “text, history, and tradition” of the Eighth
          Amendment. If, as Judge O’Scannlain believes, courts must
          assess the Eighth Amendment exclusively under a “text,
          history, and tradition” approach, the parties must be given
          the opportunity to present relevant historical evidence. See
          United States v. Sineneng-Smith, 140 S. Ct. 1575, 1579
          (2020) (noting courts should follow “party presentation
          principle”). That may require the parties retain experts. See,
          e.g., Miller v. Smith, No. 22-1482, 2023 WL 334788, at *1
          (7th Cir. Jan. 20, 2023) (remanding for district court to
          solicit additional expert reports regarding “text, history, and
          tradition framework” in Second Amendment case).
              Notably, Judge O’Scannlain is not arguing Grants Pass
          should be remanded for a proper inquiry under his proposed
          “text, history, and tradition” test. Rather, he professes he has
          conducted the relevant inquiry on his own and definitively
          established the correct interpretation of centuries of history.
          Our adversarial system takes a dim view of appellate courts
          embarking on their own fact-finding missions. Alpha
          Distrib. Co. of California v. Jack Daniel Distillery, 454 F.2d
          442, 453 (9th Cir. 1972) (“The appellate court is not the trier
          of facts and does not ordinarily make findings of fact.”).
          And that is especially true when the inquiry has not been
          briefed by the parties. Sineneng-Smith, 140 S. Ct. at 1579
          (2020). Ultimately, however, Judge O’Scannlain’s favored
          constitutional analysis is beside the point. The Supreme
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          Court has made clear “text, history, and tradition” is not the
          correct method when assessing Eighth Amendment claims.
              According to the Supreme Court, the proper
          interpretation of the Eighth Amendment does not turn
          exclusively on standards from hundreds of years ago. In a
          plurality opinion in 1958, the Supreme Court explained the
          Eighth Amendment “must draw its meaning from the
          evolving standards of decency that mark the progress of a
          maturing society.” Trop v. Dulles, 356 U.S. 86, 101 (1958)
          (plurality opinion). More recently, the Supreme Court stated
          a proper Eighth Amendment analysis “is determined not by
          the standards that prevailed when the Eighth Amendment
          was adopted in 1791 but by the norms that ‘currently
          prevail.’” Kennedy v. Louisiana, 554 U.S. 407, 419 (2008)
          (citation omitted). And “courts must look beyond historical
          conceptions” when assessing Eighth Amendment
          challenges. Graham v. Florida., 560 U.S. 48, 58 (2010).
              Given this guidance, lamenting Grants Pass did not
          delve into the Eighth Amendment’s “text, history, and
          tradition” is a complaint that the majority in Grants Pass
          followed the Supreme Court’s settled guidance. Contrary to
          Judge O’Scannlain, the majority in Grants Pass was not free
          to ignore the Supreme Court, embark on its own fact-finding
          mission, and conclude the correct interpretation of the
          Eighth Amendment is the one Judge O’Scannlain likes.
          Instead, the majority chose the more modest approach of
          applying existing Supreme Court and Ninth Circuit authority
          to the record presented by the parties. 3

          3
           Judge Graber agrees with the “underlying legal premise” that the Eighth
          Amendment prohibits criminal prosecution of involuntarily homeless
          persons. But she believes Grants Pass “unjustifiably expands the reach
          of the Eighth Amendment” by prohibiting “civil remedies that could, in
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              IV. Application of Marks Doctrine
              Both Judge O’Scannlain and Judge M. Smith take issue
          with the Marks v. United States, 430 U.S. 188 (1977),
          analysis in Martin and Grants Pass. According to them, the
          proper application of the Marks doctrine is obvious and
          should have prevented the result in Martin and Grants Pass.
          It is not clear if the Marks analyses conducted by Judge
          O’Scannlain and Judge M. Smith reach the same
          conclusion. 4 Moreover, neither Judge O’Scannlain nor
          Judge M. Smith cite the en banc majority opinion from the
          Fourth Circuit that conducts the Marks analysis on the
          relevant Supreme Court authorities and reaches the “same
          conclusion” as that reached in Martin. Manning v. Caldwell
          for City of Roanoke, 930 F.3d 264, 283 n.17 (4th Cir. 2019)
          (en banc). Thus, Judge O’Scannlain and Judge M. Smith
          show overconfidence that their application of the Marks
          doctrine is correct. In the end, however, an exhaustive


          theory, lead to [criminal] prosecution.” But all parties in Grants Pass
          agreed the civil violations were used as the first step in the eventual
          pursuit of criminal charges. This is not a case where the jurisdiction has
          disavowed pursuing criminal charges.
          4
            Judge O’Scannlain describes Justice White’s concurrence in Powell v.
          Texas, 392 U.S. 514 (1968), as “the dispositive fifth vote.” But Judge
          O’Scannlain also relies heavily, without explanation, on statements
          made by the non-binding plurality in Powell. As for Judge M. Smith, he
          argues Powell produced “no single rationale and only its specific result
          is binding.” But Judge M. Smith then faults the Martin and Grants Pass
          majorities for not addressing arguments made by the non-binding
          plurality in Powell. Judge M. Smith seems to believe proper application
          of the Marks doctrine means only the result in Powell is binding, but
          lower courts have an affirmative obligation to address points made by
          the Powell plurality. Judge M. Smith does not cite any authority for his
          idiosyncratic view of how the Marks doctrine operates.
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          Marks analysis is not necessary.
              Everyone agrees Robinson v. California, 370 U.S. 660
          (1962) is the binding Supreme Court precedent. It is vital
          that every justice in Powell v. State of Texas, 392 U.S. 514
          (1968), fully embraced the holding in Robinson that a status
          cannot be prosecuted. In Robinson, the Supreme Court
          concluded it violated the Eighth Amendment for California
          to criminalize the status of being “addicted to the use of
          narcotics.” In doing so, the Supreme Court also noted it
          would violate the Eighth Amendment for a state to make it a
          criminal offense to be “mentally ill, or a leper, or to be
          afflicted with a venereal disease.” Robinson, 370 U.S. at
          666. And “[e]ven one day in prison would be a cruel and
          unusual punishment for the ‘crime’ of having a common
          cold.” Id. at 667. Judge O’Scannlain and Judge M. Smith
          interpret Robinson as establishing a conclusive line between
          constitutionally barred “status crimes” and constitutionally
          permitted “conduct crimes.” But such a definitive line
          requires Robinson be read rigidly, such that a jurisdiction
          could avoid Robinson by tying “statuses” to inescapable
          human activities.
               For example, under a strict “status-conduct” distinction,
          the California statute at issue in Robinson could have been
          cured by tying the addiction status to sleeping. Under such
          logic, it would have been constitutional for California to
          make it a criminal offense for a person “addicted to the use
          of narcotics” to fall asleep. Id. at 660. Similarly, it now
          would be constitutional for a jurisdiction to criminalize
          falling asleep while being “mentally ill, or a leper, or []
          afflicted with a venereal disease.” Id. at 666. Reading
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          Robinson as allowing such simple evasion is absurd. 5
               Regardless of the Marks analysis, Robinson limits the
          reach of criminal law. Or, as the Supreme Court declared
          fifteen years after Robinson, the Eighth Amendment
          “imposes substantive limits on what can be made criminal
          and punished as such.” Ingraham v. Wright, 430 U.S. 651,
          667 (1977). Martin and Grants Pass recognize those
          substantive limits reach the exceptionally narrow situation
          of prohibiting punishment when involuntarily homeless
          persons engage in the life-sustaining act of sleeping in
          public. Criminalizing the act of sleeping in public when an
          individual has nowhere else to sleep is, in effect,
          criminalizing the underlying status of being homeless.
              V. Non-Existent Circuit Split
              Judge O’Scannlain greatly overstates the extent to which
          Martin and Grants Pass fall on one side of an existing circuit
          split. According to Judge O’Scannlain, no “federal circuit
          or state supreme court . . . has ever embraced Grants Pass’s
          sweeping holding” regarding the Eighth Amendment. Judge
          O’Scannlain then cites opinions from the Eleventh and Fifth
          Circuits, but neither of those opinions hold what Judge
          O’Scannlain claims. In fact, no circuit court has reached the
          merits of a challenge to public camping or sleeping

          5
            Even the dissent in the Fourth Circuit opinion Judge O’Scannlain cites
          with approval understood the logic of Robinson points away from a rigid
          interpretation. Manning v. Caldwell for City of Roanoke, 930 F.3d 264,
          290 (4th Cir. 2019) (Wilkinson, J., dissenting). That dissent noted “[i]n
          the rare case where the Eighth Amendment was found to invalidate a
          criminal law, the law in question sought to punish persons merely for
          their need to eat or sleep, which are essential bodily functions. This is
          simply a variation of Robinson’s command that the state identify conduct
          in crafting its laws, rather than punish a person’s mere existence.” Id.
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          restrictions when no shelter space was available and
          concluded such restrictions were lawful. Judge O’Scannlain
          also points to a state supreme court opinion but that opinion
          explicitly does not decide the question presented in Martin
          and Grants Pass.
              First, in Joel v. City of Orlando, 232 F.3d 1353 (11th Cir.
          2000), the Eleventh Circuit addressed a challenge to an anti-
          camping ordinance. The entire Eighth Amendment analysis
          in that case was premised on the fact the City of Orlando
          “presented unrefuted evidence that . . . a large homeless
          shelter . . . never reached its maximum capacity and that no
          individual has been turned away because there was no space
          available or for failure to pay the one dollar nightly fee.” Id.
          at 1362. Thus, the Eleventh Circuit concluded the anti-
          sleeping ordinance did “not criminalize involuntary
          behavior” because the plaintiff could “comply with the [anti-
          sleeping] ordinance” by sleeping in the shelter. Id. There is
          no suggestion the result would have been the same if there
          were no shelter space available.
              Judge O’Scannlain claims the availability of shelter
          space is not a “compelling response” in terms of
          distinguishing the result in Joel from that in Martin and
          Grants Pass. But the central holding in Martin and Grants
          Pass is that the Eighth Amendment analysis turns on
          whether there are shelter beds or other locations where an
          involuntarily homeless person can lawfully sleep. It would
          be hard to imagine a more “compelling” way to distinguish
          Joel than pointing out Joel did not involve involuntary
          conduct because shelter space was always available.
             Judge O’Scannlain also cites Johnson v. City of Dallas,
          Tex., 61 F.3d 442 (5th Cir. 1995), where the Fifth Circuit
          concluded the plaintiffs lacked standing to challenge an anti-
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          sleeping ordinance because they had not been prosecuted.
          The district court had conducted an extensive overview of
          the Supreme Court cases and concluded the challenged anti-
          sleeping ordinance impermissibly “punishe[d] the homeless
          for their status as homeless.” Johnson v. City of Dallas, 860
          F. Supp. 344, 350 (N.D. Tex. 1994). Instead of rejecting or
          even addressing such reasoning, the Fifth Circuit concluded
          no individual had standing to seek pre-enforcement review
          of a criminal statute. It is not clear whether Judge
          O’Scannlain agrees with this standing analysis and there is
          significant reason to doubt it is correct. See, e.g., Holder v.
          Humanitarian L. Project, 561 U.S. 1, 15 (2010) (allowing
          “preenforcement review of a criminal statute”). But at the
          very least, it is misleading to describe the Fifth Circuit’s
          rejection based on standing as establishing any position on
          the merits of the Eighth Amendment issue. 6


          6
            Judge O’Scannlain also professes to find conflicting decisions from the
          First and Seventh Circuits. In the First Circuit case, the defendant argued
          “because his drug addiction is a disease, sentencing him to a term of
          imprisonment for manifesting a condition of his disease constitutes cruel
          and unusual punishment in violation of the Eighth Amendment.” United
          States v. Sirois, 898 F.3d 134, 135 (1st Cir. 2018). The First Circuit
          rejected this argument, primarily because the standard of review was
          “clear error” based on the defendant’s failure to raise the argument in the
          district court. Thus, the First Circuit held only that existing caselaw did
          not make it “clear or obvious” that “the Eighth Amendment proscribes
          criminal punishment for conduct that results from narcotic addiction.”
          Id. at 138. Concluding existing caselaw did not make the issue “clear or
          obvious” is not the same as reaching the merits of the issue. As for the
          Seventh Circuit opinion, it is unpublished and is based on an obvious
          error. The opinion discusses a defendant who, allegedly due to his
          alcoholism, “failed to attend treatment programs, used cocaine, and
          abused alcohol so excessively that it led to his arrest for public
          intoxication.” United States v. Stenson, 475 Fed. App’x 630, 631 (7th
          Cir. 2012). The Seventh Circuit concluded the defendant could be
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              Judge O’Scannlain also cites Tobe v. City of Santa Ana,
          892 P.2d 1145 (1995) from the California Supreme Court.
          That case involved a facial challenge to an anti-camping
          ordinance. Id. at 1154. The California Supreme Court
          explicitly noted, however, it was not resolving whether an
          “involuntarily homeless person who involuntarily camps on
          public property may be convicted or punished under the
          ordinance.” Id. at 1166 n.19. Claiming Tobe is contrary to
          Grants Pass requires ignoring the language of Tobe.
              Finally, Judge O’Scannlain does not disclose that
          reaching his preferred result would create a circuit split with
          the Fourth Circuit. In Manning v. Caldwell for City of
          Roanoke, 930 F.3d 264, 268 (4th Cir. 2019) (en banc), the
          en banc Fourth Circuit addressed Virginia’s statutory
          scheme that made it a criminal offense for individuals
          identified as “habitual drunkards” to possess or attempt to
          possess alcohol. The Fourth Circuit concluded this scheme
          might violate the Eighth Amendment’s Cruel and Unusual
          Punishments clause because it targeted “conduct that is both
          compelled by [the plaintiffs’] illness and is otherwise lawful
          for all those of legal drinking age.” Id. at 281. In reaching
          that conclusion, the Fourth Circuit unequivocally adopted
          the same view of the Supreme Court cases regarding status
          crimes as that adopted in Martin. 930 F.3d at 282 n.17.
              Judge O’Scannlain acknowledges that Manning holds
          “involuntary conduct may be exempt” from prosecution.

          punished for those acts because he was not being “punished for his status
          as an alcoholic but for his conduct.” Id. However, as noted by the Fourth
          Circuit, the Seventh Circuit “erroneously treated the plurality opinion in
          Powell as the holding of the Court.” Manning v. Caldwell for City of
          Roanoke, 930 F.3d 264, 283 n.17 (4th Cir. 2019). Therefore, Stenson is
          of little value.
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          But he argues Manning “limited its holding to laws that
          singled individuals out for special punishment for otherwise
          lawful conduct that is compelled by their illness.” Judge
          O’Scannlain apparently believes the ordinances addressed in
          Grants Pass do not “single out” individuals in a similar
          manner. Judge O’Scannlain is wrong. The ordinances
          addressed in Grants Pass target the involuntarily homeless
          the same way the scheme in Manning targeted alcoholics.
              Under the ordinances addressed in Grants Pass, it would
          be lawful for an individual with access to shelter to wrap
          himself in a blanket in a public park because the individual
          was not using the blanket “for the purpose of maintaining a
          temporary place to live.” 50 F.4th at 793. However, the
          same conduct could lead to criminal prosecution of an
          involuntarily homeless person because, with no other place
          to live, the person would be using the blanket for purposes
          of maintaining a place to live. In brief, blanket use in a
          public park is criminal if you are homeless and “lawful
          conduct” if you are not. As with the ordinances in Manning
          regarding alcoholics, the ordinances addressed in Grants
          Pass single out the involuntarily homeless for
          criminalization of otherwise lawful conduct.
              Judge O’Scannlain’s purported “deep and varied
          intercircuit split over how to read the Eighth Amendment” is
          an illusion. The Ninth Circuit is the sole circuit to have
          addressed, on the merits, a challenge to the criminalization
          of sleeping in public by involuntarily homeless persons. The
          Ninth Circuit’s current approach is faithful to Supreme Court
          precedent and consistent with the Fourth Circuit’s approach
          to a similar issue. Thus, Judge O’Scannlain’s desire to hear
          Grants Pass en banc is so that a circuit split with the Fourth
          Circuit can be created, not that an existing circuit split can
          be resolved.
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            VI. Evidence Not in the Record
              Judge M. Smith cites a wide variety of extra-record
          evidence establishing homelessness is a serious issue
          “caused by a complex mix of economic, mental-health, and
          substance-abuse factors.” Everyone agrees. Judge M. Smith
          then states, “local governments have taken a variety of steps
          intended to ameliorate the crisis . . . but most of these
          attempts to mitigate the challenging issues of homelessness
          have been wholly or partially frustrated by an alleged
          constitutional right conjured by a panel of our court.” This
          appears to say that, but for Martin and now Grants Pass,
          local governments would be able to pursue policies that
          would reduce the homeless population. In other words,
          Judge M. Smith believes Martin and Grants Pass are
          somewhat responsible for the size of the homeless
          population. That is not sensible.
              Judge M. Smith points out the City of Los Angeles has
          roughly 70,000 homeless persons. Judge M. Smith seems to
          believe at least some of those 70,000 persons, and more
          throughout the Ninth Circuit, remain homeless because of
          the very limited protection offered by Martin. Thus, it
          follows that if Martin were overruled and criminal penalties
          were again possible, at least some of those 70,000 persons in
          Los Angeles would obtain housing. Judge M. Smith does
          not cite any authority that shows the possibility of criminal
          penalties would have this effect. Available evidence points
          away from such a conclusion. See, e.g., Donald Saelinger,
          Nowhere to Go: The Impacts of City Ordinances
          Criminalizing Homelessness, 13 Geo. J. on Poverty L. &
          Pol'y 545, 559 (2006) (“[C]riminalization laws make it much
          more difficult for the homeless to gain social and economic
          mobility, and thus the laws have the result of extending the
          period of time that one is homeless.”).
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              Judge M. Smith’s extra-record evidence is carefully
          limited to support his causal theory. But if extra-record
          evidence should be considered, other jurisdictions show
          Martin is not the problem. New York City is experiencing a
          crisis in the increase of the involuntarily homeless
          population. As of February 2023, New York City had more
          than 77,000 homeless persons, “by far the most ever
          recorded and an increase of over 70 percent since May.”
          Emma G. Fitzsimmons and Andy Newman, New York City
          Commissioner Of Social Services Resigns, The New York
          Times (Feb. 8, 2023). New York City is not in the Ninth
          Circuit and it seems unlikely the holding in Martin is causing
          a surge in the homeless population across the country. Thus,
          Martin is not, as alleged, the driver of the homelessness
          problem.
            VII. Conclusion
              The Eighth Amendment “imposes substantive limits on
          what can be made criminal and punished as such.”
          Ingraham v. Wright, 430 U.S. 651, 667 (1977). Those
          substantive limits are implicated only in rare circumstances.
          One such circumstance is when a jurisdiction attempts to
          punish as a criminal offense the life-sustaining act of
          sleeping in public with bedding when a person has nowhere
          else to go. Because Grants Pass and Martin provide
          exceptionally limited protection, and are consistent with
          Supreme Court precedent, the decision not to rehear Grants
          Pass en banc is correct. 7

          7
            The city ordinances addressed in Grants Pass will be superseded, to
          some extent, on July 1, 2023, when a new Oregon state law takes effect.
          The new state law requires “[a]ny city or county law that regulates the
          acts of sitting, lying, sleeping or keeping warm and dry outdoors on
          public property that is open to the public must be objectively reasonable
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          O’SCANNLAIN, Circuit Judge, 1 with whom Judges
          WALLACE, CALLAHAN, BEA, IKUTA, BENNETT, R.
          NELSON, BADE, COLLINS, LEE, BRESS, FORREST,
          BUMATAY, and VANDYKE join, and with whom Judge
          M. SMITH joins as to all parts except Part II-A, respecting
          the denial of rehearing en banc:

              With this decision, our Circuit’s jurisprudence now
          effectively guarantees a personal federal constitutional
          ‘right’ for individuals to camp or to sleep on sidewalks and
          in parks, playgrounds, and other public places in defiance of
          traditional health, safety, and welfare laws—a dubious
          holding premised on a fanciful interpretation of the Eighth
          Amendment. We are the first and only federal circuit to have
          divined such a strange and sweeping mandate from the Cruel
          and Unusual Punishments Clause. Our jurisprudence in this
          case is egregiously flawed and deeply damaging—at war
          with constitutional text, history, and tradition, and Supreme
          Court precedent. And it conflicts with other circuits on a
          question of exceptional importance—paralyzing local

          as to time, place and manner with regards to persons experiencing
          homelessness.” Or. Rev. Stat. Ann. § 195.530(2). The statute specifies
          that “[k]eeping warm and dry means using measures necessary for an
          individual to survive outdoors given the environmental conditions” but
          it “does not include any measure that involves fire or flame.” Or. Rev.
          Stat. Ann. § 195.530(1)(b)(B). This change in state law is yet another
          reason why it was wise to not rehear Grants Pass.
          1
            As a judge of this court in senior status, I no longer have the power to
          vote on calls for rehearing cases en banc or formally to join a dissent
          from failure to rehear en banc. See 28 U.S.C. § 46(c); Fed. R. App. P.
          35(a). Following our court’s general orders, however, I may participate
          in discussions of en banc proceedings. See Ninth Circuit General Order
          5.5(a).
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          communities from addressing the pressing issue of
          homelessness, and seizing policymaking authority that our
          federal system of government leaves to the democratic
          process. We should have reheard this case en banc to
          reconsider our unfortunate constitutional mistake.
                                        I
              Instead of respecting constitutional “text, history, and
          precedent,” Dobbs v. Jackson Women’s Health Org., 142 S.
          Ct. 2228, 2271 (2022), our Eighth Amendment
          jurisprudence here has disrupted the “paramount role of the
          States in setting ‘standards of criminal responsibility,’”
          Kahler v. Kansas, 140 S. Ct. 1021, 1028 (2020) (quoting
          Powell v. Texas, 392 U.S. 514, 533 (1968) (plurality)). In
          my view, our cases do not inspire confidence that we have
          faithfully followed the Cruel and Unusual Punishments
          Clause—and it is worth explaining how we got here before
          considering why we should have reheard Grants Pass en
          banc to fix our constitutional mistakes. See Martin v. City of
          Boise, 920 F.3d 584, 603 (9th Cir. 2019) (inventing the
          doctrine); Johnson v. City of Grants Pass, 50 F.4th 787 (9th
          Cir. 2022) (expanding the doctrine).
                                        A
              Our untenable jurisprudence here started in Boise—
          where a three-judge panel first invented a federal
          constitutional ‘right’ (rooted in the Eighth Amendment, of
          all places!) to sleep on public property. In Boise, six
          homeless individuals alleged that the City of Boise, Idaho,
          had violated their constitutional rights by enforcing
          municipal ordinances that prohibited unauthorized sleeping
          on sidewalks and in parks, plazas, and other public places.
          Even though the Eighth Amendment, on its own terms, only
          prohibits “cruel and unusual punishments,” U.S. Const.
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          amend. VIII, the Boise panel went where no federal circuit
          had gone before—holding that the Eighth Amendment
          prohibited a local government from “prosecuting people
          criminally” for the “involuntary act” of “sleeping outside on
          public property [including sidewalks] when those people
          have no home or other shelter to go to.” Boise, 920 F.3d at
          603, 613, 616 (cleaned up).
               In doing so, the Boise panel made no effort to ground its
          decision in the text, history, or tradition of the Eighth
          Amendment. Instead—after failing to identify a single
          Supreme Court precedent blessing its approach—the Boise
          panel attempted to fashion its preferred constitutional rule by
          stitching together dicta in a lone concurrence with a dissent.
          Id. at 616 (holding that these separate, unprevailing writings
          in Powell “compel[led]” Boise’s result). While we declined
          to rehear Boise en banc, see id. at 590-99 (M. Smith, J.,
          dissental) (explaining Boise’s misconstruction of Supreme
          Court precedent); id. at 599-603 (Bennett, J., dissental)
          (articulating Boise’s inconsistency with the Eighth
          Amendment), our mistake in Boise has (fortunately) not
          been replicated in other circuits—and, as I have already
          stated, we remain the only federal court of appeals to have
          recognized an individual constitutional ‘right’ to sleep or to
          camp on sidewalks and other public property.
                                        B
              Unfortunately, the problems created by Boise have now
          been visited upon the City of Grants Pass by the panel
          majority here, which has expanded Boise’s faulty holding to
          affirm an injunction effectively requiring the City to resign
          all but one of its public parks to be used as homeless
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          encampments. See Grants Pass, 50 F.4th at 792-93, 813. 2
          In this case, several individuals sought to represent a putative
          class of all involuntarily homeless people living in Grants
          Pass, seeking a permanent injunction barring the
          enforcement of municipal ordinances that prohibited
          unauthorized sleeping or camping in public spaces. Id. at
          792-94 (explaining that violating the challenged public-
          sleeping, public-camping, and park-exclusion ordinances
          could result in civil citations and fines, that repeat violators
          could be excluded from specified City property, and that
          violating an exclusion order could subject a violator to
          criminal trespass prosecution). The district court sided with
          the challengers—and it certified a class consisting of “[a]ll
          involuntarily homeless individuals living in Grants Pass,”
          and held that the City’s enforcement of the public-sleeping
          and public-camping ordinances violated the Eighth
          Amendment. Id. at 795-97.
                                                1
                A divided panel of our Court affirmed in all “material

          2
           The cities of Boise and Grants Pass are, regrettably, not the only victims
          of our Eighth Amendment jurisprudence here—a point that is not to be
          celebrated. See, e.g., Fund for Empowerment v. City of Phoenix, No.
          CV-22-02041-PHX-GMS, 2022 WL 18213522 (D. Ariz. Dec. 16, 2022)
          (applying Boise); Coal. on Homelessness v. City & Cnty. of San
          Francisco, No. 22-CV-05502-DMR, 2022 WL 17905114 (N.D. Cal.
          Dec. 23, 2022) (applying Grants Pass).                 While our mistaken
          jurisprudence in this area has some limits, see Grants Pass, 50 F.4th at
          812 n.33, we should not pretend that the jurisprudential experiment
          started by Boise and expanded by Grants Pass—which “effectively
          strikes down the anti-camping and anti-sleeping [o]rdinances … of
          countless, if not all, cities within our jurisdiction,” Boise, 920 F.3d at 599
          (M. Smith, J., dissental)—is “narrow,” contra id. at 617 (majority
          opinion); Grants Pass, 50 F.4th at 813.
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          aspects of this case.” Id. at 793. After concluding that class
          certification was proper, the panel majority held, following
          Boise, that the City could not enforce the public-camping
          and park-exclusion ordinances against “involuntarily
          homeless persons” for the “mere act of sleeping” or camping
          in public spaces when “there is no other place in the City for
          them to go.” Id. at 798 & n.12, 813 (remanding, inter alia,
          on the public-sleeping ordinance because the relevant
          plaintiff had died). It also expanded Boise by holding that
          the City could not deprive persons of whatever materials
          they needed “to keep … warm and dry,” and by extending
          Boise from the purely criminal arena to civil fines and
          citations. Id. at 806-09. In doing so, the panel majority—
          content to rest on Boise’s tortured reading of Supreme Court
          precedent, see id. at 808-11—declined to devote any serious
          attention to the text, history, or tradition of the Eighth
          Amendment.
                                         2
              Judge Collins dissented. Id. at 814-31. He explained,
          inter alia, that the case should be reheard en banc because
          the panel majority decision combined a “gross misreading of
          [Boise] with a flagrant disregard of settled class-certification
          principles,” and because “the foundation on which [the panel
          majority decision] is built is deeply flawed: [Boise] seriously
          misconstrued the Eighth Amendment and the Supreme
          Court’s caselaw construing it.” Id. at 814, n.1. In his view,
          Boise has “‘generate[d] dire practical consequences for the
          hundreds of local governments within our jurisdiction,’” and
          those harms will be “greatly magnified by the egregiously
          flawed reconceptualization and extension of [Boise’s]
          holding.” Id. at 831 (quoting Boise, 920 F.3d at 594 (M.
          Smith, J., dissental)).
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                                        II
              There is a simple reason why we should have reheard
          Grants Pass en banc: it entrenches a deeply damaging and
          egregiously wrong construction of the Eighth Amendment in
          our Circuit’s precedent. An “erroneous interpretation” of the
          Constitution is “always important.” Dobbs, 142 S. Ct. at
          2265. But some judicial mistakes are “more damaging” than
          others—and “more than just wrong.” Id. at 2265-66. The
          novel and expansive jurisprudence entrenched by Grants
          Pass—which thumbs its nose at the “standard grounds for
          constitutional decisionmaking[:] text, history, and
          precedent”—stands on “exceptionally weak grounds” and
          “should be overruled.” Id. at 2264, 2266, 2271.
                                        A
              The first flaw in Grants Pass’s jurisprudence is that it
          conflicts with the text, history, and tradition of the Eighth
          Amendment—which demonstrate that the Cruel and
          Unusual Punishments Clause does not establish a federal
          constitutional “doctrine[] of criminal responsibility.”
          Kahler, 140 S. Ct. at 1028 (cleaned up). Constitutional text,
          history, and tradition make plain that the Clause was directed
          to modes of punishment—and that it was never intended to
          arrogate the substantive authority of legislatures to prohibit
          “acts” like those at issue here, and “certainly not before
          conviction.” Boise, 920 F.3d at 602 (Bennett, J., dissental).
          Indeed, one might question whether the Cruel and Unusual
          Punishments Clause has anything to do with the
          jurisprudence embraced by Grants Pass—which authorizes
          a plaintiff who has never been assigned a “punishment,” let
          alone one that is “cruel and unusual,” to challenge traditional
          anti-vagrancy regulations under the Clause. It is regrettable
          that Grants Pass never meaningfully engaged the text,
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          history, and tradition of the Constitution—which are the
          “standard grounds for constitutional decisionmaking.”
          Dobbs, 142 S. Ct. at 2271 (“text, history, and precedent”);
          see, e.g., Ingraham v. Wright, 430 U.S. 651, 664 (1977)
          (“history” and precedent); Kennedy v. Louisiana, 554 U.S.
          407, 421 (2008) (“text, history, meaning, and purpose”); see
          also, e.g., Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407,
          2428 (2022) (“historical practices and understandings”
          (cleaned up)); New York State Rifle & Pistol Ass’n, Inc. v.
          Bruen, 142 S. Ct. 2111, 2128-29 (2022) (“text and history”);
          Washington v. Glucksberg, 521 U.S. 702, 721 (1997)
          (“history and tradition” (cleaned up)).
                                        1
               The Eighth Amendment provides, “Excessive bail shall
          not be required, nor excessive fines imposed, nor cruel and
          unusual punishments inflicted.” U.S. Const. amend. VIII
          (emphasis added). The Amendment’s bar on excessive
          “bail,” excessive “fines,” and the infliction of cruel and
          unusual “punishments” indicates the Amendment’s punitive
          focus. And the text of the Cruel and Unusual Punishments
          Clause itself provides no substantive limit on what conduct
          may be punished. Instead, it only prohibits “punishments”
          (i.e., pain or suffering inflicted for a crime or offense) that
          are “cruel” (i.e., marked by savagery and barbarity) and
          “unusual” (i.e., not in common use), reflecting a
          constitutional prohibition originally and traditionally
          understood to forbid the government from “authorizing
          particular forms or ‘modes’ of punishment—specifically,
          cruel methods of punishment that are not regularly or
          customarily employed.” Harmelin v. Michigan, 501 U.S.
          957, 976 (1991) (opinion of Scalia, J.); id. at 979
          (“[b]reaking on the wheel,” “flaying alive,” and “maiming,
          mutilating, and scourging to death” (cleaned up)).
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          Constitutional text, history, and tradition make clear—
          contrary to Grants Pass’s holding—that the Clause was not
          originally understood to displace the authority of legislatures
          to prohibit historically proscribable acts (and certainly not
          before any punishment was imposed), see Boise, 920 F.3d at
          599-603 (Bennett, J., dissental), and that the Clause was not
          traditionally taken to enshrine a constitutional “doctrine[] of
          criminal responsibility,” Kahler, 140 S. Ct. at 1028 (cleaned
          up).
                                        2
              Ultimately, the text, history, and tradition of the Eighth
          Amendment teach a simple truth: the Cruel and Unusual
          Punishments      Clause—a        constitutional     prohibition
          fundamentally centered on modes of punishment—is not a
          boundless remedy for all social and policy ills, including
          homelessness. It does not empower us to displace state and
          local decisionmakers with our own enlightened view of how
          to address a public crisis over which we can claim neither
          expertise nor authority, and it certainly does not authorize us
          to dictate municipal policy here. Given the “centuries-long
          evolution of the collection of interlocking and overlapping
          concepts which the common law has utilized to assess the
          moral accountability of an individual for his antisocial
          deeds,” including the “doctrines of actus reus, mens rea,
          insanity, mistake, justification, and duress,” the “process of
          adjustment” of the “tension between the evolving aims of the
          criminal law and changing religious, moral, philosophical,
          and medical views of the nature of man” has primarily “been
          thought to be the province of the States.” Powell, 392 U.S.
          at 535-36 (plurality). So long as “the accused has committed
          some act, has engaged in some behavior, which society has
          an interest in preventing, or perhaps in historical common
          law terms, has committed some actus reus,” the Eighth
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          Amendment does not prohibit punishing such an act merely
          “because it is, in some sense, ‘involuntary’ or ‘occasioned
          by a compulsion.’” Id. at 533. It is troubling that our
          Circuit—in inventing a new individual ‘right’ unmoored
          from text, history, or tradition—has twisted the Eighth
          Amendment to displace the substantive authority of local
          officials to prohibit a species of antisocial conduct that was
          neither originally nor traditionally thought to warrant the
          protection of the Constitution, let alone immunity under the
          Cruel and Unusual Punishments Clause.
                                        B
              The second flaw in Grants Pass’s jurisprudence is that it
          lacks any foundation in the Eighth Amendment doctrine
          handed down to us by the Supreme Court—which, to be
          clear, has never accepted Grants Pass’s theory that the Cruel
          and Unusual Punishments Clause establishes a federal
          constitutional prohibition on the criminalization of
          purportedly nonvolitional conduct. While Grants Pass
          purports faithfully to follow the Supreme Court’s decisions
          in Robinson v. California, 370 U.S. 660 (1962), and Powell
          v. Texas, 392 U.S. 514 (1968), it actually rests on a plain
          misreading of the Supreme Court’s instructions because it
          does little more than combine dicta in a solo concurrence
          with a dissent. In doing so, Grants Pass has clearly erred—
          embracing a startling misapplication of the Marks doctrine
          to venture far astray from Supreme Court precedent, see
          Marks v. United States, 430 U.S. 188, 193 (1977) (“When a
          fragmented Court decides a case and no single rationale
          explaining the result enjoys the assent of five Justices, the
          holding of the Court may be viewed as that position taken by
          those Members who concurred in the judgments on the
          narrowest grounds.” (cleaned up)).
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                                        1
              The Supreme Court has never blessed our Circuit’s
          sweeping approach to the Eighth Amendment here—and
          neither Robinson nor Powell provide any support for Grants
          Pass’s adventurous holding. In Robinson, the Supreme
          Court first articulated the status-act distinction that should
          have made this a simple case—holding only that the Eighth
          Amendment prohibited states from making it a crime “to be
          addicted to the use of narcotics.” Robinson, 370 U.S. at 662
          (cleaned up). Unlike laws “punish[ing] a person for the use
          of narcotics, for their purchase, sale or possession, or for
          antisocial or disorderly behavior resulting from their
          administration,” the California law invalidated by Robinson
          punished the mere “status” of narcotics addiction, unmoored
          from any particular conduct. Id. at 662, 666. The holding of
          Robinson is simple: the criminal law cannot punish status
          (e.g., “be[ing] addicted to the use of narcotics”); it can only
          punish conduct (e.g., “the use of narcotics”). Id. at 662-67
          (cleaned up); see Manning v. Caldwell for City of Roanoke,
          930 F.3d 264, 288 (4th Cir. 2019) (en banc) (Wilkinson, J.,
          dissenting).
              The Supreme Court has not wavered from the status-act
          distinction articulated by Robinson—and Powell is certainly
          no exception. In Powell, decided soon after Robinson, a
          fractured Supreme Court upheld a Texas law prohibiting
          public drunkenness against an Eighth Amendment challenge
          alleging that the alcoholic’s status compelled him to drink in
          public. Powell, 392 U.S. 514. No controlling majority
          rejected the status-act line drawn by Robinson: (1) Justice
          Marshall’s four-justice plurality upheld the statute based on
          Robinson’s status-act distinction, id. at 516-37 (plurality);
          (2) Justice White’s lone concurrence (the dispositive fifth
          vote) upheld the statute because it involved a volitional act,
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          and he declined to determine whether a non-volitional act
          could be criminalized, id. at 548-54 (White, J., concurring);
          and (3) Justice Fortas’s four-justice dissent rejected
          Robinson’s status-act distinction and deemed the statute’s
          enforcement unconstitutional, id. at 554-70 (Fortas, J.,
          dissenting). Because Justice White did not “reach[] the
          broader question of compulsion, the judgment in Powell
          neither extended [n]or contracted Robinson, which was left
          undisturbed.” Manning, 930 F.3d at 289 (Wilkinson, J.,
          dissenting). And the Supreme Court has certainly never
          understood Powell to have such broad effect: it has neither
          “walked away from Robinson” nor “embraced [Boise’s]
          whole notion of nonvolitional conduct.” Id.
                                        2
              Nevertheless, Grants Pass—turning to Powell’s
          fractured decision, see Grants Pass, 50 F.4th at 809-11
          (contorting Powell and Marks)—attempts to “tease [its]
          preferred reading from the dicta of a single justice,”
          Manning, 930 F.3d at 290 (Wilkinson, J., dissenting).
          Grants Pass’s distortion of Powell clearly violates Marks—
          which, as explained, instructs that the Court’s holding is
          “that position taken by those Members who concurred in the
          judgment[] on the narrowest grounds.” Marks, 430 U.S. at
          193 (cleaned up). Because no victorious majority in Powell
          disrupted Robinson’s “status-act” distinction or blessed
          Grants Pass’s “involuntary conduct” theory, we are left with
          nothing more than Grants Pass’s attempt to craft its
          preferred rule by combining dicta in a concurrence with a
          dissent—which means that Grants Pass is ultimately
          predicated on a plain Marks violation. Such a fundamental
          mistake, which directly implicates the limits on an inferior
          court’s authority to circumvent the limits of such controlling
          precedents, should not remain the law of our Circuit.
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                                      III
              The fundamental flaws in Grants Pass are sufficient
          reason to reject its deeply damaging and egregiously wrong
          interpretation of the Eighth Amendment. But even apart
          from the constitutional errors entrenched by Grants Pass,
          there are additional, compelling reasons why this case
          warranted rehearing en banc. Perhaps most importantly, our
          expansive interpretation of the Cruel and Unusual
          Punishments Clause diverges from other courts on an issue
          of exceptional importance—and it is telling that we remain
          the only circuit bold enough to embrace an Eighth
          Amendment doctrine that effectively requires local
          communities to surrender their sidewalks and other public
          places to homeless encampments.
                                       A
              The Eighth Amendment jurisprudence undergirding
          Grants Pass squarely conflicts with decisions from other
          circuits and other courts. We should not pretend that our
          Circuit’s divination of a personal constitutional ‘right’ to
          encamp on public property (including sidewalks) is anything
          but the inventive, judge-made novelty that we all know it to
          be.
                                       1
             The first set of conflicts—which centers on Grants
          Pass’s result—is plain. No federal circuit or state supreme
          court (not one!) has ever embraced Grants Pass’s sweeping
          holding that the Eighth Amendment prohibits the
          enforcement of public-camping restrictions (including
          before any punishment is imposed). Other circuits to
          consider the issue have uniformly upheld such laws against
          Eighth Amendment challenges. See Joel v. City of Orlando,
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          232 F.3d 1353, 1356, 1361-62 (11th Cir. 2000) (upholding
          public-camping proscription because “[a] distinction exists
          between applying criminal laws to punish conduct, which is
          constitutionally permissible, and applying them to punish
          status, which is not”); see also Johnson v. City of Dallas, 61
          F.3d 442, 443-45, n.5 (5th Cir. 1995) (rejecting challenge to
          public-camping proscription because the prohibition on
          cruel and unusual punishments is applicable only after
          prosecution and conviction, and none of the challengers had
          been “convicted of violating the sleeping in public
          ordinance” (relying on Ingraham, 430 U.S. at 664)). And no
          state supreme court has reached the same result as our
          aberrant decision here. See Tobe v. City of Santa Ana, 892
          P.2d 1145, 1166 (Cal. 1995) (upholding public-camping
          regulation because the “ordinance permits punishment for
          proscribed conduct, not punishment for status”); Allen v.
          City of Sacramento, 234 Cal. App. 4th 41, 60 (2015)
          (upholding public-camping bar because “the Eighth
          Amendment does not prohibit the punishment of acts,” and
          the “ordinance punishes the act[] of [illegal] camping, … not
          homelessness”).         No defender of Grants Pass’s
          jurisprudence has provided a compelling response to these
          decisions, see Boise, 920 F.3d at 617 n.9 (attempting to
          reconcile Boise with Joel’s alternative rationale, but
          declining to do much else); Grants Pass, 50 F.4th 787 (not
          even attempting this much)—let alone a federal appellate or
          state supreme court case that has ever reached Grants Pass’s
          result. While Grants Pass has not been replicated elsewhere,
          aside from a smattering of trial-level dispositions, a decision
          that stands so far out of step with so many other courts is one
          that cries out for correction.
                                        2
              The second set of conflicts—which relates to Grants
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          Pass’s rationale—is similarly troublesome. Our approach to
          the Eighth Amendment in this area conflicts with decisions
          from the First Circuit, Fourth Circuit, and Seventh Circuit,
          which embrace several competing tests for determining
          whether the Eighth Amendment immunizes involuntary
          conduct. At least two other circuits—the First Circuit and
          the Seventh Circuit—have flatly rejected the Grants Pass
          principle that purportedly “involuntary” conduct is exempt
          from criminal liability under the Eighth Amendment, or that
          Justice White’s lone concurrence in Powell provides the
          binding opinion that compels such exemptions. See, e.g.,
          United States v. Sirois, 898 F.3d 134, 137-38 (1st Cir. 2018);
          United States v. Stenson, 475 F. App’x 630, 631 (7th Cir.
          2012) (citing United States v. Black, 116 F.3d 198, 200-01
          (7th Cir. 1997)); see also supra (collecting cases rejecting
          Grants Pass’s reading of Robinson, Powell, and Ingraham).
          And the Fourth Circuit—the only circuit that embraces
          anything like Grants Pass’s approach—provides, at best,
          only mixed support because even though it held that
          involuntary conduct may be exempt based on dicta in Justice
          White’s lone concurrence, it limited its holding to laws that
          “singled” individuals “out for special punishment for
          otherwise lawful conduct that is compelled by their illness.”
          Manning, 930 F.3d at 281 n.14. Our Circuit is, therefore,
          locked in a deep and varied intercircuit split over how to read
          the Eighth Amendment in light of Robinson and Powell—
          and, as explained, we are the only federal court of appeals to
          have discovered a personal constitutional ‘right’ for
          individuals to encamp on public property (including
          sidewalks) in violation of traditional health, safety, and
          welfare laws, a result that no other federal circuit or state
          supreme court in the country has been bold enough to
          replicate.
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                                        B
              Grants Pass also presents a question of exceptional
          practical and institutional importance. The immodest
          approach to the Eighth Amendment that it embraces is both
          troubling and dangerous. It undermines the power of state
          and local governments to address the homelessness crisis.
          And it arrogates to federal judges authority that the
          Constitution reserves elsewhere. We should have granted
          rehearing en banc to stop the damage already being worked
          by Boise and to stave off the mischiefs that Grants Pass is
          sure to worsen. It is regrettable that our Circuit has declined
          to grapple with the consequences of our mistakes.
                                        1
              The practical consequences should have been reason
          enough to reconsider our jurisprudential experiment before
          it did any more harm to our communities—and before its
          dangers were exacerbated by Grants Pass. No one
          reasonably doubts that our existing precedent in Boise has
          created grave and troubling consequences for the state and
          local communities within our jurisdiction. And no one
          meaningfully contests that these harms will be greatly
          worsened by the doctrinal innovations introduced by Grants
          Pass. One need only walk through our neighborhoods—
          through the Tenderloin (San Francisco) or Skid Row (Los
          Angeles)—to know that our communities are fast coming
          undone. Tents crowding out sidewalks, needles flooding
          parks, and rubbish (and worse) marring public squares
          reflect a threat to the public welfare that should not be taken
          lightly. Nor do such troubling blights mark an area where
          we should be eager to throw caution to the wind and to
          embrace judicial adventurism so far removed from the
          guardrails set by the Constitution’s text and the Supreme
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          Court’s precedents.
              Unfortunately, the “Hobson’s choice” imposed by our
          Circuit effectively requires state and local officials to
          “abandon enforcement of a host of laws regulating public
          health and safety,” Boise, 920 F.3d at 594 (M. Smith, J.,
          dissental)—and, if today’s decision is any guide, our
          precedents will readily be wielded effectively to require
          jurisdictions throughout our Circuit to surrender the use of
          many of their public spaces (including sidewalks) to
          homeless encampments. It is easy enough for us, behind
          marble walls and sealed doors, to dismiss the consequences
          of our decisions. But for those who call these communities
          home—who must live by the criminal violence, narcotics
          activity, and dangerous diseases that plague the homeless
          encampments       buttressed    by    our    decisions—the
          consequences of our judicial arrogation are harder to accept.
                                       2
              In addition to the practical harms that our jurisprudence
          creates for our communities, we also should have ended the
          jurisprudential mistake embraced by Grants Pass as quickly
          as possible because it “visit[s] structural and institutional
          damage in so many respects.” Manning, 930 F.3d at 305
          (Wilkinson, J., dissenting). In particular, the doctrine
          embraced by Grants Pass puts “judges in policymaking roles
          reserved largely for legislatures and states.” Id. at 297. It
          erodes “the states’ role as separate sovereigns entrusted to
          define the criminal law within their own borders,” and
          “pushes the Eighth Amendment as a catch-all corrective” for
          social ills identified by inexpert and unelected judicial
          officers. Id. Under our federal system, state and local
          leaders—not distant federal judges—are primarily entrusted
          with the power and duty to protect the common welfare of
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          our towns, cities, and neighborhoods, and to ensure that our
          streets, squares, and sidewalks remain clean and safe. See
          United States v. Lopez, 514 U.S. 549, 561 n.3 (1995). The
          reason for such “legislative responsibility over criminal law
          is fundamental: the criminal law exists to protect the safety
          of citizens, and ensuring the safety of the people is one of
          those things that popular government exists to do.”
          Manning, 930 F.3d at 297 (Wilkinson, J., dissenting).
          Unfortunately, this has not swayed our Court—with
          consequences that will sweep well past the troubles visited
          upon the City of Boise and the City of Grants Pass.
                                        IV
               Grants Pass is a regrettable mistake that entrenches and
          expands upon previous deeply damaging jurisprudence.
          While I do not doubt the good faith of my colleagues, it is
          hard to imagine a jurisprudence that combines so little regard
          for the sacred words of the Constitution, with so much
          disregard for the state and local authorities that our
          constitutional system entrusts as the primary protectors of
          the health, safety, and welfare of our communities. Our
          jurisprudence here is flawed—in conflict with the text,
          history, and tradition of the Eighth Amendment, and the
          precedents of the Supreme Court. And it splits from other
          circuits on a question of exceptional importance, working
          great violence to our constitutional structure and threatening
          dire consequences for communities within our jurisdiction.
          It is most regrettable that our Court has failed to rehear this
          case en banc.
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          GRABER, Senior Circuit Judge, respecting the denial of
          rehearing en banc:

             The constitutional limits on a municipality’s ability to
          address the issue of homelessness present an exceptionally
          important and complex topic. I appreciate the many
          thoughtful views expressed by my colleagues. I write
          separately to offer a middle ground.
              Whether or not the result is dictated by Powell v. Texas,
          392 U.S. 514 (1968), the Eighth Amendment almost
          certainly prohibits criminal punishment of persons who
          engage in truly involuntary actions such as sleeping. I thus
          agree with the underlying legal premise of the decisions in
          Johnson v. City of Grants Pass, 50 F.4th 787 (9th Cir. 2022),
          and Martin v. City of Boise, 920 F.3d 584 (9th Cir. 2019).
          Eighth Amendment protection also extends to individualized
          injunctive relief, such as precluding a municipality from
          enforcing a particular criminal provision against a specific
          person, if past actions by the municipality warrant such
          equitable relief.      Our opinion in Martin, though
          controversial, reached a reasonable result, particularly
          because Martin emphasized the “narrow” nature of its
          holding. 920 F.3d at 617. I did not join, and did not agree
          with, the dissents from denial of rehearing en banc in Martin.
              In my view, though, the extension of Martin to classwide
          relief, enjoining civil statutes that may eventually lead to
          criminal violations but have never resulted in criminal
          convictions for any named plaintiff, is a step too far from the
          individualized inquiries inherent both in the Eighth
          Amendment context and in the context of injunctive relief.
          A key part of Johnson’s reasoning begins with the
          observation that civil citations could lead to a civil park-
          exclusion order which, in turn, could lead to a prosecution
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          for criminal trespass (but which never has for the named
          plaintiffs). 1 Johnson, 50 F.4th at 807–08. The opinion then
          concludes that, because the Eighth Amendment would
          prohibit that ultimate prosecution, it also must prohibit the
          civil citations. Id. I disagree with that double leap in logic.
          Even assuming that classwide injunctive relief were
          available against a prosecution for criminal trespass, the
          Eighth Amendment does not prohibit all civil remedies that
          could, in theory, lead to such a prosecution. In this way,
          Johnson unjustifiably expands the reach of the Eighth
          Amendment.
              The challenges faced by individuals experiencing
          homelessness are severe. And the challenges that face
          municipalities are daunting. When called upon, we have an
          obligation to ensure that a municipality’s efforts to provide
          for the common health and safety do not violate the
          Constitution. I agree with the basic legal premise that the
          Eighth Amendment protects against criminal prosecution of
          the involuntary act of sleeping, but the injunctive relief in
          this case goes too far. Moreover, given the widespread
          nature of the homelessness crisis in our jurisdiction, it is

          1
            The amended opinion refers to Debra Blake as “a named plaintiff,” and
          the amended opinion states that she was convicted of “Criminal Trespass
          on City Property.” Amended Op. at 28 n.13. Blake unfortunately died.
          As the opinion elsewhere recognizes, Johnson, 50 F.4th at 800–02, she
          is no longer a named plaintiff. Moreover, Blake’s “conviction” is doubly
          inapt here. First, despite the name of the citation, the conviction was for
          a violation, not a crime. Second, Blake was cited for being in a closed
          park, not for violating any of the civil statutes challenged here. The crux
          of the opinion’s analysis is that a civil citation could lead to a criminal
          misdemeanor conviction under Oregon Revised Statute section 164.245.
          Johnson, 50 F.4th at 807. No evidence in the record suggests that the
          civil statutes relevant here have caused Blake or any named plaintiff to
          be convicted of that crime.
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          crucial that we get it right. Our court should have reheard
          this case en banc.


          M. SMITH, Circuit Judge, with whom Judges BENNETT,
          BUMATAY, and VANDYKE join, and with whom Judges
          IKUTA, R. NELSON, BADE, COLLINS, and BRESS join
          as to Parts I and II, dissenting from the denial of rehearing
          en banc:

              Homelessness is presently the defining public health and
          safety crisis in the western United States. California, for
          example, is home to half of the individuals in the entire
          country who are without shelter on a given night. 1 In the
          City of Los Angeles alone, there are roughly 70,000
          homeless persons. 2 There are stretches of the city where one
          cannot help but think the government has shirked its most
          basic responsibilities under the social contract: providing
          public safety and ensuring that public spaces remain open to
          all. One-time public spaces like parks—many of which
          provide scarce outdoor space in dense, working-class
          neighborhoods—are filled with thousands of tents and
          makeshift structures, and are no longer welcoming to the


          1
           HUD, The 2022 Annual Homelessness Assessment Report (AHAR) to
          Congress                           16                          2022),
          https://www.huduser.gov/portal/sites/default/files/pdf/2022-AHAR-
          Part-1.pdf.
          2
            Doug Smith, Rand Survey Finds Homelessness Up 18% in L.A. Hot
          Spots Where the Official Count Recorded Decreases, L.A. Times (Jan.
          26, 2023), https://www.latimes.com/california/story/2023-01-26/rand-
          survey-finds-homelessness-up-18-in-l-a-hot-spots-where-the-official-
          count-recorded-decreases.
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          broader community. 3
              It is a status quo that fails both those in the homeless
          encampments and those near them.              The homeless
          disproportionately risk being the victims of violence, sexual
          assault, and drug-related death, 4 and encampments’
          unsanitary conditions have caused resurgences of plagues
          such as typhus, tuberculosis, and hepatitis-A. 5 For those
          who live, work, and attend school near these encampments,
          they have become a source of fear and frustration. A
          plurality of California residents rate homelessness and the
          closely related issue of a lack of affordable housing as the

          3
             See generally Luis Sinco, Photos: An Unflinching Look at
          Homelessness      During      the    Pandemic     (Mar. 8,    2021),
          https://www.latimes.com/california/story/2021-03-08/homelessness-
          and-the-pandemic (depicting homeless encampments); L.A. Homeless
          Servs. Auth., Car, Van, RV/Camper, Tent, and Makeshift Shelter
          (CVRTM) (2022), https://www.lahsa.org/documents?id=6533-cvrtm-
          summary-by-geography (estimating the total number of tents and
          makeshift structures across the City of Los Angeles).
          4
           See Gale Holland, Attacked, Abused and Often Forgotten: Women Now
          Make Up 1 in 3 Homeless People in L.A. County, L.A. Times (Oct. 28,
          2016),     https://www.latimes.com/projects/la-me-homeless-women/;
          Christian Martinez & Rong-Gong Lin II, L.A. County Homeless Deaths
          Surged 56% in Pandemic’s First Year. Overdoses Are Largely to Blame,
          L.A.            Times           (Apr.            22,           2022),
          https://www.latimes.com/california/story/2022-04-22/la-county-
          homeless-deaths-surge-pandemic-overdoses.
          5
            Soumya Karlamangla, L.A. Typhus Outbreak Adds Fuel to Debates
          Over Homelessness and Housing, L.A. Times (Oct. 11, 2018),
          https://www.latimes.com/local/california/la-me-ln-typhus-outbreak-
          20181011-story.html; Anna Gorman & Kaiser Health News, Medieval
          Diseases     Are   Infecting    California’s    Homeless,    Atlantic,
          https://www.theatlantic.com/health/archive/2019/03/typhus-
          tuberculosis-medieval-diseases-spreading-homeless/584380/         (last
          updated Mar. 11, 2019).
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          state’s two most pressing issues. 6 In the City of Los
          Angeles, a startling 95% of residents view homelessness as
          a serious or very serious problem, while roughly 40% of
          residents report that pervasive homelessness makes them no
          longer feel safe in their own neighborhoods. 7
              Homelessness is caused by a complex mix of economic,
          mental-health, and substance-abuse factors, and appears to
          resist any easy solution. In recent years, state and local
          governments have taken a variety of steps intended to
          ameliorate the crisis: adopting zoning reforms to increase the
          supply of housing, declaring public emergencies to bypass
          red tape and more quickly build new public housing,
          increasing spending on mental-health services, and
          contracting with hotels and motels to offer temporary
          housing to those living on the street.           Some local
          governments have also reasonably chosen to couple these
          longer-term measures with attempts to enforce public-
          camping bans and other public health measures—but most
          of these attempts to mitigate the challenging issues of
          homelessness have been wholly or partially frustrated by an

          6
            Mark Murray, California Poll: Homelessness Is Most Urgent Issue in
          the State, NBC News (Mar. 1, 2023), https://www.nbcnews.com/meet-
          the-press/meetthepressblog/california-poll-homelessness-urgent-issue-
          state-rcna72972.
          7
            Benjamin Oreskes, Doug Smith & David Lauter, 95% of Voters Say
          Homelessness is L.A.’s Biggest Problem, Times Poll finds. ‘You Can’t
          Escape       It.’,    L.A.      Times       (Nov.      14,      2019),
          https://www.latimes.com/california/story/2019-11-14/homeless-
          housing-poll-opinion; Benjamin Oreskes & David Lauter, L.A. Voters
          Angry, Frustrated Over Homeless Crisis, Demand Faster Action, Poll
          Finds, L.A. Times (Dec. 1, 2021), https://www.latimes.com/homeless-
          housing/story/2021-12-01/la-voters-are-frustrated-impatient-over-
          persistent-homelessness-crisis.
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          alleged constitutional right conjured by a panel of our court
          that finds no support in United States Supreme Court
          jurisprudence.
              Assume, for example, that you are a police officer and
          you encounter a homeless person in some public space—say,
          San Francisco’s Civic Center near the James R. Browning
          Building where our court sits. Assume further that the
          person has set up a tent and “engage[d] in other life-
          sustaining activities” like defecation and urination on the
          sidewalk nearby. Martin v. City of Boise, 920 F.3d 584, 617
          (9th Cir. 2019) (citation omitted). You also know that,
          pursuant to the city’s good-faith efforts to comply with the
          dictates of Martin, government workers have conducted
          outreach and offered temporary housing to the homeless
          persons in this area. Nonetheless, under the majority’s
          reasoning, you are powerless to cite this person even for
          public defecation because San Francisco has fewer shelter
          beds than total homeless persons. It is irrelevant that the city
          already offered this specific person shelter because “the
          number of homeless persons outnumber the available shelter
          beds.” Johnson v. City of Grants Pass, 50 F.4th 787, 792
          (9th Cir. 2022) (cleaned up). 8 In a democracy, voters and
          government officials should be able to debate the efficacy
          and desirability of these types of enforcement actions.
          Regrettably, our court has short-circuited the political
          process and declared a reasonable policy response to be off-
          limits and flatly unconstitutional.
              Contrary to Judges Gould and Silver’s assertion, neither


          8
           This hypothetical is based on two district-court applications of Martin
          and Grants Pass. See infra section III (San Francisco and Sacramento
          examples).
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          my description of the West’s homelessness crisis nor my
          offering of the above hypothetical is meant to “argue the
          crisis would abate” if Martin and Grants Pass were
          overruled. Though these decisions certainly add obstacles to
          local governments’ already difficult path to solving the
          homelessness crisis, I have never and do not here contend
          that our precedent is an on/off-switch entirely responsible for
          the crisis.
              I describe the scope of the West’s homelessness crisis to
          instead make a point about our proper role, as well as our
          institutional competence and accountability. Unlike the
          officials tasked with addressing homelessness, the members
          of our court are neither elected nor policy experts. Of course,
          the political process must yield to the fundamental rights
          protected by the Constitution, and some of federal courts’
          finest moments have come in enforcing the rights of
          politically marginal groups against the majority. But when
          asked to inject ourselves into a vexing and politically
          charged crisis, we should tread carefully and take pains to
          ensure that any rule we impose is truly required by the
          Constitution—not just what our unelected members think is
          good public policy. Unfortunately, the careful constitutional
          analysis that the West’s homelessness crisis calls for is
          absent from both Martin, 920 F.3d 584, and the majority
          opinion here, Grants Pass, 50 F.4th 787.
              Martin misread Supreme Court precedent, yet we failed
          to give that case the en banc reconsideration it deserved.
          Grants Pass now doubles down on Martin—crystallizing
          Martin into a crude population-level inquiry, greenlighting
          what should be (at most) an individualized inquiry for class-
          wide litigation, and leaving local governments without a clue
          of how to regulate homeless encampments without risking
          legal liability. Martin handcuffed local jurisdictions as they
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          tried to respond to the homelessness crisis; Grants Pass now
          places them in a straitjacket. If this case does not “involve[]
          a question of exceptional importance,” I cannot imagine one
          that does. Fed. R. App. P. 35(a)(2). We should have taken
          this second chance to revisit our flawed precedent en banc,
          and I respectfully dissent from our decision not to do so.
                                         I.
              As Judge O’Scannlain explains in his Statement, Martin
          cannot be squared with the Supreme Court’s Eighth
          Amendment precedent. What is more, as Judge O’Scannlain
          also explains, Martin violates Supreme Court precedent
          regarding what constitutes binding precedent. The Marks
          rule instructs in no uncertain terms that, “[w]hen a
          fragmented [Supreme] Court decides a case and no single
          rationale explaining the result enjoys the assent of five
          Justices, the holding of the Court may be viewed as that
          position taken by those Members who concurred in the
          judgments on the narrowest grounds.” Marks v. United
          States, 430 U.S. 188, 193 (1977) (cleaned up) (emphasis
          added).     Yet Martin counted to five votes for its
          understanding of the Eighth Amendment by including the
          four votes of the Powell dissenters. Martin, 920 F.3d at 616
          (“The four dissenting Justices adopted a position consistent
          with that taken by Justice White [in his concurrence] . . . .”).
          When the Marks rule is properly applied to Powell v. Texas,
          392 U.S. 514 (1968), it produces the holding that Powell’s
          “conviction was constitutional because it involved the
          commission of an act. Nothing more, nothing less.” Martin,
          920 F.3d at 591 (M. Smith, J., dissenting from denial of
          rehearing en banc); see also Grants Pass, 50 F.4th at 830
          (Collins, J., dissenting) (“Under a correct application of
          Marks, the holding of Powell is that there is no constitutional
          obstacle to punishing conduct that has not been shown to be
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          involuntary, and the converse question of what rule applies
          when the conduct has been shown to be involuntary was left
          open.”). Put differently: When the Marks rule is properly
          applied, Martin cannot hide behind Powell and insist that
          Supreme Court precedent “compels the conclusion” it
          reached. Martin, 920 F.3d at 616.
               Martin therefore had the burden to affirmatively justify
          its rule—that a “state may not criminalize conduct that is an
          unavoidable consequence” of a person’s status—as
          consistent with the Eighth Amendment. Id. at 617 (cleaned
          up). But neither Martin nor the majority in this case even
          attempts to make that showing, including rebutting the
          number of reasons Justice Thurgood Marshall and the other
          Justices in the Powell plurality thought an unavoidable-
          consequence-of-status rule would be both improper and
          unworkable. We are left completely in the dark as to why,
          for example, the Martin panel and Grants Pass majority
          apparently thought:

                • The Powell plurality was wrong to interpret Robinson
                  v. California, 370 U.S. 660 (1962) as a ban on
                  “punish[ing] a mere status” and nothing more.
                  Powell, 392 U.S. at 532 (plurality) (Marshall, J.).
                • The Powell plurality was wrong to be concerned that
                  an unavoidable-consequence-of-status rule would
                  lack “any limiting principle.” Id. at 533.
                • The Powell plurality was wrong to think that a
                  constitutionalized unavoidable-consequence rule
                  would improperly override the ability of states to
                  develop “[t]he doctrines of actus reus, mens rea,
                  insanity, mistake, justification, and duress” to resolve
                  as they think best “the tension between the evolving
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                aims of the criminal law and changing religious,
                moral, philosophical, and medical views of the nature
                of man.” Id. at 535–36.
              • The Powell plurality incorrectly characterized an
                unavoidable-consequence rule as conferring upon
                unelected federal judges the impossible task of being
                “the ultimate arbiter[s] of the standards of criminal
                responsibility, in diverse areas of the criminal law,
                throughout the country.” Id. at 533.
              • The punishment flowing from a public-camping
                prosecution (or even just a civil citation) constitutes
                the “exceedingly rare” instance—outside the context
                of capital punishment and juvenile life without
                parole—where a particular sentence may violate the
                Eighth Amendment. Rummel v. Estelle, 445 U.S. 263,
                272 (1980); see Miller v. Alabama, 567 U.S. 460,
                469–70 (2012) (summarizing proportionality case
                law).

          Judges Gould and Silver are correct to note that the Powell
          plurality is, after all, just a plurality. But these questions,
          and others, still warranted a response—one would hope that
          a lower court, when fashioning a novel constitutional rule,
          would at least grapple with the reasons four Supreme Court
          Justices expressly chose to reject the very same rule. The
          district courts tasked with applying Martin/Grants Pass, the
          local governments placed in a straitjacket by these decisions,
          and the residents of our circuit who now must live with the
          consequences all deserved better than the half-reasoned
          decisions they received from our court.
                                        II.
              Moreover, even if one assumes arguendo that the Eighth
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          Amendment supports an unavoidable-consequence-of-status
          principle, Grants Pass’s homelessness-specific analysis has
          nothing to do with that principle. One would reasonably
          assume that Grants Pass implemented Martin’s general
          Eighth Amendment principle by mandating that courts
          conduct an individualized inquiry: whether public camping
          by the individual plaintiffs before the court is an
          “unavoidable consequence” of their status as homeless
          persons—inquiring, for example, into whether the plaintiffs
          declined offers of temporary housing. 9 But one would be
          mistaken in that assumption. Instead of calling for an
          individualized inquiry, the original Grants Pass majority
          opinion candidly set forth a crude jurisdiction-wide inquiry:
          “The formula established in Martin is that the government
          cannot prosecute homeless people for sleeping in public if
          there is a greater number of homeless individuals in a
          jurisdiction than the number of available shelter spaces.”
          Grants Pass, 50 F.4th at 795 (cleaned up); see id. at. 823–28
          (Collins, J., dissenting) (arguing that Martin provides at
          most a “case-specific,” as-applied claim). The original

          9
            One short-term housing site in Los Angeles sits nearly empty despite
          proximity to a large homeless camp, and one of the new Los Angeles
          mayor’s marquee offers of short-term housing had a below-50%
          acceptance rate. See Helen Li, The Times Podcast: Why Hotel Rooms
          for     L.A.’s    Homeless     Sit   Empty     (Feb.     15,    2023),
          https://www.latimes.com/podcasts/story/2023-02-15/the-times-podcast-
          cecil-hotel-los-angeles; Benjamin Oreskes, Bass Wants to Bring
          Homeless People Indoors. Can She Secure Enough Beds?, L.A. Times
          (Dec. 22, 2022), https://www.latimes.com/california/story/2022-12-
          22/karen-bass-homelessness-directive-inside-safe; see also David
          Zahniser, In Downtown L.A., Bass’ Plan to Clear Encampments Faces
          Crime, Addiction and Resistance (May 30, 2023), L.A. Times,
          https://www.latimes.com/california/story/2023-05-30/la-me-mayor-
          bass-homeless-encampment-resistance.
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          majority opinion made clear that the beds-versus-population
          “formula” is all that matters: Because the plaintiffs in this
          case established a shelter-beds deficit, they are deemed—no
          matter their personal situations—involuntarily homeless,
          and the city effectively cannot enforce its ordinances against
          any homeless person.
              The majority has now amended its opinion to remove
          this “formula” language, and the opinion’s body now quotes
          Martin’s statement that individuals are outside the purview
          of its holding if they “have access to adequate temporary
          shelter, whether because they have the means to pay for it or
          because it is realistically available to them for free, but [they]
          choose not to use it.” Martin, 920 F.3d at 617 n.8. But I fear
          that this amendment, in reality, does little to change the
          substance of Grants Pass and instead simply obscures what
          Grants Pass holds.
               Notably, the amendment is not accompanied by any
          downstream changes to the majority’s application of its rule
          to the facts or its ultimate conclusion. So, the “formula”
          language may be gone, but the approach that language
          forthrightly described remains embedded in the opinion.
          Grants Pass still holds that “[t]here, of course, exists no law
          or rule requiring a homeless person” to “provide the court an
          accounting of her finances and employment history” before
          being deemed “involuntarily homeless.” 50 F.4th at 811. It
          still equates a shelter-beds deficit with jurisdiction-wide
          involuntariness: “[T]he number of homeless persons
          outnumber the available beds. In other words, homeless
          persons have nowhere to shelter and sleep in the City . . . .”
          Id. at 792; see also id. at 797 (describing the district court
          decision, which it largely affirms, as holding “that, based on
          the unavailability of shelter beds, the City’s enforcement of
          its anti-camping and anti-sleeping ordinances violated the
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          Cruel and Unusual Punishment Clause”). And it still treats
          a shelter-beds deficit, when combined with conclusory
          allegations of involuntariness, as sufficient for an individual
          to show that he or she is involuntarily homeless: “Gloria
          Johnson has adequately demonstrated that there is no
          available shelter in Grants Pass and that she is involuntarily
          homeless.” Id. at 811.
              The amendment thus places district courts in an
          impossible position. They will not be able to reconcile
          Grants Pass’s disparate strands—because they cannot be
          reconciled. District courts will have to choose between
          following what Grants Pass now says in one place (there
          must be a meaningful voluntariness inquiry) and what
          Grants Pass says and does in another place (a shelter-beds
          deficit and conclusory allegations are all one needs).
               Indeed, Grants Pass’s class-certification analysis
          confirms that its nod to the unavoidable-consequence or
          involuntarily-homeless limitation is just window dressing—
          and that the amendment to the opinion is one of form, not
          substance. As Judge Collins explained, if Martin’s public-
          camping ban is truly limited to those who are involuntarily
          homeless, then Martin-type cases cannot possibly be
          litigated on a class-wide basis. Grants Pass, 50 F.4th at 823–
          28 (Collins, J., dissenting). To be certified, a putative class
          must satisfy Federal Rule of Civil Procedure 23’s
          commonality requirement, among others. “What matters”
          for purposes of that requirement “is not the raising of
          common questions—even in droves—but rather, the
          capacity of a class-wide proceeding to generate common
          answers apt to drive the resolution of the litigation.” Wal-
          Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011)
          (cleaned up). A court must be able to “resolve an issue that
          is central to the validity of each one of the [class members’]
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          claims in one stroke.” Id. Whether a public-camping ban is
          unconstitutional as applied to a homeless plaintiff depends
          (it would seem) on whether that plaintiff is “involuntarily
          homeless,” which in turn depends on a host of individualized
          factors: Did they decline the city’s offer of temporary
          housing? Do they otherwise “have the means to pay” for
          temporary housing? Were there areas of the city where they
          could publicly camp without citation in light of the city’s
          enforcement policies? It blinks reality to say that the district
          court could, “in one stroke,” resolve the constitutionality of
          the public-camping ban as applied to each of the “at least
          around 50” class members here. Grants Pass, 50 F.4th at
          811.
              The majority, for what it is worth, tries to backdoor
          involuntariness into its Rule 23 analysis. But its argument is
          one that Philosophy 101 professors should consider using as
          their go-to example of circular reasoning: The class satisfies
          Rule 23’s commonality requirement because the class
          members’ claims all present the question of whether
          enforcement of public-camping ordinances against
          “involuntarily homeless individuals violates the Eighth
          Amendment.” Id. at 804–05 n.22. Answering that question
          resolves the claims of each class member “in one stroke”
          because “[p]ursuant to the class definition, the class includes
          only involuntarily homeless persons.” Id. at 804–05
          (citation omitted). The basis for that premise? “[T]he record
          establishes” it. Id. at 804–05 n.22. As Judge Collins
          explained, there is “no authority for this audacious bootstrap
          argument.” Id. at 827 (Collins, J., dissenting). By wholly
          collapsing the merits into the class definition, the majority
          opinion certified an impermissible “fail safe” class. Id.
          (quoting Olean Wholesale Grocery Coop. v. Bumble Bee
          Foods, 31 F.4th 651, 670 n.14 (9th Cir. 2022) (en banc)).
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               In response to this criticism, Judges Gould and Silver
          suggest that Grants Pass’s class-certification analysis is run
          of the mill—analogizing it to our court’s recent approval of
          a district court’s certification of a class of California
          residents who worked for a certain employer. See Bernstein
          v. Virgin Am., Inc., 3 F.4th 1127, 1134 (9th Cir. 2021). It is
          telling that Judges Gould and Silver think involuntary
          homelessness is as easily determined as residency and
          employment history—another piece of evidence that
          Martin’s involuntariness component has faded away or been
          collapsed into the shelter-beds inquiry.                  More
          fundamentally, their analogy overlooks that the Bernstein
          class definition did not swallow the merits inquiry in the
          manner that the class definition does here. Separate from
          class membership (based on residency and employment), the
          Bernstein plaintiffs still had to make a merits showing that
          the defendant violated California labor laws by, among other
          things, failing to pay a minimum wage and to pay for all
          hours worked. See id. at 1133. Here, by contrast, the game
          is essentially over as soon as the class is certified. The class
          (purportedly) consists only of involuntarily homeless
          people, and application of the challenged ordinances to the
          class members is unconstitutional (under our flawed
          precedent) because the class members are involuntarily
          homeless.
              Viewing the majority’s class-certification analysis, there
          are only two possible conclusions: Either (1) the majority
          erred in certifying the class despite a lack of commonality;
          or (2) the majority read “involuntarily” out of Martin’s
          purported involuntarily-homeless rule. Either conclusion
          points to profound error that we should have used the en
          banc process to correct.
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                                        III.
              Judges Gould and Silver insist that Martin and Grants
          Pass apply only in “exceptionally narrow situation[s]” and
          that critics of these decisions have resorted to “rhetorical
          exaggerations.” But whose word should one take: that of a
          panel majority defending its own work or that of several
          district court judges who have no dog in this fight and are
          simply trying to understand and apply the law as we have
          handed it down to them? Several district court decisions
          have understood Martin and now Grants Pass to run
          roughshod over normal procedural rules and past any
          substantive limiting principles.         As a result, local
          governments are hard-pressed to find any way to regulate the
          adverse health and safety effects of homeless encampments
          without running afoul of our court’s case law—or, at a
          minimum, being saddled with litigation costs. If one picks
          up a map of the western United States and points to a city
          that appears on it, there is a good chance that city has already
          faced a lawsuit in the few short years since our court initiated
          its Martin experiment. Without expressing any view on how
          other district courts or panels of our court should decide
          these or similar cases pursuant to our existing precedent, I
          offer a few examples of the judicial adventurism our case
          law has already produced:
              1. San Francisco responded conscientiously to Martin.
          The police department promulgated an enforcement bulletin
          intended to comply with that case’s dictates while retaining
          flexibility to clear some of the city’s worst encampments.
          See Coal. on Homelessness v. City & Cnty. of San Francisco,
          No. 22-cv-05502-DMR, 2022 WL 17905114, at *3–7 (N.D.
          Cal. Dec. 23, 2022). Pursuant to the bulletin, an officer
          cannot arrest a homeless person for a set of enumerated
          offenses unless SFPD first “secure[s] appropriate shelter.”
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          Id. at *4 (emphasis omitted). SFPD policy requires officers
          to work with other city agencies to implement a multi-step
          process: The city posts a notice that an encampment clearing
          will occur on a particular date; city workers perform
          outreach at the encampment the weekend before the
          clearing; and city workers follow up at the encampment 24
          to 72 hours before the clearing. Id. at *5–7. Only then can
          an encampment clearing take place. To be sure, the record
          on SFPD’s compliance with this policy was mixed. The
          defendants asserted that they always comply with the
          policy—“conduct[ing] regular training[s]” on it, setting
          aside beds based on an estimated acceptance rate, and
          providing officers with the means to check shelter-bed
          availabilities. Id. at *13–15, *23. Some plaintiffs asserted
          that they never received advance notice of encampment
          clearings or offers of housing. Id. at *8–9. Other plaintiffs
          asserted that SFPD sometimes complied with the policy and
          “acknowledge[d] receiving and/or accepting shelter offers at
          . . . encampment closures.” Id. at *22; see also id. at *10–
          12. The plaintiffs’ expert opined that San Francisco had a
          shelter-beds deficit but conceded that a “clear way to access
          shelter is via an encampment [closure] while under threat
          from law enforcement.” Id. at *14.
              Nonetheless, the court found the mixed record before it
          sufficient to issue a sweeping preliminary injunction. The
          district court repeatedly returned not to the facts of specific
          plaintiffs in specific encampment clearings but to the
          consideration at the center of Grants Pass: whether there is
          a shelter-beds deficit. See id. at *21 (“insufficient stock of
          shelter beds”); id. *22 (“long-standing shelter bed
          shortfalls”); id. at *23 (“there are thousands more homeless
          individuals . . . than there are available shelter beds”); id. at
          *27 (“shortfall of shelter beds”). The court determined that
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          it “need not decide” how offers of housing, when actually
          made, would impact the constitutionality of arrests or alter
          the scope of an injunction. See id. at *23–24. The court
          instead issued a broad, if ambiguous, injunction that appears
          to effectively prevent SFPD from enforcing five separate
          prohibitions against homeless persons in San Francisco “as
          long as there are more homeless individuals . . . than there
          are shelter beds available.” Id. at *28.
              2. Phoenix suffered a similar fate. Like San Francisco,
          it adopted a policy that police “officers must make
          individualized assessments” before issuing citations against
          homeless persons for certain offenses.               Fund for
          Empowerment v. City of Phoenix, No. CV-22-02041-PHX-
          GMS, 2022 WL 18213522, at *3 (D. Ariz. Dec. 16, 2022).
          Unlike the San Francisco case, the district court cited no
          evidence in the record showing that Phoenix breached its
          policy. Still, the district court issued a sweeping injunction
          after conducting a merits inquiry that focused almost
          exclusively on the Grants Pass beds-versus-population
          inquiry. The district court noted that it was “not contested
          that there are more unsheltered individuals than shelter beds
          in Phoenix” and then concluded that Phoenix’s policy
          “present[s] likely unconstitutional applications especially
          when the unsheltered in the city outnumber the available bed
          spaces.” Id. The city’s enforcement policy—as a mere
          “statement of administrative policy”—was insufficient to
          “forestall the Plaintiffs’ ultimate likelihood of success on the
          merits.” Id. (quoting Martin, 920 F.3d at 607).
              3.    Santa Barbara adopted a half-measure: a
          geographically- and time-limited ban against public sleeping
          that applied only in the city’s downtown area. Boring v.
          Murillo, No. CV-21-07305, 2022 WL 14740244, at *1 (C.D.
          Cal. Aug. 11, 2022). Despite the ordinance’s modest scope,
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          the district court still held that the plaintiffs stated a plausible
          claim to relief pursuant to Martin and denied the city’s
          motion to dismiss. See id. at *5–6.
              4. Sacramento found itself subject to a lawsuit after
          taking the innocuous step of removing a portable toilet from
          city-owned property. Mahoney v. City of Sacramento, No.
          2:20-cv-00258-KJM, 2020 WL 616302, at *1 (E.D. Cal.
          Feb. 10, 2020). Though the court ultimately declined to
          issue a temporary restraining order because the plaintiffs’
          claims failed on factual grounds, it still interpreted Martin to
          cover public urination and defecation prosecutions and
          stated that “the City may not prosecute or otherwise penalize
          the plaintiffs . . . for eliminating in public if there is no
          alternative to doing so.” Id. at *3.
              Judges Gould and Silver argue this “brief statement
          made in the context of resolving an emergency motion is not
          a solid foundation” on which to suggest that the enforcement
          of public defecation and urination laws may well be suspect
          pursuant to our court’s precedent. In their view, that is
          because Martin and Grants Pass did not involve a
          “challenge to any public urination or defecation ordinances.”
          But our decisions are not good-for-one-ride-only tickets
          forever bound to their specific facts; they serve as precedent
          to which parties analogize in related situations. Martin
          attempted to limit its reach by explaining that sleep is a “life-
          sustaining activit[y].” Martin, 920 F.3d at 617. In their
          concurrence, Judges Gould and Silver offer a slightly
          different version of that limiting principle—that sleep is an
          “identifiable human need[].” But “[w]hat else is [an
          identifiable human need]? Surely bodily functions.”
          Martin, 920 F.3d at 596 (M. Smith, J., dissenting from denial
          of rehearing en banc). It is not a slippery-slope fallacy to
          note a realistic consequence that flows directly from Martin
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          and Grants Pass’s reasoning. Moreover, Judges Gould and
          Silver fail to recognize that something is fundamentally
          amiss with our precedent if a city, even if it ultimately
          prevails, must first go to court before it can remove a toilet
          from property it owns.
              5. Chico “constructed an outdoor temporary shelter
          facility at the Chico Municipal Airport that accommodate[d]
          all 571 of the City’s homeless persons.” Warren v. City of
          Chico, No. 2:21-CV-00640-MCE, 2021 WL 2894648, at *3
          (E.D. Cal. July 8, 2021). But the district court cited stray
          lines in Martin in addition to Merriam-Webster’s definition
          of “shelter,” conducted a single paragraph of analysis,
          concluded that the airport shelter was not Martin-type
          shelter, and subsequently enjoined Chico from enforcing its
          anti-camping laws against “homeless persons in violation.”
          Id. at *3–4.
              As the district court itself recognized, this decision (as
          well as the others above) shows that, while the Martin
          analysis may be “straight-forward . . . [as] to the facts of [a]
          case,” the “practical ramifications for the community are
          much more complex” and the “concerns raised in the dissent
          from the denial of rehearing en banc appear to have come to
          fruition.” Id. at *4 n.4 (citation omitted). As I feared, our
          case law has “prohibit[ed] local governments from fulfilling
          their duty to enforce an array of public health and safety
          laws,” and the “[h]alting [of] enforcement of such laws” has
          “wreak[ed] havoc on our communities.” Martin, 920 F.3d
          at 594 (M. Smith, J., dissenting from denial of rehearing en
          banc).
                                       ***
            I respect the good intentions of my colleagues on the
          Martin panel and in the Grants Pass majority. But Martin,
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          particularly now that it has been supercharged by Grants
          Pass, has proven to be a runaway train that has derailed and
          done substantial collateral damage to the governmental units
          in which it has been applied and those living therein. These
          cases use a misreading of Supreme Court precedent to
          require unelected federal judges—often on the basis of
          sloppy, mixed preliminary-injunction records—to act more
          like homelessness policy czars than as Article III judges
          applying a discernible rule of law. I respectfully dissent
          from our court’s decision not to rehear Grants Pass en banc.



          COLLINS, Circuit Judge, dissenting from the denial of
          rehearing en banc:

             In my dissent as a member of the panel in this case, I
          explained that:

                •   Martin v. City of Boise, 920 F.3d 584 (9th Cir. 2019),
                    is a “deeply flawed” decision that “seriously
                    misconstrued the Eighth Amendment and the
                    Supreme Court’s caselaw construing it”;
                •   Even if Martin were correct in its Eighth Amendment
                    holding, the panel majority’s decision in Johnson
                    “greatly expands Martin’s holding” in a way that is
                    “egregiously wrong”; and
                •   The panel majority’s decision “make[s] things
                    worse” by “combin[ing] its gross misreading of
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                 Martin with a flagrant disregard of settled class-
                 certification principles.”

          See Johnson v. City of Grants Pass, 50 F.4th 787, 814 & n.1
          (9th Cir. 2022) (Collins, J., dissenting). In its “joint
          statement regarding denial of rehearing,” the panel majority
          today recycles many of the flawed arguments in its opinion.
          I have already explained in my dissent why those arguments
          are wrong. See id. at 823–31. The statement of Judge
          O’Scannlain respecting the denial of rehearing en banc and
          Parts I and II of Judge M. Smith’s dissent from the denial of
          rehearing en banc—which I join—further cogently explain
          the multiple serious errors in the panel majority’s opinion. I
          will not repeat all of what has already been said, but I think
          that two points are worth underscoring in response to the
          panel majority’s statement regarding the denial of rehearing.
              First, the panel majority’s statement confirms and
          illustrates the layers of self-contradiction that underlie its
          opinion in this case.
              The panel majority continues implausibly to insist that
          its opinion is “strictly limited to enforcement of the
          ordinances against ‘involuntarily’ homeless persons,” which
          would     suggest—as      Martin itself suggested—an
          individualized case-specific inquiry. See Panel Majority
          Statement at 94. But the panel majority also continues to
          insist that the class was properly certified because any
          individualized issues concerning involuntariness were
          moved into the class definition. See Panel Majority
          Statement at 99–101. As I have explained, that “artifice”
          ignores the requirements of Federal Rule of Civil Procedure
          23, because it “rel[ies] on a fail-safe class definition that
          improperly subsumes this crucial individualized merits issue
          into the class definition.” 50 F.4th at 827 (Collins, J.,
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          dissenting). The panel majority tries to wave away the
          problem as merely one of “individualized determinations to
          identify class members,” arguing that what it did in this case
          is no different than asking whether, for example, a given
          class member resides in a particular State or performs a
          given job for a company. See Panel Majority Statement at
          101 (emphasis added). But in sharp contrast to the simple
          factual inquiries in the panel majority’s examples, its
          standard for “identifying” class members here—i.e., whether
          a given plaintiff’s homelessness is involuntary under all of
          the circumstances—is the central merits issue in the case
          under a correct reading of Martin. Thus, under the faulty
          class action upheld by the panel majority, if a particular
          person’s individual circumstances confirm that his
          homelessness is not “involuntary” in the sense that Martin
          requires, then his Eighth Amendment claim under Martin
          fails on the merits—and he is then defined out of the class.
          But if his homelessness is involuntary under Martin’s
          standards, then (under that decision’s reading of the Eighth
          Amendment) his Martin claim is a winner—and he remains
          in the class. The result is a classic fail-safe class: each “class
          member either wins or, by virtue of losing, is defined out of
          the class.” Olean Wholesale Grocery Coop. v. Bumble Bee
          Foods, 31 F.4th 651, 669–70 n.14 (9th Cir. 2022) (en banc)
          (citation omitted).
              Underlying all of this is a fundamental inconsistency
          between the various propositions endorsed by the panel
          majority’s opinion. As I stated in my panel dissent, “the
          majority cannot have it both ways: either the class definition
          is co-extensive with Martin’s involuntariness concept (in
          which case the class is an improper fail-safe class) or the
          class definition differs from the Martin standard (in which
          case     Martin’s      individualized    inquiry     requires
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          decertification).”  50 F.4th at 827–28 (Collins, J.,
          dissenting). Nothing in the panel majority’s statement
          resolves these internal contradictions, which plague its
          deeply flawed opinion.
              Second, I cannot let pass without comment the panel
          majority’s contention that a newly enacted Oregon statute
          regulating the application of local ordinances to homeless
          individuals provides “yet another reason why it was wise to
          not rehear” this case en banc. See Panel Majority Statement
          at 112–13 n.7. Even assuming that this statute will require
          that city laws such as those challenged here must be
          “objectively reasonable as to time, place and manner with
          regards to persons experiencing homelessness,” under “the
          totality of the circumstances,” see Or. Rev. Stat.
          § 195.530(2), (5), the removal of the objectively
          unreasonable constitutional straitjacket wrongly imposed by
          Martin and Johnson would continue to alter the outcome of
          this case and would also greatly improve the cogency,
          coherence, and correctness of Eighth Amendment
          jurisprudence in this circuit. The panel majority is quite
          wrong in suggesting that this statute provides any grounds
          for looking the other way and allowing Martin’s cancer on
          our jurisprudence to continue to metastasize.
              I reiterate what I said in the conclusion of my panel
          dissent, which is that both Martin and Johnson “should be
          overturned or overruled at the earliest opportunity, either by
          this court sitting en banc or by the U.S. Supreme Court.” 50
          F.4th at 831 (Collins, J., dissenting). By denying rehearing
          en banc today, we have regrettably failed to overrule Martin
          and Johnson. I again emphatically dissent.
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          BRESS, Circuit Judge, joined by CALLAHAN, M. SMITH,
          IKUTA, BENNETT, R. NELSON, MILLER, BADE, LEE,
          FORREST, BUMATAY, and VANDYKE, Circuit Judges,
          dissenting from the denial of rehearing en banc:

              Looking out the windows of the Ninth Circuit’s
          courthouse in San Francisco, one sees the most difficult
          problems plaguing big-city America on display.
          Homelessness, drug addiction, barely concealed narcotics
          dealing, severe mental health impairment, the post-COVID
          hollowing out of our business districts. These problems of
          disrespect for the law, human suffering, and urban decline
          would seem connected, the result of a complex interaction of
          forces that defies any easy solution.
              But on top of everything that our localities must now
          contend with, our court has injected itself into the mix by
          deploying the Eighth Amendment to impose sharp limits on
          what local governments can do about the pressing problem
          of homelessness—a problem now so often related to every
          other in our great cities. With no mooring in the text of the
          Constitution, our history and traditions, or the precedent of
          the Supreme Court, we have taken our national founding
          document and used it to enact judge-made rules governing
          who can sit and sleep where, rules whose ill effects are felt
          not merely by the States, and not merely by our cities, but
          block by block, building by building, doorway by doorway.
              The antecedent question we must always ask when
          interpreting the Constitution is whether a matter has been
          entrusted, in the first instance, to the courts or to the people.
          The answer to that question here is clear: we must allow local
          leaders—and the people who elect them—the latitude to
          address on the ground the distinctly local features of the
          present crisis of homelessness and lack of affordable
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          housing. And we must preserve for our localities the ability
          to make tough policy choices unobstructed by court-created
          mandates that lack any sound basis in law. The expanding
          constitutional common law our court is fashioning in this
          area adds enormous and unjustified complication to an
          already extremely complicated set of circumstances.
              Not every challenge we face is constitutional in
          character. Not every problem in our country has a legal
          answer that judges can provide. This is one of those
          situations. The decision in Johnson v. City of Grants Pass,
          50 F.4th 787 (9th Cir. 2022), and our decision in Martin v.
          City of Boise, 920 F.3d 584 (9th Cir. 2019), on which
          Johnson is premised, are clearly wrong and should have been
          overruled. I respectfully dissent from the denial of rehearing
          en banc.
